                Case 5:21-cv-04093-JWB Document 38-11 Filed 12/16/22 Page 1 of 59
10/3/2022                                                                                                                  1 (1 - 4)
                                             SABRINA S. OVERFIELD
                                                         Page 1                                                                    Page 3
 1   .                                                             1                      INDEX
 2          IN THE UNITED STATES DISTRICT COURT                    2   .
 3            FOR THE DISTRICT OF KANSAS                           3   .
 4   .                                                             4   Certificate----------------------------- 234
 5   .                                                             5   .
 6   SABRINA S. OVERFIELD,                                         6   .
 7          Plaintiff,                                             7                     WITNESS
 8   .                                                             8   ON BEHALF OF THE DEFENDANT:                          PAGE
 9      vs.              Case No. 5:21-CV-04093                    9   SABRINA S. OVERFIELD
10   .                                                            10   Direct-Examination by Ms. Mock                  6
11   STATE OF KANSAS,                                             11   Cross-Examination by Mr. Johnson                210
12          Defendant.                                            12   Redirect-Examination by Ms. Mock                 219
13   .                                                            13   .
14   .                                                            14   .
15                   DEPOSITION OF                                15                    EXHIBITS
16                SABRINA S. OVERFIELD                            16   OVERFIELD DEPO EX. NO:                            MARKED
17   taken on behalf of the Defendant, pursuant to                17   No 1 Job application                      18
18   Notice to Take Deposition, beginning at 9:41 a.m.            18   No 2 Resignation letter                    20
19   on the 3rd day of October, 2022, at Sloan,                   19   No 3 Interrogatories                     53
20   Eisenbarth, Glassman, McEntire & Jarboe, 534 S.              20   No 4 OJA complaint                          76
21   Kansas Avenue, Suite 1000, in the City of Topeka,            21   No 5 Map of office                        77
22   County of Shawnee, and State of Kansas, before               22   No 6 Complaint by Tasha Thurman                  103
23   Sandra S. Biggs, RPR, Kansas CCR No. 0716.                   23   No 7 Allyson Christman findings                129
24   .                                                            24   No 8 Complaint filed with Kansas
25   .                                                            25      Commission on Judicial Conduct              136

                                                         Page 2                                                                    Page 4
 1                 APPEARANCES                                     1   No 9 1/27/20 Administrative Order          139
 2   .                                                             2   No 10 5/4/20 letter to Christman
 3   .                                                             3     from Cameron                      144
 4   ON BEHALF OF THE PLAINTIFF:                                   4   No 11 Young report regarding Thurman
 5   .                                                             5     complaint                     148
 6     Mr. Alan V. Johnson                                         6   No 12 Johnson's description of
 7     Sloan, Eisenbarth, Glassman                                 7     1/10/20 incidents to Young            154
 8      McEntire & Jarboe                                          8   No 13 KHRC complaint                     158
 9     534 S. Kansas Avenue                                        9   No 14 2/3/20 Complaint to Judicial
10     Suite 1000                                                 10     Qualifications                  160
11     Topeka, KS 66603                                           11   No 15 1/28/20 letter to Christman from
12   .                                                            12     Shima certifying receipt of complaint 160
13   .                                                            13   No 16 7/2/20 letter to Christman
14   ON BEHALF OF THE DEFENDANT:                                  14     from Cameron                      160
15   .                                                            15   No 17 5/4/20 Complaint to Judicial
16     Ms. Terelle A. Mock                                        16     Qualifications                  162
17     Ms. Crystal B. Moe                                         17   No 18 5/4/20 letter to Johnson from
18     Fisher, Patterson, Sayler & Smith                          18     Cameron                        163
19     3550 S.W. 6th Street                                       19   No 19 2/10/21 Administrative Order          164
20     Topeka, KS 66606                                           20   No 20 Typewritten notes                170
21     785-232-7761                                               21   No 21 3/9/21 e-mail string             171
22     cmoe@fpsslaw.com                                           22   No 22 March 2021 e-mail string            175
23     tmock@fisherpatterson.co,                                  23   No 23 12/15/21 e-mail to Overfield
24   .                                                            24     from Young                       176
25   .                                                            25   No 24 January & February 2021 e-mails         178
               Case 5:21-cv-04093-JWB Document 38-11 Filed 12/16/22 Page 2 of 59
10/3/2022                                                                                                               2 (5 - 8)
                                             SABRINA S. OVERFIELD
                                                          Page 5                                                            Page 7
 1   No 25 2018/2019 performance evaluation      184                1      Q. Okay. And if you answer my question, I'm
 2   No 26 2019/2020 performance evaluation      186                2   going to presume that you understood my question.
 3   No 27 Rule 26 Initial Disclosures       193                    3   Fair?
 4   No 28 Policy prohibiting sexual and                            4      A. Fair.
 5     other workplace harassment           195                     5      Q. All right. Obviously, it's important
 6   No 29 Medical bill                 196                         6   that you answer out loud.
 7   No 30 Handwritten notes              202                       7      A. Yes, ma'am.
 8   No 31 Picture                    211                           8      Q. See. Even court reporters get tripped
 9   No 32 Complaint by Terry Thurman           217                 9   up. Obviously, if I prompt you in answering a
10   .                                                             10   question out loud, it's just for that purposes of
11   .                                                             11   the record. Okay?
12   .                                                             12      A. Okay.
13   .                                                             13      Q. And I know you understand as well, it's
14   .                                                             14   important that we don't talk over one another.
15   .                                                             15      A. Very important.
16   .                                                             16      Q. Okay. All right. I'm sure we're going
17   .                                                             17   to get along just fine. I'll probably be the one
18   .                                                             18   that runs afoul with that. So if I interrupt you,
19   .                                                             19   you just let me know. All right?
20   .                                                             20      A. I sure will.
21   .                                                             21      Q. Okay. Your fill name for the record,
22   .                                                             22   please?
23   .                                                             23      A. Sabrina Sue Overfield.
24   .                                                             24      Q. Date of birth?
25   .                                                             25      A. January 31st, 1966.

                                                          Page 6                                                            Page 8
 1               SABRINA S. OVERFIELD,                              1       Q. Current address?
 2   called as a witness on behalf of the Defendant,                2       A. 3958 County Road 4670, Independence,
 3   was sworn and testified as follows:                            3   Kansas, 67301.
 4      DIRECT-EXAMINATION                                          4       Q. What direction is that from Independence?
 5      BY MS. MOCK:                                                5       A. North.
 6      Q. Good morning, Miss Overfield?                            6       Q. And how many miles are you from
 7      A. Good morning.                                            7   Independence?
 8      Q. My name is Terelle Mock. I'm                             8       A. A block.
 9   representing the State of Kansas in the lawsuit                9       Q. Oh, okay.
10   that you have filed. I understand you're a court              10       A. It's actually a block into county. It's
11   reporter?                                                     11   not really out of city limits.
12      A. Yes, ma'am.                                             12       Q. It's in the city limits?
13      Q. I've never taken the deposition of a                    13       A. It is but it isn't. They revamped our
14   court reporter before, but I will say I've deposed            14   city streets to where now we are located as a
15   a few lawyers and they're terrible witnesses. So,             15   county. My former address was 2183 Valley High
16   hopefully, court reporters are better. But I know             16   Drive. And due to some kind of Google Maps or
17   that because you are a court reporter you probably            17   some situation I'm not quite sure of, they've
18   understand how these things work but just for my              18   changed us to a county road.
19   own purposes of the record I'm going to reiterate             19       Q. I see. Gotcha. In any event, you're
20   a few ground rules if you'll just indulge me.                 20   very close to the City of Independence?
21   Obviously, it's important that you understand the             21       A. Very.
22   question that I'm asking you here today. If you               22       Q. Okay. All right. Let's see. Okay.
23   don't understand a question, I want you to let me             23   Just a real brief -- can you give me a real brief
24   know. Okay?                                                   24   overview of your educational history? You
25      A. Um-hum. Yes, ma'am.                                     25   graduated from high school. Where did you
               Case 5:21-cv-04093-JWB Document 38-11 Filed 12/16/22 Page 3 of 59
10/3/2022                                                                                                         3 (9 - 12)
                                           SABRINA S. OVERFIELD
                                                       Page 9                                                             Page 11
 1   graduate from high school?                                  1      Q. Do you have any other children except for
 2      A. I graduated from high school in                       2   Tyler?
 3   Independence, Kansas in 1984.                               3      A. A stepson, Jesse.
 4      Q. And did you go to any school after high               4      Q. Jesse Overfield?
 5   school?                                                     5      A. Yes.
 6      A. The community college there in                        6      Q. Where does Tyler live?
 7   Independence for a year.                                    7      A. Oilton, Oklahoma, O I L T O N.
 8      Q. Okay. And what did you do after that?                 8      Q. Is he married?
 9      A. Got married and had a child.                          9      A. Yes.
10      Q. And who did you marry?                               10      Q. What's his wife's name?
11      A. Robert Bridwell.                                     11      A. April.
12      Q. Can you spell that last name?                        12      Q. Do they have any children?
13      A. B R I D W E L L.                                     13      A. Yes.
14      Q. What was your maiden name?                           14      Q. What about Jesse Overfield? Where does
15      A. Siliceo, L I C E O -- I'm sorry,                     15   he live?
16   S I L I C E O.                                             16      A. Madison, Wisconsin.
17      Q. S I L I C E O.                                       17      Q. Is he married?
18      A. It's true Italian.                                   18      A. Yes.
19      Q. Okay. So you married Mr. Bridwell in                 19      Q. What's his wife's name?
20   '85?                                                       20      A. Caylin.
21      A. Yes, ma'am.                                          21      Q. Can you spell that?
22      Q. And you said you had a child. Is that                22      A. C A Y L I N.
23   correct?                                                   23      Q. Do they have any children?
24      A. Yes, ma'am.                                          24      A. Yes.
25      Q. What's your child's name?                            25      Q. Okay. So between '87 and 1998, were you

                                                      Page 10                                                             Page 12
 1      A. Tyler.                                                1   employed during that time?
 2      Q. Tyler Bridwell?                                       2       A. Yes.
 3      A. Yes.                                                  3       Q. And various jobs?
 4      Q. What's his date of birth?                             4       A. Yes.
 5      A. 9/1 of '85.                                           5       Q. Can you just kind of walk me through
 6      Q. And did you live with Mr. Bridwell in                 6   briefly what you were employed as during that
 7   Independence then?                                          7   period of time?
 8      A. Yes, ma'am.                                           8       A. My father is now a retired dentist, but I
 9      Q. And how long did you live with Mr.                    9   worked for him for several years as a dental
10   Bridwell in Independence?                                  10   assistant. I then decided to go back to school
11      A. Two years.                                           11   and do what I really wanted to do and that was
12      Q. Were you then divorced?                              12   become an official court reporter. Went to Tulsa,
13      A. Yes, ma'am.                                          13   Oklahoma and worked two jobs to pay my way through
14      Q. So divorced in '87?                                  14   school as a bartender, waitress at Outback
15      A. Yes.                                                 15   Steakhouse and also as a dental assistant.
16      Q. When did you first start working as a                16       Q. How long did you live in Tulsa?
17   court reporter?                                            17       A. Two and a half years.
18      A. September 21st, 1998 -- I'm sorry, 22nd.             18       Q. Okay. And were you hired -- what was
19   September 22nd, 1998.                                      19   your first job as a court reporter?
20      Q. Okay. And were you married after you                 20       A. In Parsons, Kansas for the 11th Judicial
21   divorced Mr. Bridwell?                                     21   District.
22      A. Not until October 2nd of 1999.                       22       Q. How many court reporters were hired at
23      Q. And who did you marry on October 2nd of              23   the Parsons location in the 11th Judicial District
24   1999?                                                      24   at that time?
25      A. My current husband, Gary Overfield.                  25       A. When I started?
               Case 5:21-cv-04093-JWB Document 38-11 Filed 12/16/22 Page 4 of 59
10/3/2022                                                                                                             4 (13 - 16)
                                             SABRINA S. OVERFIELD
                                                         Page 13                                                            Page 15
 1      Q. Yes.                                                     1   fourth.
 2      A. There was one other court reporter.                      2       Q. Okay.
 3      Q. What was her name?                                       3       A. Plus the magistrate.
 4      A. Vickie Barrett.                                          4       Q. Sure. So are you the court reporter for
 5      Q. And I'm assuming at some point in time                   5   all three of those judges?
 6   Miss Barrett left, correct?                                    6       A. Yes and no.
 7      A. 2016.                                                    7       Q. Okay. Explain it to me.
 8      Q. And was anybody hired to replace her?                    8       A. There is also another full-time court
 9      A. Administrative assistants, but we could                  9   reporter. We have elected to each take one judge
10   never really get another court reporter. We --                10   full time, and then the third judge we divide our
11   Vickie and I were also the administrative                     11   daily workload.
12   assistant to our judge. We were each assigned a               12       Q. Okay. So back to Labette County. From
13   judge. So when she left, I worked for both judges             13   1998 until 2016, you were the AA/court reporter
14   as well as the AA.                                            14   for one judge?
15      Q. So you were the AA and reporter for one                 15       A. Yes, ma'am.
16   judge and then just the reporter for the other                16       Q. All right. And who was that judge?
17   judge. Is that accurate?                                      17       A. I started with Daniel Brewster.
18      A. When he was without an administrative                   18       Q. And from what time frame, year, what to
19   assistant, I also was his administrative                      19   what, were you working for Judge Brewster?
20   assistant. So at some times I was doing a four-               20       A. From when I started, but I can't give you
21   man job of one person.                                        21   an approximate date or year from when he retired.
22      Q. Okay. But from 1998 until 2016 --                       22       Q. Okay.
23      A. I was just a one-judge court reporter and               23       A. But the next judge I worked with was
24   administrative assistant.                                     24   Judge Jeffry Jack, and I worked with him for 14
25      Q. So that's one job, right, because you did               25   years.

                                                         Page 14                                                            Page 16
 1   it for that long, correct? You would still say                 1      Q. Okay. And you left in '21, correct?
 2   that was two jobs?                                             2      A. Yes, ma'am.
 3       A. Well, considering now most judges have                  3      Q. So can we subtract back and say that was
 4   their own personal AA, the district I transferred              4   2007?
 5   to has an administrative assistant for all three               5      A. Probably, yes.
 6   judges, so I don't have administrative assistant               6      Q. Ish?
 7   jobs any longer.                                               7      A. Right.
 8       Q. Do all three judges in Montgomery County                8      Q. Okay. 2006, 2007, somewhere in there.
 9   also have their own court reporters?                           9   Yeah. Okay. Are you going to do my math for me?
10       A. No, ma'am.                                             10   Okay. So I guess Jack left before you did,
11       Q. Okay. So they all have their own AA but                11   though? Judge Jack left before you did?
12   they don't have their own court reporter?                     12      A. Yes, ma'am.
13       A. They have one AA that works for three                  13      Q. So that might mess up our math?
14   judges.                                                       14      A. Yes.
15       Q. And what's the number again for                        15      Q. When did Judge Jack retire?
16   Montgomery County, 12th?                                      16      A. I believe Judge Stockard started April of
17       A. 14th.                                                  17   '20.
18       Q. Thank you. 14th Judicial District is                   18      Q. So did Judge Jack retire in '20 or did he
19   Montgomery County?                                            19   retire in '19?
20       A. Yes, ma'am.                                            20      A. '19.
21       Q. Which is where you currently work?                     21      Q. Okay. So, now, if we go back 16 years,
22       A. Yes, ma'am.                                            22   closer to 2003, 2004, somewhere in there? Does
23       Q. Okay. So at Montgomery County, there are               23   that sound about right?
24   three judges. Is that correct?                                24      A. It would be a guess but that sounds about
25       A. Until January. And then we'll receive a                25   right.
               Case 5:21-cv-04093-JWB Document 38-11 Filed 12/16/22 Page 5 of 59
10/3/2022                                                                                                           5 (17 - 20)
                                            SABRINA S. OVERFIELD
                                                         Page 17                                                            Page 19
 1       Q. Okay. So Judge Stockard took Judge                      1   No 1 was marked for identification by the
 2   Jack's place?                                                  2   reporter.)
 3       A. Yes, ma'am.                                             3      BY MS. MOCK:
 4       Q. Okay. In any event, you recall in your                  4      Q. Okay. I'm handing you what's been marked
 5   head that you worked for Judge Jack for 14 years?              5   as Exhibit 1. Can you identify this document?
 6       A. Right, approximately.                                   6      A. Yes, ma'am.
 7       Q. When did Judge Johnson come or when was                 7      Q. What am I looking at here?
 8   he appointed to the bench in the 11th Circuit, do              8      A. A job application.
 9   you recall?                                                    9      Q. Filled out by whom?
10       A. Not right offhand, but I know it was                   10      A. Myself.
11   November, and I can't remember if it was '17 or               11      Q. For what position?
12   '18.                                                          12      A. An official court reporter in the 14th
13       Q. And who did he -- there's always been two              13   Judicial District.
14   judges, correct?                                              14      Q. And this position would be in
15       A. Yes, ma'am.                                            15   Independence, correct?
16       Q. Okay. So who -- what position did he                   16      A. Yes, ma'am.
17   fill? Who vacated the judicial position that                  17      Q. And it indicates here you applied on
18   Judge Johnson was appointed to?                               18   December 8th, 2021. Is that correct?
19       A. Robert Fleming.                                        19      A. Yes.
20       Q. Thank you.                                             20      Q. And on the second page, it asks you have
21       A. One of the best I must say.                            21   you ever been fired or asked to resign from a
22       Q. And who was Robert Fleming's AA and court              22   position, and you respond no. Do you see where it
23   reporter?                                                     23   says that?
24       A. Vickie Barrett.                                        24      A. Yes, ma'am.
25       Q. Was she -- did she leave when he left?                 25      Q. And that's correct, right?

                                                         Page 18                                                            Page 20
 1       A. She left before him.                                    1      A. Yes, ma'am.
 2       Q. Okay.                                                   2      Q. It also asks have you ever been
 3       A. A year, approximately a year before he                  3   disciplined at work, and you write no. And that's
 4   left.                                                          4   correct as well, right?
 5       Q. When you were hired in 1998 to the 11th                 5      A. Yes, ma'am.
 6   District, who -- who hired you?                                6      Q. And the next page it asks what is your
 7       A. Judge Brewster, the Court Administrator                 7   desired salary, and you respond exactly what I am
 8   Clint Hurt, and also in attendance was Shaun                   8   making at the present time. Is that correct?
 9   Higgins who was classified as a managing court                 9      A. Yes.
10   reporter. They hired me on the spot at my                     10      Q. And were you, in fact, hired on at the
11   interview.                                                    11   same salary that you were making?
12       Q. Okay. And did your job title at any time               12      A. Yes.
13   change from 1998 until you left the court in 2001             13         (THEREUPON, Overfield Deposition Exhibit
14   (sic)?                                                        14   No 2 was marked for identification by the
15       A. From official court reporter?                          15   reporter.)
16       Q. Yes.                                                   16      BY MS. MOCK:
17       A. No, ma'am.                                             17      Q. Okay. I just handed you what was marked
18       Q. And then I understand in 2000 -- or 2021,              18   as Exhibit 2. What is this document?
19   excuse me, that's what I meant a couple sentences             19      A. My official resignation letter from the
20   ago, in 2021, you applied for a transfer. Is that             20   11th Judicial District.
21   correct?                                                      21      Q. Okay. So that is dated December 6th?
22       A. Yes, ma'am.                                            22      A. Yes, ma'am.
23          MS. MOCK: Okay. I believe I have a copy                23      Q. Okay. So your application is December
24   of your application here.                                     24   8th and your resignation is December 6th? Is this
25          (THEREUPON, Overfield Deposition Exhibit               25   correct or are we missing something? I mean it
               Case 5:21-cv-04093-JWB Document 38-11 Filed 12/16/22 Page 6 of 59
10/3/2022                                                                                                          6 (21 - 24)
                                            SABRINA S. OVERFIELD
                                                         Page 21                                                           Page 23
 1   could be perhaps something within it in the                    1       A. With benefits, it's close to 80,000 a
 2   electronic application that changed, but as you                2   year.
 3   sit here today, do you recall having accepted --               3       Q. Okay. So let's go back -- let's go back
 4   having applied and been hired on at the 14th                   4   to -- well, let me ask you this. Did you do
 5   District before you resigned from the 11th                     5   anything to prepare for today's deposition?
 6   District?                                                      6       A. Just looked over all my paperwork I've
 7       A. When I visited with the chief judge in                  7   had for the last two and a half years.
 8   the 14th Judicial District, they had visited with              8       Q. Okay. And all the paperwork you'd
 9   me previously about coming to work in my home                  9   already given to Mr. Johnson, correct?
10   district. I declined many times as you can tell               10       A. Yes.
11   by my years in Parsons. So it was really kind of              11       Q. Excuse me. You indicated that there was
12   a verbal transition. Yet, I had to do this for                12   a different court administrator when you were
13   the State of Kansas.                                          13   hired on at the 11th District, correct?
14       Q. I see.                                                 14       A. Yes.
15       A. I had to fill out an application before I              15       Q. Okay. Do you recall when Mac Young
16   could transfer for their paperwork. So that's                 16   became the court administrator for the 11th
17   probably why the date is different possibly.                  17   Judicial District?
18       Q. Okay. So you'd been recruited by the                   18       A. No, ma'am.
19   14th District for some time. Is that fair?                    19       Q. Was there somebody in between the guy
20       A. Many years. Many years.                                20   that hired you and Mac?
21       Q. Many years. Okay. And who -- who at the                21       A. Yes.
22   14th District was actively recruiting you to come             22       Q. Okay. So did anything change
23   over there as the court reporter?                             23   significantly when Mac Young became the court
24       A. Every judge that's ever worked there.                  24   administrator?
25       Q. Okay. So who was it that recruited you                 25       A. What do you mean by change?

                                                         Page 22                                                           Page 24
 1   in December of 2021?                                           1      Q. Well, did he do things differently?
 2      A. Chief Judge Jeffrey Gettler.                             2      A. I believe so.
 3      Q. Can you spell that last name?                            3      Q. Okay. In what way?
 4      A. G E T T L E R.                                           4      A. Labette County he did not frequently
 5      Q. Is he the judge that you're assigned to                  5   visit much and talk to the official court
 6   full time?                                                     6   reporters.
 7      A. Yes, ma'am.                                              7      Q. So he didn't come to Labette County as
 8      Q. And then who's the judge that you support                8   frequently as his predecessors had?
 9   on a half-time basis?                                          9      A. Yes.
10      A. Judge Cullins, C U L L I N S.                           10      Q. Anything else did he do differently?
11      Q. In transitioning from the 11th Circuit to               11      A. As I said, official court reporters had
12   the 14th Circuit, did you lose out on any pay?                12   very little communication with him.
13      A. No, ma'am. Can I backtrack that a bit,                  13      Q. Was he responsive when you communicated
14   though?                                                       14   to him?
15      Q. Sure.                                                   15      A. Not so much, no.
16      A. Depends on -- my salary, no.                            16      Q. Can you give me an example?
17   Transcription, transcripts-wise, yes.                         17      A. Within these last few years or what time
18      Q. Okay. All right. Let's talk about that.                 18   frame?
19   So what's your current salary?                                19      Q. Well, while he's been at his job?
20      A. I couldn't tell you off the top of my                   20      A. With these last few years, when I was the
21   head. We had a raise this past year.                          21   only court reporter and I told him something had
22      Q. Okay.                                                   22   to give because I was at a breaking point, I
23      A. So without my pay stub in front of me, I                23   couldn't keep reporting for both court reporters
24   cannot give you an accurate figure.                           24   and the administrative assistant, I needed help,
25      Q. Can you give me a ballpark figure?                      25   could we hire an AA. And he would just laugh me
               Case 5:21-cv-04093-JWB Document 38-11 Filed 12/16/22 Page 7 of 59
10/3/2022                                                                                                            7 (25 - 28)
                                            SABRINA S. OVERFIELD
                                                          Page 25                                                             Page 27
 1   off and said that's not going to happen.                        1   docket. Is that correct?
 2       Q. Okay. Did you understand that was due to                 2      A. Yes.
 3   budget constraints?                                             3      Q. Did Judge Johnson run his docket the same
 4       A. I'm sure it was, but yet, they needed                    4   way?
 5   somebody else in that chair that wouldn't come and              5      A. No.
 6   go to help me. I had a full workload where I was                6      Q. Okay. Who was Judge Johnson's court
 7   at.                                                             7   reporter?
 8       Q. Okay. Let's talk about your work after                   8      A. He's only had Tammy Thomas for less that
 9   you became the AA for Stockard. Vickie Barrett                  9   a year, and that was in '19, into '20. I believe
10   left sometime in 2016, 2017. Is that correct?                  10   she left in February of 2020.
11       A. Yes.                                                    11      Q. Okay. So when he would have a hearing
12       Q. Okay. And since that time, the position                 12   the same time that Judge Jack would have a
13   that she vacated has never been completely filled,             13   hearing, what -- how would his hearings get
14   correct?                                                       14   recorded or is that what would happen, they would
15       A. Until just recently.                                    15   just be recorded?
16       Q. Until just recently. But not while you                  16      A. Yes. They would be recorded.
17   were there?                                                    17      Q. Okay. And then transcribed as necessary?
18       A. No. An AA would come and stay less than                 18      A. Yes, by myself. Or if I was overloaded,
19   a year or maybe a year, and then they would be                 19   we had other court reporters in the district.
20   gone.                                                          20      Q. That that work would then be assigned to?
21       Q. Okay. And no other certified court                      21      A. Yes.
22   reporter had been hired to replace Miss Barrett                22      Q. Okay. So for those transcriptions for
23   while you were still at the 11th District,                     23   Judge Johnson's hearings, would you get paid extra
24   correct?                                                       24   for that?
25       A. We had one official court reporter come                 25      A. Yes.

                                                          Page 26                                                             Page 28
 1   from Oklahoma that stayed a little under a year, I              1       Q. Okay. And how much income additionally
 2   believe.                                                        2   to your salary would that amount to in any given
 3      Q. And what was her name?                                    3   month? Can you give me a monthly income?
 4      A. Tammy Thomas I believe was her last name.                 4       A. It varies, ma'am. It's feast or famine.
 5      Q. Okay. So I want to kind of focus on the                   5   I hate to use that term, but you could make 500
 6   time frame when you are working. So we've got                   6   or we could make 5,000. I can't -- I can't give
 7   Judge Stockard and we have Judge Johnson there                  7   you an accurate figure.
 8   sometime in 2017, 2018, correct -- oh, no, my                   8       Q. Would it be safe to say that while Judge
 9   apologizes, because you said that Judge Jack was                9   Johnson was without an official court reporter,
10   there until '19?                                               10   you made more money?
11      A. Yes, ma'am.                                              11       A. Yes, ma'am. But I also made more money
12      Q. Okay. So let's talk about 2019. All                      12   during that time that Judge Fleming -- when Vickie
13   right?                                                         13   retired in '16, I made more money working with him
14      A. Okay.                                                    14   as well.
15      Q. Because we know in 2019, the judicial                    15       Q. Sure.
16   positions are occupied by Judge Jack and Judge                 16       A. Yes.
17   Johnson?                                                       17       Q. Because there was only one of you?
18      A. Yes, ma'am.                                              18       A. Yes, ma'am.
19      Q. Okay. What would your typical day look                   19       Q. Okay. And if you were overloaded or said
20   like in 2019?                                                  20   I don't want to have anymore of these transcripts,
21      A. Each day varied. We had criminal day on                  21   they would farm them out to other court reporters.
22   Monday, juvenile day on Tuesday, Wednesday was                 22   Is that right?
23   domestic day, Thursday and Friday were various                 23       A. But that rarely happened because I would
24   court hearings.                                                24   work nights and weekends to make sure our district
25      Q. And that is how Judge Jack ran his                       25   stayed -- or our location stayed up to speed. I
               Case 5:21-cv-04093-JWB Document 38-11 Filed 12/16/22 Page 8 of 59
10/3/2022                                                                                                              8 (29 - 32)
                                            SABRINA S. OVERFIELD
                                                          Page 29                                                             Page 31
 1   didn't want to do that.                                         1      Q. So you would be in court from 9 a.m. to
 2       Q. Okay.                                                    2   noon and from 1 to --
 3       A. But, yes.                                                3      A. 1 to 4. Hopefully 4.
 4       Q. But that was your choice?                                4      Q. Were all of the days like that?
 5       A. Yes, ma'am.                                              5      A. Typical. Typically, yes.
 6       Q. Okay. But I think you did testify before                 6      Q. So you were in court from 8 -- from 9
 7   that if it came to a point where you were                       7   a.m. to noon and from 1 to 4 every day of the
 8   overloaded, they would, in fact, farm those out to              8   week?
 9   other court reporters. Is that correct?                         9      A. Except for Tuesday. It was juvenile day,
10       A. Yes, ma'am.                                             10   and I usually worked in court into the lunch hour.
11       Q. And that did happen on occasion?                        11      Q. And until 4 o'clock?
12       A. When that happened, though, was after I                 12      A. Yes.
13   filed the complaint. I would not do anymore work               13      Q. Okay. Were there days when you weren't
14   for Judge Johnson.                                             14   in court from 8 to noon and 1 to 4?
15       Q. Okay. So when you transcribe a hearing                  15      A. Very seldom.
16   or something of that ilk for Judge Johnson, you                16      Q. And after Judge Jack left, there was a
17   would listen to the hearing, correct?                          17   gap between Judge Jack and Judge Stockard?
18       A. Yes.                                                    18      A. Yes.
19       Q. And create the record?                                  19      Q. And at that point in time, Judge Johnson
20       A. Yes.                                                    20   was the only judge in the 11th Judicial District?
21       Q. Would that involve interaction with Judge               21      A. Yes, but I had senior judges that came
22   Johnson?                                                       22   and filled in during that interim --
23       A. No, ma'am.                                              23      Q. Okay.
24       Q. Okay. So it wasn't a situation where you                24      A. -- for my docket.
25   had to give him the transcript for approval and he             25      Q. Okay. So you were still on the other

                                                          Page 30                                                             Page 32
 1   would nit-pick things and then you'd have to give               1   docket that whole time, correct?
 2   it back or anything like that? That didn't happen?              2      A. Yes.
 3       A. No, ma'am.                                               3      Q. And so you would then transcribe court
 4       Q. Okay. So I think you indicated before                    4   same as you did before, Monday through Friday for
 5   you could make as much as $5,000 a month in                     5   the senior judge filling in on Jack's docket?
 6   additional transcription or as little as 500 a                  6      A. Yes.
 7   month?                                                          7      Q. Did you ever work on Judge Johnson's
 8       A. Yes, ma'am.                                              8   docket?
 9       Q. Okay. Would 2,000 or 2,500 be an                         9      A. In 2020, no. He'd an official court
10   average?                                                       10   reporter.
11       A. I can't say that.                                       11      Q. At any point in time?
12       Q. All right. Back in 2019, Monday we've                   12      A. Yes.
13   got criminal court. Is that something -- what                  13      Q. Can you count on your fingers how many
14   time would that start? What time would you come                14   times you worked in Judge Johnson's court
15   to work on Monday morning?                                     15   reporter?
16       A. 8:15, 8:30. Court starts at 9.                          16      A. No.
17       Q. And how long would court typically last?                17      Q. More than that, more than ten times?
18       A. Typically, we were done by noon.                        18      A. No.
19       Q. And then what would your afternoon look                 19      Q. I don't understand your answer. Can you
20   like?                                                          20   estimate for me how many times that you worked in
21       A. More criminal cases. Monday? Are we                     21   Judge Johnson's court reporter as an official
22   still on Monday?                                               22   court reporter?
23       Q. We're still on Monday.                                  23      A. From the time he took the bench?
24       A. More criminal cases as well in the                      24      Q. Yes.
25   afternoons.                                                    25      A. No.
               Case 5:21-cv-04093-JWB Document 38-11 Filed 12/16/22 Page 9 of 59
10/3/2022                                                                                                               9 (33 - 36)
                                           SABRINA S. OVERFIELD
                                                         Page 33                                                             Page 35
 1       Q. Is it less than ten or more than ten?                   1   privy if they have that position open or they have
 2       A. I don't recall.                                         2   terminated it. I'm not quite sure.
 3       Q. As in you don't recall ever doing it                    3      Q. So you've worked there for what?
 4   or --                                                          4      A. Since January.
 5       A. I don't recall how many times.                          5      Q. Almost ten months, correct?
 6       Q. So you've done it?                                      6      A. Yes, ma'am.
 7       A. Yes.                                                    7      Q. You like it?
 8       Q. Okay. More than five times?                             8      A. I do like it, but I love to court report.
 9       A. Yes.                                                    9      Q. Okay. And you still get to do that,
10       Q. So somewhere between five and ten times                10   correct?
11   you covered Judge Johnson's docket. Would that be             11      A. Yes, ma'am.
12   fair?                                                         12      Q. And is that something that you get to do
13       A. Yes.                                                   13   daily like you did at the 11th Judicial District?
14       Q. And from 2017 until you left in December               14      A. Yes, ma'am.
15   of 2021?                                                      15      Q. Okay. Have your duties changed
16       A. Yes.                                                   16   significantly?
17       Q. Okay. Did you ever work as Judge                       17      A. Yes, ma'am.
18   Johnson's administrative assistant?                           18      Q. Okay. In what way?
19       A. Not for a period of time, no.                          19      A. I have no administrative assistant
20       Q. So were there -- were there times on                   20   duties.
21   occasion where you would field calls for him?                 21      Q. Okay. So you have less duties?
22       A. Yes.                                                   22      A. Less duties, yes, but I'm still catching
23       Q. Okay. Fill in when his would be out                    23   up with transcripts from the 11th Judicial
24   of --                                                         24   District, so I still have a workload of
25       A. Yes.                                                   25   transcripts.

                                                         Page 34                                                             Page 36
 1      Q. -- the office?                                           1      Q. Okay. So you still get work from the
 2      A. Yes, ma'am.                                              2   11th Judicial District?
 3      Q. Okay. Was that a frequent occurrence?                    3      A. Yes.
 4      A. Yes, ma'am.                                              4      Q. You do their overflow transcripts that
 5      Q. More frequent than you being the court                   5   they've, quote, unquote, farm out?
 6   reporter in his courtroom, correct?                            6      A. No, ma'am.
 7      A. Yes, ma'am.                                              7      Q. Okay. How is that wrong? How is my
 8      Q. Okay. What was your commute from your                    8   statement incorrect?
 9   home to the Parsons courthouse?                                9      A. Well, if I reported a hearing and it gets
10      A. 35 miles one way.                                       10   ordered, they send the transcript orders to me.
11      Q. What time would you typically leave at                  11      Q. Oh, I see. So these are for hearings
12   the end of the day?                                           12   that you would have transcribed -- or reported at
13      A. From Parsons?                                           13   the initial hearing that are now being ordered a
14      Q. Yes.                                                    14   year later or what have you and you need to
15      A. Anywhere from 4:30 to 5 o'clock.                        15   transcribe them?
16      Q. Who is the district administrator for the               16      A. Yes, ma'am.
17   14th Judicial District?                                       17      Q. Okay. Fair enough. So that will -- do
18      A. They do not have one.                                   18   you get paid extra for that?
19      Q. Oh, okay. So who is your direct                         19      A. Yes, ma'am.
20   supervisor?                                                   20      Q. Okay. And that will fizzle out at some
21      A. Judge Gettler.                                          21   point in time?
22      Q. Is that a position that they typically                  22      A. It should.
23   have that they need to fill or does that judicial             23      Q. Okay. So at this job you court reporter
24   district just run differently?                                24   for one and a half judges, correct?
25      A. They had one previously, but I'm not                    25      A. Until January, in '23.
              Case 5:21-cv-04093-JWB Document 38-11 Filed 12/16/22 Page 10 of 59
10/3/2022                                                                                                              10 (37 - 40)
                                            SABRINA S. OVERFIELD
                                                          Page 37                                                            Page 39
 1       Q. And at that point in time, there will be                 1      A. I don't recall any.
 2   a fourth judge hired?                                           2      Q. Have you ever known men to apply for
 3       A. Yes, ma'am.                                              3   those positions?
 4       Q. And so you'll have to court reporter for                 4      A. I wasn't privy to that information.
 5   two judges?                                                     5      Q. Okay. So not to your knowledge?
 6       A. Yes, ma'am.                                              6      A. Not to my knowledge, correct.
 7       Q. So that would be similar to what you had                 7      Q. Same question with the 14th Judicial
 8   done at the 11th District where one of the judges               8   District. Have you ever known any men to be
 9   is going to have to record a hearing that you                   9   employed in the district clerk's office or the
10   later transcribe and you'll sit in and report on               10   district judge's offices aside from the judges?
11   the other hearing if there's two at the same time?             11      A. Yes, but he is no longer employed in the
12       A. Yes, ma'am.                                             12   clerk's office.
13       Q. So when that rolls around, you're going                 13      Q. Okay. Who is that?
14   to have additional income from the transcripts                 14      A. I believe his name was Lance.
15   ordered from the judge who's having to record his              15      Q. Okay. Do you know what job he had?
16   hearings, correct?                                             16      A. He was a court clerk.
17       A. Yes, ma'am.                                             17      Q. A court clerk?
18       Q. Okay. In the 14th Judicial District, are                18      A. But I don't -- not the -- I don't know
19   there any male court reporters?                                19   what 1, 2 or 3, as they're -- I can't quite think
20       A. No, ma'am.                                              20   of what I want to say there.
21       Q. Are there any male AAs?                                 21      Q. Like their job classification?
22       A. No, ma'am.                                              22      A. Yes, I'm sorry. Their job
23       Q. In the 11th Judicial District -- Judicial               23   classification. I don't know what he was.
24   District, thank you, I'll get it out, have you in              24      Q. All right. Fair enough. And you don't
25   your tenure there, was there ever a male court                 25   know why he left?

                                                          Page 38                                                            Page 40
 1   reporter?                                                       1       A. No, ma'am.
 2      A. Yes.                                                      2       Q. Okay. And you're unaware of any other
 3      Q. Who was that?                                             3   males that have applied for positions within the
 4      A. Shaun Higgins.                                            4   14th Judicial District, are you?
 5      Q. And that's S H A U N?                                     5       A. Correct.
 6      A. Yes.                                                      6       Q. Okay.
 7      Q. And when was he employed by the 11th                      7       A. Unaware.
 8   Judicial District?                                              8       Q. All right. Did you get along well with
 9      A. He was there when I started.                              9   Shaun Higgins?
10      Q. Okay. And how long during your tenure                    10       A. Very well. I consider him a close
11   was he there?                                                  11   personal friend to this day.
12      A. The whole time.                                          12       Q. Is Shaun somebody that you could ask for
13      Q. He was there in 2021 when you left?                      13   help?
14      A. Yes. He's still there.                                   14       A. Not now. We had five court reporters in
15      Q. And he is out of Pittsburg?                              15   the 11th Judicial District, and now they're down
16      A. Yes.                                                     16   to two.
17      Q. Okay. Now that you've said that, I know                  17       Q. All right.
18   exactly who you're talking about. All right. So                18       A. But previously, yes, I would.
19   in the office, okay, of the court, the clerk of                19       Q. So the reason you say not now is because
20   the court in Parsons, the entire time that you                 20   he's a busy man?
21   worked there, was there any male employees other               21       A. He's overloaded as well.
22   than the judges?                                               22       Q. Okay. Tammy Thompson -- Thomas?
23      A. You're talking just the district court                   23         MR. JOHNSON: Thurman.
24   clerk's office?                                                24         MS. MOCK: No, there's a Terri Thurman.
25      Q. Yes, I am.                                               25       BY MS. MOCK:
              Case 5:21-cv-04093-JWB Document 38-11 Filed 12/16/22 Page 11 of 59
10/3/2022                                                                                                          11 (41 - 44)
                                           SABRINA S. OVERFIELD
                                                        Page 41                                                             Page 43
 1       Q. I'm talking about Tammy, the one that was              1       Q. Okay. J I N X?
 2   hired to be court reporter out of Oklahoma?                   2       A. Yes.
 3       A. I believe it was Thomas.                               3       Q. All right. Just so if -- for today's
 4       Q. Thomas. Tammy is correct?                              4   purposes, if we can refer to her as Jinx and the
 5       A. Yes, ma'am.                                            5   other Terri as Terri, I think it will be easier to
 6       Q. All right. We'll just call her Tammy.                  6   clear up. Fair enough?
 7   Okay?                                                         7       A. That's the reason we called her Jinx.
 8       A. Okay.                                                  8       Q. Yeah, it would get confusing. All right.
 9       Q. Do you recall when she came and when she               9   You know, before January of 2020, was there any
10   left?                                                        10   internal conflict within that office?
11       A. It was less than a year, and the date she             11       A. The clerk's office?
12   left was in January of 2020 -- or, I'm sorry,                12       Q. Yeah, and the judges. I mean was there
13   February of 2020.                                            13   conflict within the office? Because you're all
14       Q. Do you know why she left?                             14   back in the same area, correct?
15       A. No, ma'am.                                            15       A. Pretty much. The back hallway was the
16       Q. Did she ever complain to you about                    16   judges and court reporters, and the front office
17   anything?                                                    17   was the district court clerk. We had a hallway.
18       A. No, ma'am.                                            18   It was wonderful when I first started.
19       Q. Did you guys get along okay?                          19       Q. Okay.
20       A. Yes.                                                  20       A. Hardly any conflicts whatsoever. As time
21       Q. Did she ask you for help?                             21   progressed, though, judges changed, clerks
22       A. Yes.                                                  22   changed. The dynamics changed.
23       Q. Did you help her?                                     23       Q. So were there conflicts?
24       A. Of course.                                            24       A. Yes.
25       Q. Who else was in the Parsons courthouse                25       Q. Typically, in let's say '18 and '19, who

                                                        Page 42                                                             Page 44
 1   clerk's office in March of -- excuse me, January              1   -- who did those conflicts arise between?
 2   of 2020?                                                      2      A. Judge Johnson, the clerks. Judge Johnson
 3      A. That works there in January of 2020?                    3   and Judge Jack.
 4      Q. Yes.                                                    4      Q. Okay. So when you say Judge Johnson and
 5      A. Our head clerk was Terri Thurman, Teri                  5   the clerks, who in particular?
 6   Meador, excuse me, M E A D O R, Tisha Lemmons.                6      A. The head clerk, Terri Thurman, and Judge
 7      Q. Can you spell the first name there?                     7   Johnson.
 8      A. Tisha?                                                  8      Q. Okay. So there was conflicts between
 9      Q. Oh, it's Tisha?                                         9   Terri Thurman and Judge Johnson and Judge Jack and
10      A. T I S H A.                                             10   Judge Johnson?
11      Q. Lemmons?                                               11      A. Yes.
12      A. L E M M O N S. And Myra, M Y R A,                      12      Q. Okay. That's it? No more -- you weren't
13   Freeman.                                                     13   involved in any of these conflicts?
14      Q. So there's two Terri's here?                           14      A. I was to the extent with Judge Jack and
15      A. Yes.                                                   15   Judge Johnson. There was no communication between
16      Q. And I understand that Teri Meador goes by              16   the two of them. And it was very frustrating and
17   the name Jinx. Is that correct?                              17   very hard to work as a team. When Judge Fleming
18      A. Yes.                                                   18   was there and Judge Jack or Judge Brewster and
19      Q. Does everybody call her Jinx?                          19   Vickie Barrett as the other court reporter, it
20      A. Most everyone.                                         20   flowed and we had communication, and we covered
21      Q. You did not?                                           21   for each other and it was a great dynamic and
22      A. Most of the time I did.                                22   worked really well.
23      Q. Okay. Is there a particular reason why                 23      Q. Okay. So Judge Johnson comes in and was
24   you wouldn't call her Jinx?                                  24   there an attempt to work with him?
25      A. No.                                                    25      A. Yes, very much so.
               Case 5:21-cv-04093-JWB Document 38-11 Filed 12/16/22 Page 12 of 59
10/3/2022                                                                                                          12 (45 - 48)
                                              SABRINA S. OVERFIELD
                                                          Page 45                                                           Page 47
 1       Q. Okay. Well, what happened?                               1      Q. Okay. You and Terri Thurman are pretty
 2       A. He didn't want to work with us.                          2   good friends. Is that correct?
 3       Q. Okay. Us meaning you and?                                3      A. Yes.
 4       A. The clerks, the judge, the county                        4      Q. Are you guys friends that hang out
 5   attorney, anybody.                                              5   outside of work?
 6       Q. Can you draw or sketch out a floor plan                  6      A. Yes.
 7   of your office, like where the clerks are, where                7      Q. Does she live in the Independence area as
 8   the judge's hallway is, where your office is,                   8   well?
 9   Judge Jack's office and Judge Johnson's office?                 9      A. No.
10       A. Clerks, hallway, long hallway, their                    10      Q. Where does she live?
11   office, Judge Johnson, his court reporter, my                  11      A. Erie, Kansas.
12   office, Judge Jack.                                            12      Q. Okay. And was she there the entire time
13       Q. Are those doors?                                        13   that you were there --
14       A. Yeah, yes.                                              14      A. Yes.
15       Q. Okay. Do -- can you draw the squares                    15      Q. -- at the 11th Judicial District?
16   where the --                                                   16      A. Yes.
17       A. Doors.                                                  17      Q. Okay. And she was the court -- the head
18       Q. -- doors are and where the walls are?                   18   court clerk, correct, the district court clerk?
19       A. In between the judges and court                         19      A. The first two years, no.
20   reporters, there's a little breezeway I would say,             20      Q. Okay. So she got that position, what,
21   like a little closet that you can go into their                21   2000?
22   office. Does that make sense to you?                           22      A. I believe so.
23       Q. Sure. Can I see that for a sec?                         23      Q. All right. And then Jinx, what's her --
24       A. Yes, ma'am.                                             24   what's her job title. Let's say January of 2020,
25       Q. Okay. Can you label who was in where?                   25   what was Jinx's job title?

                                                          Page 46                                                           Page 48
 1      A. Um-hum. And this would be his court                       1      A. I don't know her classification, but she
 2   reporter, my offices and Jack.                                  2   was a court clerk.
 3      Q. Okay. So is there a door between your                     3      Q. Tisha Lemmons?
 4   office and Judge Jack's office?                                 4      A. Same thing.
 5      A. Yes. That's like the little hallway,                      5      Q. And Myra Freeman?
 6   breezeway, closet.                                              6      A. Same thing.
 7      Q. And there's actually a door that opens                    7      Q. And they were all supervised by Terri?
 8   and shuts there?                                                8      A. Yes.
 9      A. Yes, ma'am.                                               9      Q. So there's two courthouses within the
10      Q. Correct?                                                 10   11th Judicial District?
11      A. Yes, ma'am.                                              11      A. Yes.
12      Q. And locks, correct?                                      12      Q. Sorry. One in Parsons and one in Oswego?
13      A. Yes, ma'am.                                              13      A. Yes.
14      Q. Okay. And then you have an exterior door                 14      Q. The one in -- have you ever worked out of
15   into the hallway?                                              15   Oswego?
16      A. Yes, ma'am.                                              16      A. Yes.
17      Q. That also opens and closes and locks?                    17      Q. Okay. On what -- what would bring you to
18      A. Yes, ma'am.                                              18   Oswego?
19      Q. And Judge Jack has an exterior door into                 19      A. Whenever my judge had a case there that
20   the hallway that also opens, closes and locks?                 20   we were hearing in Oswego, I would go with him.
21      A. Yes, ma'am.                                              21   And we would go -- Judge Fleming went twice a
22      Q. Okay. And there's no door in between                     22   month and Judge Jack would go twice a month. I
23   Judge Johnson's court reporter's office and your               23   don't remember the given day, I believe it was a
24   court reporter's office, correct?                              24   Friday, at one time we would do court there.
25      A. Correct.                                                 25      Q. So that was typical for both the judges
              Case 5:21-cv-04093-JWB Document 38-11 Filed 12/16/22 Page 13 of 59
10/3/2022                                                                                                           13 (49 - 52)
                                            SABRINA S. OVERFIELD
                                                          Page 49                                                             Page 51
 1   that you worked for, you would go to Oswego two                 1       A. Yes, ma'am.
 2   Fridays a month?                                                2       Q. Okay. Was that a couple times?
 3      A. Yes, ma'am.                                               3       A. More than a couple.
 4      Q. All right. And other than that, did any                   4       Q. Less than five?
 5   other -- did the other judges hold court in Oswego              5       A. Yes.
 6   as well?                                                        6       Q. Judge Stockard started in April of 2020.
 7      A. If they had a case they were assigned to                  7   Is that correct?
 8   and it was an Oswego case, I believe they would.                8       A. Yes, ma'am.
 9      Q. All right. What were conflicts that                       9       Q. And was he aware of your complaint
10   Terri had with Judge Johnson to the extent you                 10   against Judge Johnson?
11   know?                                                          11       A. I can't answer that.
12      A. The communication that he had with                       12       Q. Did you tell him?
13   everyone. When she would try and visit with him                13       A. No, ma'am.
14   about the judicial courthouse procedures and                   14       Q. Okay. And he never talked to you about
15   policies, he would put a wall up and want it his               15   it?
16   way.                                                           16       A. No, ma'am.
17      Q. Okay. And I think you said Judge Jack                    17       Q. And you never talked to him about it?
18   experienced these same problems, correct?                      18       A. No, ma'am.
19      A. Yes.                                                     19       Q. Did you ever ask not to have to
20      Q. So did Judge Johnson speak to and put                    20   communicate with Judge Johnson?
21   walls up to Judge Jack like he did with Terri?                 21       A. Not with him.
22      A. Yes.                                                     22       Q. Not with Judge Stockard?
23      Q. After January 10th, 2020, we were talking                23       A. No, ma'am.
24   about times in which maybe you covered court for               24       Q. You never told Judge Stockard, listen,
25   Judge Johnson, correct?                                        25   I've a complaint with Judge Johnson. I don't want

                                                          Page 50                                                             Page 52
 1      A. Yes.                                                      1   to have to communicate with him?
 2      Q. All of those would have occurred before                   2      A. No, ma'am.
 3   January of 2020, correct?                                       3      Q. Is there a reason you didn't do that?
 4      A. Yes, ma'am.                                               4      A. I just didn't feel that it involved Judge
 5      Q. After the events of January of 2020 and                   5   Stockard. And if he needed me to contact Judge
 6   your complaint, you never worked with him again,                6   Johnson work related, I was going to do it.
 7   correct?                                                        7      Q. And you could have, correct? I mean you
 8      A. Correct.                                                  8   could have informed Judge Stockard about your
 9      Q. Prior -- and then you also indicated that                 9   complaint and request not to have any
10   you would work for him as an AA from time to                   10   communication with Judge Johnson, correct?
11   time?                                                          11      A. I could have.
12      A. Yes, ma'am.                                              12      Q. Does Judge Stockard strike you as the
13      Q. And that also would have preceded January                13   kind of person that would say I don't really care.
14   of 2020, correct?                                              14   You're going to do it anyway?
15      A. Yes, ma'am.                                              15      A. Not at all.
16      Q. Okay. So there were no occasions after                   16      Q. Okay. He would have said, don't worry
17   the events of January 10th and 13th and after the              17   about it. I'll take care of it?
18   complaint in which you had to work with or for                 18      A. Probably.
19   Judge Johnson, correct?                                        19      Q. Okay. Were there times when Judge
20      A. No. Judge Stockard a few times requested                 20   Johnson prior to January 2020 asked you for help
21   me to contact him via e-mail for court                         21   and you said no?
22   proceedings.                                                   22      A. No.
23      Q. Okay.                                                    23      Q. Do you remember filling out some
24      A. So I would.                                              24   Interrogatories?
25      Q. And you did that?                                        25      A. Yes.
              Case 5:21-cv-04093-JWB Document 38-11 Filed 12/16/22 Page 14 of 59
10/3/2022                                                                                                            14 (53 - 56)
                                            SABRINA S. OVERFIELD
                                                          Page 53                                                             Page 55
 1         MR. JOHNSON: Terelle, are you going to                    1   environment for you other than Judge Johnson. Is
 2   mark this as an exhibit?                                        2   that correct?
 3         MS. MOCK: I don't know yet.                               3       A. Correct.
 4         MR. JOHNSON: Can I look at it?                            4           MS. MOCK: Okay. We've been going a
 5         MS. MOCK: Yeah. I'm going to put these                    5   little --
 6   two together. Okay.                                             6           MR. JOHNSON: I was just going to suggest
 7         (THEREUPON, Overfield Deposition Exhibit                  7   let's take a break before you get into that.
 8   No 3 was marked for identification by the                       8           MS. MOCK: Yeah.
 9   reporter.)                                                      9           (THEREUPON, a recess was taken.)
10         MR. JOHNSON: So is this all one?                         10       BY MS. MOCK:
11         MS. MOCK: Yeah, I'm going to make it                     11       Q. Okay. So January 10th, 2020. Okay. So
12   one.                                                           12   at this point in time, we -- the governor and
13         MR. JOHNSON: Okay.                                       13   there's a judicial selection committee, correct?
14         MS. MOCK: I think it's easier that way.                  14       A. Yes, ma'am.
15      BY MS. MOCK:                                                15       Q. That is interviewing applicants to fill
16      Q. I'm hand you what's been marked Exhibit                  16   Judge Jack's position. Is that correct?
17   No. 3. If you'll flip to the very last page of                 17       A. Yes.
18   Exhibit No. 3, is that your signature?                         18       Q. And the -- I understand there was
19      A. Yes, ma'am.                                              19   interviews being held at the Parsons courthouse on
20      Q. All right. I would like you to go to                     20   January 10th, 2020?
21   page 3, and on No. 5, we requested that you                    21       A. Yes.
22   describe each incident of alleged hostile work                 22       Q. And that was a Friday?
23   environment by the defendant about which you are               23       A. Yes.
24   complaining or making this lawsuit. Did you                    24       Q. What was your involvement with the
25   understand that was the question?                              25   interviews?

                                                          Page 54                                                             Page 56
 1      A. I believe I did.                                          1      A. I was allowed to sit in and listen to
 2      Q. Okay. And the events that you describe                    2   them.
 3   occurred on January 10th and January 13th. Is                   3      Q. Okay. And did you do that?
 4   that correct?                                                   4      A. Yes.
 5      A. Yes, ma'am.                                               5      Q. How many candidates interviewed?
 6      Q. Okay. I just want to be clear. These                      6      A. I believe nine.
 7   are the only two events that we're talking about                7      Q. All on Friday or was that spread out
 8   here in your lawsuit. Is that correct?                          8   through the week?
 9      A. Yes, ma'am.                                               9      A. All on Friday.
10      Q. Your not complaining about any other                     10      Q. And did you sit in on all nine
11   instances or interactions that you had with Judge              11   interviews?
12   Johnson or anybody else affiliated with the 11th               12      A. I did.
13   Judicial District. Is that correct?                            13      Q. And who invited you into that room?
14      A. Correct.                                                 14      A. I believe Terri Thurman told me I was
15      Q. Okay. We'll probably come back to those.                 15   welcome and then a few on the panel.
16   I'm going to set them aside for right now. So                  16      Q. Is it something you requested?
17   prior to January 10th, had you had any interaction             17      A. No.
18   with Judge Johnson that was uncomfortable?                     18      Q. You didn't request to be present for
19      A. No.                                                      19   those interviews?
20      Q. Did you have any interaction with him of                 20      A. No.
21   which you complained to Terri about?                           21      Q. So Terri just out of the blue said you're
22      A. No.                                                      22   welcome to sit in?
23      Q. Okay. And to be clear, you've not                        23      A. Yes.
24   complaining about anybody else within the 11th                 24      Q. And you sat in on all nine interviews?
25   Judicial District creating a hostile work                      25      A. Yes.
               Case 5:21-cv-04093-JWB Document 38-11 Filed 12/16/22 Page 15 of 59
10/3/2022                                                                                                           15 (57 - 60)
                                              SABRINA S. OVERFIELD
                                                          Page 57                                                             Page 59
 1      Q. So no court that day?                                     1   when they were in custody, and it butts up against
 2      A. No, ma'am.                                                2   the clerk's office.
 3      Q. Okay. And at the conclusion of these                      3       Q. Okay.
 4   interviews, I'm going to go back to my -- let's go              4       A. I'm sorry.
 5   back to your drawing here.                                      5       Q. No, you're fine. Give me a second here.
 6      A. Okay.                                                     6          (THEREUPON, a discussion was had off the
 7      Q. Okay. Where were the interviews held?                     7   record.)
 8      A. Okay. With this hallway, this is Judge                    8       BY MS. MOCK:
 9   Jack's office. There's a back doorway right here.               9       Q. Okay. I started this again just to kind
10   Our courtroom is right here. They were held in                 10   of try to clean it up a little bit, but I want
11   Judge Jack's and my courtroom.                                 11   your help over here on this other side of the
12      Q. Okay.                                                    12   hallway. Okay. First of all, I've got the clerks
13      A. And then before you get to the clerk's                   13   here. Is that correct?
14   office, Judge Johnson's -- there's a bathroom here             14       A. Yes.
15   on that side, and then right across is his                     15       Q. Okay. And then I've got this long
16   courtroom, a door that goes into his courtroom.                16   hallway here?
17      Q. Do the two courtrooms share a wall?                      17       A. Yes.
18      A. No, ma'am.                                               18       Q. And there's a cell, holding cell for
19      Q. What's in between them?                                  19   inmates?
20      A. The long hallway. There's a long hallway                 20       A. Very small, yes.
21   here, too.                                                     21       Q. Okay. We've got Johnson's courtroom?
22      Q. What's in this space? Is there a                         22       A. Yes.
23   kitchenette there and a bathroom?                              23       Q. We have the jury room?
24      A. Oh, I'm sorry. Jury room.                                24       A. Yes.
25      Q. It's a jury room?                                        25       Q. Two closets, men's and women's rooms are

                                                          Page 58                                                             Page 60
 1       A. Yes, with two -- men's bathroom, women's                 1   in there somewhere, correct?
 2   bathroom and the jury room. Oh, sorry. There's                  2       A. Yes.
 3   an exhibit closet on this side that was Vickie's                3       Q. Okay. And is there a door to the closet
 4   closet and then an exhibit closet here that was my              4   and door to the jury room and then the bathrooms
 5   closet on the same side that the jury room is.                  5   are off of the jury room?
 6       Q. Do all of the -- like does the jury room                 6       A. Yes.
 7   have a doorway that opens to this hallway over                  7       Q. All right. So I'm going to put a door to
 8   here?                                                           8   this closet, a door to this closet and a door to
 9       A. Yes.                                                     9   the jury room. Okay?
10       Q. And do these closets have doors that open               10       A. Yes.
11   up to that hallway?                                            11       Q. There used to be a swingy thing we did
12       A. Yes.                                                    12   but -- all right. And then we've got Jack's
13       Q. And does Johnson's courtroom butt up                    13   courtroom?
14   against this clerk over here, the clerk's room                 14       A. Yes.
15   over here?                                                     15       Q. All right. So then we have Jack's
16       A. I don't think we call it butt up. But                   16   chambers?
17   one other thing, here's his courtroom and his door             17       A. Yes.
18   sits like -- I'm a terrible artist. I'm sorry,                 18       Q. All right. Now, if I recall correctly
19   Terelle.                                                       19   from my visit to this courtroom, you open this
20       Q. That's okay. We're going to work through                20   door and his desk is kind of like right over here.
21   this.                                                          21   Is that correct?
22       A. Okay. His -- like here's the bathroom.                  22       A. No.
23   And you go up a step and then his door is right                23       Q. It's on this side?
24   here to go into the courtroom. Across from that                24       A. No. If this is a door, his desk is right
25   door is a cell, like where they had inmates stay               25   there. That's a couch.
               Case 5:21-cv-04093-JWB Document 38-11 Filed 12/16/22 Page 16 of 59
10/3/2022                                                                                                         16 (61 - 64)
                                              SABRINA S. OVERFIELD
                                                          Page 61                                                             Page 63
 1      Q. Does his desk face this way?                              1      Q. All right. Is that a fair description of
 2      A. Yes.                                                      2   that office space?
 3      Q. Is that accurate?                                         3      A. It is.
 4      A. Yes.                                                      4          MR. JOHNSON: Good job.
 5      Q. Okay. And would the wall to -- could we                   5          MS. MOCK: Well, missed my calling,
 6   make this the wall for his?                                     6   right?
 7      A. Yes.                                                      7          MR. JOHNSON: Uh-huh.
 8      Q. All right. I'm going to put this here.                    8      BY MS. MOCK:
 9   And then there's a door right here and a little                 9      Q. All right. Okay. So on January 10th,
10   hallway into your office. Is that correct?                     10   you indicated the interviews occurred in Jack's
11      A. Correct.                                                 11   courtroom?
12      Q. Okay. So I'm going to put a door here                    12      A. Yes.
13   and a little hallway. And then I'm going to make               13      Q. And there's a door from Jack's courtroom
14   another line here and you have a door, too,                    14   into the hallway but I think you said was right
15   correct?                                                       15   across from his doorway into his chambers. Is
16      A. Correct.                                                 16   that correct?
17      Q. Right here and right here. And we'll                     17      A. Yes.
18   call this Sabrina's office. Okay?                              18      Q. Okay. I'm going make that doorway right
19      A. Okay.                                                    19   here. Does that look about right?
20      Q. And then there's a door here and we'll                   20      A. When you come out of his office, though,
21   call this -- what do you want to call this,                    21   there's like a little step, like a little
22   Johnson's AA's office or court reporter's -- court             22   entryway.
23   reporter 2?                                                    23      Q. Okay.
24      A. Yes.                                                     24      A. And the courtroom is entered like this
25      Q. CR 2?                                                    25   way. Right.

                                                          Page 62                                                             Page 64
 1       A. Yes.                                                     1      Q. Okay. So I'm going to put some steps
 2       Q. All right. And then -- well, I probably                  2   here. We're going walk in and we're going to go
 3   could have come a little bit farther here, but                  3   this way?
 4   we'll say that goes here and there's a door here,               4      A. That's it, correct.
 5   correct, that goes into Judge Johnson's office.                 5      Q. Okay. All right. I drew a little arrow
 6   Is that correct?                                                6   there. Okay. So you leave this courtroom, walk
 7       A. Okay. Oh, right. So this is like that                    7   up these steps and come down this hallway and have
 8   little breezeway hallway thing between our                      8   a conversation with Judge Jack -- or Judge
 9   offices?                                                        9   Johnson, is that correct, on the 10th?
10       Q. Yes.                                                    10      A. No.
11       A. Yes, correct.                                           11      Q. No?
12       Q. All right. And then Judge Johnson's                     12      A. The interviews had been long over and I
13   chambers is here, and his door is maybe right                  13   was in my office, and I left my office to go up
14   here. Does that sound about right?                             14   the hallway into the clerk's office.
15       A. Correct.                                                15      Q. Okay. What -- how long did the
16       Q. Door. And his desk sits about like this.                16   interviews last that day?
17   Is that correct?                                               17      A. I'm thinking 1:30 or 2. They broke for
18       A. It's over further but --                                18   lunch and had a couple after lunch.
19       Q. This way?                                               19      Q. And this is a Friday?
20       A. Yes, ma'am.                                             20      A. Yes.
21       Q. And his chair is back here?                             21      Q. So you were in your office. Is that
22       A. Yes.                                                    22   correct?
23       Q. And he's got two chairs right here and                  23      A. Yes.
24   right here, correct?                                           24      Q. And where were you headed?
25       A. As I recall it, yes.                                    25      A. To the clerk's office.
              Case 5:21-cv-04093-JWB Document 38-11 Filed 12/16/22 Page 17 of 59
10/3/2022                                                                                                         17 (65 - 68)
                                           SABRINA S. OVERFIELD
                                                        Page 65                                                             Page 67
 1      Q. Okay. And what made you stop at Judge                   1   three applicants going up.
 2   Johnson's door?                                               2      Q. Okay. And what did he say?
 3      A. We made eye contact and I just wanted to                3      A. He knew those were the three that would
 4   see what he thought of the three nominating that              4   go up.
 5   were going up to Judge -- or to Governor Kelly.               5      Q. All right. What happened next?
 6      Q. Okay. So by what time did this occur do                 6      A. I told him that I wasn't sure and I was
 7   you suppose in the afternoon?                                 7   rather surprised.
 8      A. That I walked up to the clerk's office to               8      Q. And why were you surprised?
 9   do business?                                                  9      A. Those just weren't the three that I had
10      Q. Well, that you started your conversation               10   chose in my mind to go up.
11   with Judge Johnson.                                          11      Q. So you didn't think those were the three
12      A. Approximately 3 o'clock.                               12   best applicants based upon your experience in the
13      Q. So by 3 o'clock, you already knew who the              13   interview room?
14   three selected were?                                         14      A. No, not necessarily. Just those were not
15      A. Yes.                                                   15   the three that I thought that would be chosen.
16      Q. Okay. And who did you get that                         16      Q. And I'm asking why? Why weren't they?
17   information from?                                            17      A. I guess I -- I felt there was another one
18      A. I believe Terri as well.                               18   possibly that in my eyes I probably would have
19      Q. All right.                                             19   sent up.
20      A. No, I'm sorry. The county attorney,                    20      Q. And who was that?
21   Stephen Jones who was one of the selected nine.              21      A. Nathan Coleman.
22      Q. He was on the judicial selection                       22      Q. And he was the district attorney --
23   committee?                                                   23      A. No.
24      A. No. He was one of the names that could                 24      Q. -- that called you? Okay. So you
25   possibly go up to the...                                     25   thought that Nathan Coleman should have been

                                                        Page 66                                                             Page 68
 1      Q. He was an applicant?                                    1   recommended to Governor Kelly as one of the three
 2      A. Thank you.                                              2   options?
 3      Q. No problem.                                             3      A. I think so.
 4      A. Applicant. He was an applicant.                         4      Q. Any other reason that you disagreed with
 5      Q. All right. And was he one of the three?                 5   the three selected by the nominating commission?
 6      A. No, ma'am.                                              6      A. I didn't disagree. I just felt like
 7      Q. All right. So he had learned who the                    7   there were a lot of good applicants, and I wish it
 8   three were and called you and told you. Is that               8   could have been just more than three for Governor
 9   how that happened?                                            9   Kelly to choose from.
10      A. Yes.                                                   10      Q. Oh, okay. You said to Judge Johnson that
11      Q. That's correct?                                        11   you were surprised?
12      A. Yes.                                                   12      A. Yes.
13      Q. And -- okay. So you are walking down the               13      Q. Okay. And what surprised you about the
14   hallway to the clerk's office, and was Judge                 14   three selected?
15   Johnson sitting at his desk?                                 15      A. I just thought it was a rather hard
16      A. Yes.                                                   16   process after sitting through all nine of them for
17      Q. And you two made eye contact?                          17   them to come down to the three they did.
18      A. Yes.                                                   18      Q. I get that. But you knew that going in,
19      Q. And you stopped at his door?                           19   correct? I mean you knew they were going to
20      A. Yes.                                                   20   whittle it down to three?
21      Q. Did you enter his office?                              21      A. Yes.
22      A. No, ma'am.                                             22      Q. You were aware that's how the process
23      Q. So you stopped at his door and what                    23   worked?
24   happened next?                                               24      A. Yes.
25      A. I just asked him what he thought of the                25      Q. So that didn't surprise you?
              Case 5:21-cv-04093-JWB Document 38-11 Filed 12/16/22 Page 18 of 59
10/3/2022                                                                                                        18 (69 - 72)
                                           SABRINA S. OVERFIELD
                                                        Page 69                                                             Page 71
 1      A. No.                                                     1       A. That's been too long ago.
 2      Q. So what surprised you?                                  2       Q. You can't remember?
 3      A. Well, as I've said, Nathan Coleman I felt               3       A. No.
 4   with his qualifications would have been an                    4       Q. You didn't give her any names?
 5   excellent name to go up and also the County                   5       A. No.
 6   Attorney Stephen Jones' name to go up.                        6       Q. You didn't tell her that you thought Mr.
 7      Q. Did anybody on the nominating commission                7   Coleman should be selected?
 8   ask you for your input or opinion?                            8       A. No.
 9      A. Before the process, yes.                                9       Q. And who was the other one?
10      Q. Before the interviews?                                 10       A. Stephen Jones.
11      A. Yes.                                                   11       Q. Jones.
12      Q. Okay. Who asked you for your opinion?                  12       A. He was the previous prior county attorney
13      A. Not necessarily my opinion but my                      13   in Labette.
14   thoughts.                                                    14       Q. District attorney?
15      Q. Are those different?                                   15       A. County attorney.
16      A. Sometimes.                                             16       Q. Did you tell her -- so you didn't name
17      Q. Can you explain to me the difference?                  17   any one nominee or applicant?
18      A. Well, I guess not really, but my thoughts              18       A. No.
19   on who -- why they put their name in, if I had               19       Q. Did you speak to anybody else on the
20   any input that way, and my opinion on who I                  20   nominating commission?
21   thought would be a good judge.                               21       A. Not that I recall.
22      Q. Okay. So who asked you for your                        22       Q. Okay. So back to your communication with
23   thoughts?                                                    23   Judge Johnson, you indicate you were surprised,
24      A. Sara Beezley.                                          24   and if I can restate your testimony and correct me
25      Q. Okay. Sara Beezley was on the nominating               25   if I'm wrong, but you were surprised because Mr.

                                                        Page 70                                                             Page 72
 1   commission?                                                   1   Coleman and Mr. Jones were not two of the three --
 2      A. Yes.                                                    2   were not of the three selected to be nominated to
 3      Q. Did anybody else on the nominating                      3   Governor Kelly. Is that correct?
 4   commission ask you for your input, thought or                 4       A. Correct.
 5   opinion?                                                      5       Q. And other than your opinion, I guess, did
 6      A. Not that I recall at this moment, no.                   6   you have any reason -- I mean what else led you
 7      Q. And who is Sara Beezley?                                7   to believe that they would be that caused you
 8      A. She's an attorney out of Girard, Kansas.                8   surprise?
 9      Q. What kind of law does she practice?                     9       A. I was going by my personal opinion, and I
10      A. Domestic, criminal, civil, some probate.               10   had worked with the applicants.
11      Q. Is she part of a law firm or a practice?               11       Q. All of them, all nine?
12      A. She has her own practice.                              12       A. No. No. No.
13      Q. Solo practitioner?                                     13       Q. Who were the three that went up to the
14      A. No. She has Sarah Mills, an associate                  14   governor?
15   with her.                                                    15       A. Stockard, Marsh and I can't recall the
16      Q. Are you friends with Miss Beezley?                     16   third one now.
17      A. Yes.                                                   17       Q. Had you worked with those three?
18      Q. How long have you been friends?                        18       A. I'd worked with Stockard and Marsh
19      A. We were work associates, and then I think              19   heavily, both of them.
20   we became friends over the years. She's known me             20       Q. Did you agree that they were qualified
21   for 25 years.                                                21   applicants that should have been recommended?
22      Q. Okay. And so when you were -- when your                22       A. Yes.
23   opinion I guess was solicited by Sara Beezley,               23       Q. And the third one you can't recall?
24   what did you -- what did you tell her prior to               24       A. No, I can't.
25   the interviews?                                              25       Q. Had you -- do you recall also having
              Case 5:21-cv-04093-JWB Document 38-11 Filed 12/16/22 Page 19 of 59
10/3/2022                                                                                                              19 (73 - 76)
                                            SABRINA S. OVERFIELD
                                                          Page 73                                                             Page 75
 1   worked with the third one or was that somebody                  1   escalating and to the point where I just said -- I
 2   that you'd never worked with before?                            2   was getting fearful for what he was going to do
 3       A. If I can't recall who it was, I can't                    3   and get up and come after me. I'm five three.
 4   answer that.                                                    4   He's six foot two and a pretty good sized guy.
 5       Q. Okay. All right. So you stop at his                      5   And he had done it previously, and I'd witnessed
 6   office, you were surprised, he's not surprised and              6   it, to the Court Clerk Terri Thurman. It happened
 7   then where does the conversation go from there?                 7   to her in our jury room, and it was ugly,
 8       A. We talk a little bit about the names that                8   horrendous, awful and I know what it did to her.
 9   are chosen, and I made a comment about Judge Marsh              9   And I just said I think we're done here. And I
10   had made a comment during his interview he wanted              10   was walking up the hallway in tears, shaking,
11   to move all court down to Oswego. And I made the               11   hyperventilating, and she saw me and she was at
12   comment that's just not feasible. Knowing how                  12   the end of the hallway waiting on me because she
13   that courthouse and my experience with it, that's              13   could hear. And the other two clerks could as
14   going to be difficult. And then he got irritated               14   well. And as I'm walking up the hallway, he says
15   and one thing led to another.                                  15   get back here. I'm not done with you yet. Well,
16       Q. I want you to take me through it.                       16   I was done.
17       A. He got irritated with me stating that                   17        Q. Did he -- how long did this interaction
18   because I was stating my opinion. And he went                  18   last?
19   into saying that it is feasible. I do it down                  19        A. Probably 15 minutes.
20   there, and I said, well, not all the time. And                 20        Q. Did he -- was he seated at his desk the
21   he said, yes, I do a lot down there. And then we               21   entire time?
22   talked about Judge Brunetti. He said she does all              22        A. To the very end.
23   her court. She's moved it. And I said, no, she                 23        Q. So yes?
24   hasn't move it all. I sat with her at Judge                    24        A. Yes.
25   Jack's retirement party. And it wasn't a loud                  25        Q. Okay. Okay. I want to make sure. He

                                                          Page 74                                                             Page 76
 1   screaming match. We were talking in a normal                    1   was seated at his desk the entire time?
 2   tone. And then about that time he slams his fist                2      A. Yes, except when he did his fist he would
 3   on his table. I felt like he was going to break                 3   stand up.
 4   his hand as hard as it was. And he said sit                     4      Q. Okay.
 5   down, we need to have a talk. And his face got                  5      A. Kind of rise.
 6   really red. And I can't tell you word for word                  6      Q. Did he ever move from behind his desk?
 7   verbatim what he said, but it was very violent and              7      A. No.
 8   horrific in my eyes to where I was just stunned                 8      Q. And he never came to a full standing
 9   that a district court judge was talking to me like              9   position?
10   this, treating me like this, and all I was trying              10      A. No. Until I left. And when I said we're
11   to do was communicate with him like a normal human             11   done here and I started walking, I know he was
12   being. And he kept hitting his fist on his desk                12   getting up.
13   and telling me to sit down, telling me I was a                 13      Q. But you couldn't see him?
14   liar, I was a terrible court reporter, I didn't                14      A. As I was leaving, I could see him stand
15   know what I was doing and I was lazy. And then                 15   up, so I left.
16   he -- and I'd try and interject at times I don't               16      Q. Okay. Did he follow you down the
17   know what you're talking about. And how I would                17   hallway?
18   never fill in for him. And Tammy, his court                    18      A. No.
19   reporter, had worked for my judge all the time,                19      Q. Did he say anything else to you after get
20   and that was not the truth. She hadn't. She had                20   back here. I'm not done with you yet?
21   a couple of times. When I took my mom to cancer                21      A. That's the last I heard.
22   treatment, she had filled in for me, but she did               22      Q. Okay.
23   not work for me all the time. And I tried to                   23         (THEREUPON, Overfield Deposition Exhibit
24   carry on a conversation with him in a normal tone              24   No 4 was marked for identification by the
25   and he kept -- it just escalated and kept                      25   reporter.)
              Case 5:21-cv-04093-JWB Document 38-11 Filed 12/16/22 Page 20 of 59
10/3/2022                                                                                                             20 (77 - 80)
                                            SABRINA S. OVERFIELD
                                                         Page 77                                                             Page 79
 1      BY MS. MOCK:                                                1       A. I'm sorry.
 2      Q. All right. I just handed you what has                    2       Q. That's okay. Let's figure it out.
 3   been marked as Exhibit 4. Do you recognize that                3       A. Okay. I'm sorry.
 4   document?                                                      4       Q. So where on Exhibit 5 is the kitchen?
 5      A. Yes.                                                     5       A. So here's the cell holding cell.
 6         (THEREUPON, Overfield Deposition Exhibit                 6       Q. Right.
 7   No 5 was marked for identification by the                      7       A. Okay. There's a little hallway. The
 8   reporter.)                                                     8   girl's bathroom right here past Judge Johnson,
 9      BY MS. MOCK:                                                9   there's a bathroom across from that. And then
10      Q. Okay. I'm also marking Exhibit 5, this                  10   there's a hallway here, goes into a kitchen. And
11   map of the office that I drew. Do you recognize               11   then if you go straight out the hallway, you go
12   this document?                                                12   straight out the back door.
13      A. Yes.                                                    13       Q. All right. So there's a door here?
14      Q. Okay. And is this a clear and fairly                    14       A. That's a bathroom.
15   accurate description of the office space in                   15       Q. That's a women's bathroom?
16   Parsons?                                                      16       A. The clerks used it but it's for whoever
17      A. Yes.                                                    17   -- yes, because the judges each had their own
18      Q. Is there anything about this description                18   private bathroom. So, yeah.
19   or layout of the office space that's incorrect?               19       Q. Okay.
20      A. No.                                                     20       A. Let's say women's.
21      Q. Okay. Let's go back to Exhibit 4. What                  21       Q. And here is a kitchenette?
22   is Exhibit 4?                                                 22       A. Yes.
23      A. My complaint.                                           23       Q. And is there a hallway here like this?
24      Q. Your complaint to whom?                                 24       A. Yes. Whoop.
25      A. To OJA.                                                 25       Q. No?

                                                         Page 78                                                             Page 80
 1      Q. And when did you prepare this complaint?                 1       A. Okay. So the -- where you drew the
 2      A. Half of it was prepared January 10th and                 2   bathroom?
 3   11th. The rest was the evening of January 13th.                3       Q. Um-hum.
 4      Q. All right. After you left Judge                          4       A. You go a little -- probably four, five
 5   Johnson's doorway -- and let me just go back, I                5   steps and that's where the hallway is. Four or
 6   guess. This conversation, you never left the                   6   five steps from the bathroom and then here's the
 7   doorway, correct?                                              7   hallway from -- and the kitchen you enter -- it's
 8      A. Correct.                                                 8   behind the women's bathroom, but you have to enter
 9      Q. So you never went into his office?                       9   it through that hallway. You can't go into it
10      A. No.                                                     10   from the women's bathroom.
11      Q. So for the entirety of the conversation,                11       Q. And there's a door here into the kitchen?
12   he was behind his desk and you were in the                    12       A. Yes, ma'am.
13   doorway. Is that correct?                                     13       Q. And then there's an exterior door here?
14      A. Correct.                                                14       A. Yes, that leads outside.
15      Q. All right. So after you left his                        15       Q. Okay. I've labeled that exterior door.
16   doorway, you talk to Terri, correct?                          16   Is that correct?
17      A. Correct.                                                17       A. Correct.
18      Q. And then what did you do?                               18       Q. All right. Okay. So you were up here in
19      A. I was very upset and I -- he and I were                 19   the clerk's office talking to Terri, and you left
20   the only ones in the back hallway, so I did not               20   through this front exterior door?
21   want to walk down the back hallway. And she told              21       A. Yes.
22   me there is a door from the clerk's office that               22       Q. Is there also an exterior door in the
23   leads into our kitchen and to the outside that we             23   back here?
24   didn't put on there.                                          24       A. Yes, where I would enter and exit every
25      Q. Okay.                                                   25   morning.
               Case 5:21-cv-04093-JWB Document 38-11 Filed 12/16/22 Page 21 of 59
10/3/2022                                                                                                             21 (81 - 84)
                                             SABRINA S. OVERFIELD
                                                          Page 81                                                             Page 83
 1      Q. Does it go into this hallway?                             1      Q. Do you know what time you got into your
 2      A. Yes.                                                      2   car?
 3      Q. I'm going to call that the back exterior                  3      A. No.
 4   door. Okay. Is that correct?                                    4      Q. Did -- what did you do when are you got
 5      A. Correct.                                                  5   into your car?
 6      Q. Were there things in your office that she                 6      A. Left.
 7   collected for you?                                              7      Q. Did you call Mac Young?
 8      A. No.                                                       8      A. I did once I got off the property.
 9      Q. Did you leave things in your office?                      9      Q. Okay.
10      A. No.                                                      10      A. A block away. I stopped and called him.
11      Q. You had everything on you?                               11      Q. So you pulled over. Do you recall where
12      A. No.                                                      12   you pulled over?
13      Q. So how did you get your purse and your                   13      A. Yes.
14   keys?                                                          14      Q. Where was it?
15      A. I exited through that exterior door.                     15      A. It was actually two blocks away at an
16      Q. Okay.                                                    16   empty parking lot.
17      A. I walked around the entire building to                   17      Q. All right. So you pulled over and you
18   this back door.                                                18   called Mac Young?
19      Q. Okay.                                                    19      A. Yes.
20      A. She watched me come in the back door and                 20      Q. Did you do that on Terri Thurman's
21   stood at the end of the clerk's hallway as I                   21   advice?
22   gathered my things and went back out the back door             22      A. Yes.
23   here.                                                          23      Q. What did you tell Mr. Young?
24      Q. All right. So you exited through the                     24      A. I told him that an incident had happened
25   front exterior door?                                           25   with Judge Johnson, and he told me to write it and

                                                          Page 82                                                             Page 84
 1      A. That's -- sorry.                                          1   send it to him. And I told him that I would not
 2      Q. Sorry. I called it the front exterior                     2   be coming back to work because I felt like now
 3   door and you called it the back exterior door?                  3   there was a hostile working environment, once
 4      A. Yes, that's the back entrance for the                     4   again, because I had witnessed it happen to Terri
 5   ladies. Our front entrance is through the clerk's               5   and nothing was done and something needed to be
 6   office.                                                         6   done because it couldn't keep happening to the
 7      Q. What's this one down here at the end of                   7   women in our office.
 8   the hallway?                                                    8      Q. Okay. So it hadn't -- you hadn't had a
 9      A. That's a side entrance where the judges                   9   hostile work environment before but Terri had. Is
10   and the court reporters entered.                               10   that what you're saying?
11      Q. All right. I'm going scratch out back                    11      A. Yes. But it also made the whole office
12   and write in side?                                             12   very hostile once Judge Johnson had done the same
13      A. Okay.                                                    13   thing to Terri.
14      Q. Is this correctly labeled the side                       14      Q. Okay. Well, let's go back and talk about
15   exterior door?                                                 15   that. So you keep referring to you'd observed
16      A. Yes.                                                     16   this before. So what are you talking about?
17      Q. Okay. And I'm going to call this the                     17      A. Nine or ten months before Judge Johnson
18   back. Is this correctly labeled the back exterior              18   and I had our incident, there was a budget meeting
19   door?                                                          19   that was in the jury room. And in attendance were
20      A. Correct.                                                 20   Terri Thurman, Mac Young, Judge Jack and Judge
21      Q. All right. So you walked out the back                    21   Johnson. I was in my office. This happened over
22   exterior door, walked around the building to the               22   a noon hour and I usually ate in my office or
23   side exterior door, came inside, went to your                  23   worked. And I happened to be there and the door
24   office, collected your things and left?                        24   was open to the jury room. The meeting was
25      A. Yes.                                                     25   halfway over I'm guessing, and I start hearing the
               Case 5:21-cv-04093-JWB Document 38-11 Filed 12/16/22 Page 22 of 59
10/3/2022                                                                                                        22 (85 - 88)
                                             SABRINA S. OVERFIELD
                                                         Page 85                                                            Page 87
 1   noise of the hand, the fist noise and screaming                1   spring.
 2   and yelling. I couldn't make it all out, but some              2      Q. What do you know about Miss Thurman's
 3   of it I could. And about five minutes into it,                 3   complaint?
 4   Judge Jack exits the jury room and comes into my               4      A. Mac Young was our court administrator,
 5   office shaking his head in disbelief, and I said               5   and he sat in and witnessed this incident with
 6   what is going on. He says I don't know. It had                 6   Judge Johnson. Terri completely changed once that
 7   nothing to -- nothing to concern me, so I left.                7   happened to her.
 8   I said, well, that's just awful whatever's                     8      Q. Okay. I understand. But my question to
 9   happening, Judge, and that was it.                             9   you is what do you know about her complaint
10       Q. Did he say anything?                                   10   regarding this incident? To whom did she
11       A. No. He exited my office and went back to               11   complain, what form did she make the complaint?
12   his office.                                                   12   That's my question.
13       Q. Did he walk through your office to get to              13      A. She made a written complaint to Mac.
14   his office?                                                   14      Q. Okay.
15       A. He walked out my front door.                           15         MS. MOCK: Can you give me 12 -- no.
16       Q. So he came in and talked to you, walked                16   Hold that. Let's see here.
17   out your front door and went back to his office?              17      BY MS. MOCK:
18       A. Yes.                                                   18      Q. Okay. Do you know what, if anything,
19       Q. All right. Okay. What did you hear.                    19   became of Miss Thurman's complaint?
20   You said you heard a fist noise?                              20      A. Nothing became of it.
21       A. Well, I heard the tormenting and, you                  21      Q. You're unaware of anything that became of
22   know, noise like someone was doing this                       22   Miss Thurman's complaint. Is that correct?
23   (indicating).                                                 23      A. Yes.
24       Q. Okay. So you heard a noise that you                    24      Q. Okay. Could something have happened that
25   believed was his fist hitting the table. Is that              25   you're just not aware of?

                                                         Page 86                                                            Page 88
 1   correct?                                                       1       A. I guess I'm confused. Are you talking
 2      A. Yes.                                                     2   about when she made the complaint to Mac after it
 3      Q. His being Judge Johnson's?                               3   happened when he told her to write out a
 4      A. Yes.                                                     4   complaint?
 5      Q. But you couldn't see anything?                           5       Q. Okay. So Mac tells her to write out a
 6      A. No.                                                      6   complaint?
 7      Q. And then you heard you said screaming?                   7       A. Yes.
 8      A. Yes, him yelling.                                        8       Q. Okay. Which she does?
 9      Q. Yelling?                                                 9       A. Yes.
10      A. Yes.                                                    10       Q. And did she hear back from Mac?
11      Q. What was he yelling?                                    11       A. No.
12      A. I could make out you're lazy, you don't                 12       Q. Okay. And did anybody ever ask you any
13   belong here and that's all that sticks in my head             13   questions about that incident?
14   right now.                                                    14       A. No.
15      Q. Okay. Did you make a complaint to                       15       Q. Do you know whether or not Terri talked
16   anybody regarding this event?                                 16   to anybody with HR with OJA about that incident?
17      A. I did not.                                              17       A. She did not.
18      Q. Did Miss Thurman make a complaint                       18       Q. Did she ever complain to HR about the
19   regarding this event?                                         19   incident?
20      A. Yes, she did.                                           20       A. Terri had asked Mac about what had
21      Q. So this would have occurred sometime in                 21   happened with her complaint, and he kept telling
22   2019?                                                         22   her he was taking care of it. He was taking care
23      A. Yes, ma'am.                                             23   of it.
24      Q. Spring of 2019?                                         24       Q. Okay. And do you have any other
25      A. June or July, I believe. Yeah, possibly                 25   information about that?
              Case 5:21-cv-04093-JWB Document 38-11 Filed 12/16/22 Page 23 of 59
10/3/2022                                                                                                          23 (89 - 92)
                                           SABRINA S. OVERFIELD
                                                         Page 89                                                           Page 91
 1      A. No.                                                      1      Q. Did he say anything else that you
 2      Q. Okay. All right. So you testified                        2   consider to be verbal abuse?
 3   earlier that your hostile work complaint is based              3      A. Not that I can recall.
 4   upon two incidents, one occurring on January 10th              4      Q. Okay. You say he intimidated you. Is
 5   and one occurring on January 13th?                             5   that in his voice level, in fist?
 6      A. Yes.                                                     6      A. Yes.
 7      Q. Is that still correct?                                   7      Q. Okay. Did anything else he say or do
 8      A. Yes.                                                     8   intimidate you?
 9      Q. So you're not complaining that you were                  9      A. He was just so angry.
10   enduring a hostile work environment prior to                  10      Q. Okay.
11   January 10th?                                                 11      A. Like he could blow at any moment.
12      A. No.                                                     12      Q. Had you ever observed him lose physical
13      Q. Is that a correct statement -- that was a               13   control before?
14   bad question, and I'll try to rephrase that for               14      A. The incident with Terri Thurman.
15   you. Is it correct that you -- your complaint of              15      Q. But you didn't observe that, correct?
16   a hostile work environment is limited to January              16      A. Correct.
17   10th and January 13th?                                        17      Q. Had you ever observed him hit anyone?
18      A. Yes, ma'am.                                             18      A. No.
19      Q. Okay. All right. So you submit Exhibit                  19      Q. Had you ever observed him physically
20   4. Is that 4? Is that your complaint in front                 20   threaten anyone?
21   of you?                                                       21      A. No.
22      A. Yes.                                                    22      Q. And he didn't do that to you, here,
23      Q. And on the third page of Exhibit 4, it                  23   correct? I mean he remained behind his desk,
24   starts a new paragraph that's dated January 13th,             24   correct?
25   2020. Is that correct?                                        25      A. Well, until I was leaving and then he was

                                                         Page 90                                                           Page 92
 1      A. Correct.                                                 1   getting ready to get up and come follow me.
 2      Q. All right. So this first piece of this,                  2       Q. But he didn't follow you, correct?
 3   did you e-mail this first piece to Mac prior to                3       A. Well, I think that's because he knew the
 4   January 13th, 2020?                                            4   clerks were up there.
 5      A. No.                                                      5       Q. Okay. That may be true. But he didn't
 6      Q. All right. So before you could e-mail                    6   leave his office, correct?
 7   him your recollection of January 10th of 2020,                 7       A. Not then, no.
 8   January 13th of 2020 occurred?                                 8       Q. Well, did he ever?
 9      A. Yes.                                                     9       A. On the 13th he did.
10      Q. Okay. All right. Okay. And you've                       10       Q. Okay. And we'll get to that. We'll get
11   reviewed this statement before, correct?                      11   to that. So threatened. How did he threaten you?
12      A. Many times.                                             12       A. By telling me I told you to sit down in
13      Q. Many times. Is there anything in this                   13   that chair right now.
14   statement you would like to change or revise?                 14       Q. And he --
15      A. No.                                                     15       A. I was a pawn --
16      Q. It remains accurate today?                              16       Q. Okay.
17      A. Yes.                                                    17       A. -- to do what he said.
18      Q. Is this the most accurate version of                    18       Q. And from your description, he told you to
19   those events that occurred on January 10th?                   19   sit down I think four --
20      A. Yes.                                                    20       A. He demanded.
21      Q. All right. You indicated in here that he                21       Q. Four different times?
22   verbally abused you. How did he verbally abuse                22       A. Yes, he demanded I sit down.
23   you?                                                          23       Q. And you never did?
24      A. Telling me I'm lazy, I'm a terrible court               24       A. No, ma'am.
25   reporter and I don't know what I'm doing.                     25       Q. And did he do anything physically
               Case 5:21-cv-04093-JWB Document 38-11 Filed 12/16/22 Page 24 of 59
10/3/2022                                                                                                           24 (93 - 96)
                                              SABRINA S. OVERFIELD
                                                          Page 93                                                             Page 95
 1   threatening to you when you refused to sit down?                1   unquote, attacking Darci?
 2       A. Well, just the intimidation and the                      2       A. No.
 3   slamming of his fists and getting even madder and               3       Q. So you don't know what the conversation
 4   raising his voice even more was pretty threatening              4   was about?
 5   and intimidating enough for me not to want to sit               5       A. It was about -- there was a jury trial
 6   down.                                                           6   commencing, and I believe the witness or the
 7       Q. Okay. That's fair. But he never came                     7   victims and the alternate juror were in the same
 8   from behind his desk, correct?                                  8   location. And Judge Johnson was not happy with
 9       A. Correct.                                                 9   that.
10       Q. Okay. And you indicate browbeating. And                 10       Q. You understand why he wasn't happy with
11   I'm assuming this is the same behavior that you've             11   that?
12   previously described?                                          12       A. No.
13       A. Yes.                                                    13       Q. Were the witnesses sequestered?
14       Q. All right. And just so we're clear,                     14       A. They actually were separated. Our law
15   you've never seen him physically assault anyone?               15   library has a smaller room in it, and the
16       A. No.                                                     16   alternate juror was in the smaller room and the
17       Q. And the only other incident where he                    17   victims were in the larger room.
18   raised his voice and slammed his fist was nine to              18       Q. So it was the alternate juror and the
19   ten months prior to with Miss Thurman. Is that                 19   victim?
20   correct?                                                       20       A. I believe so.
21       A. That I witness, yes.                                    21       Q. So in order for the alternate juror to
22       Q. Did you hear something else?                            22   get out of the room they were in, would he or she
23       A. Yes.                                                    23   have to walk through where the victims were?
24       Q. Okay. What else are you aware of?                       24       A. No.
25       A. Well, in the county attorney's office,                  25       Q. Okay. Did Steve -- Stephen?

                                                          Page 94                                                             Page 96
 1   the office manager, he did the same thing to her                1      A. Stephen.
 2   in the law library during a jury trial.                         2      Q. Stephen describe the encounter to you in
 3       Q. Who was this?                                            3   any other detail that you haven't provided me here
 4       A. Darci Wiford.                                            4   today?
 5       Q. D?                                                       5      A. Not that I recall.
 6       A. D A R C I, W I F O R D.                                  6      Q. Did Terri -- Terri wasn't present, was
 7       Q. Okay. And she is the county attorney's                   7   she?
 8   office manager?                                                 8      A. No.
 9       A. Yes.                                                     9      Q. Okay. Did Terri get her information from
10       Q. County attorney was who?                                10   Stephen or from Darci?
11       A. Stephen Jones.                                          11      A. I'm not sure.
12       Q. And, excuse me, this interaction you                    12      Q. Have you ever spoken to Darci about this
13   heard about from whom?                                         13   incident?
14       A. Stephen, Terri. I think that's it.                      14      A. No.
15       Q. Did either one -- did Stephen or Terri                  15      Q. Are you aware if whether or not Darci
16   witness the incident?                                          16   made any complaint about the incident?
17       A. Stephen did.                                            17      A. No.
18       Q. Okay. So Stephen tells you that he was                  18      Q. When did this incident happen?
19   with Darci in the law library?                                 19      A. I don't know the time frame.
20       A. He walked in when Judge Johnson was                     20      Q. Prior to his incident with Terri?
21   attacking, was the word that he described it,                  21      A. I believe it was after.
22   Darci.                                                         22      Q. Before or after January 2020?
23       Q. Verbally I'm assuming?                                  23      A. I believe it was before.
24       A. Verbally.                                               24      Q. All right. Any other incidents that
25       Q. Did he tell you how he was, quote,                      25   you're aware of involving Judge Johnson?
               Case 5:21-cv-04093-JWB Document 38-11 Filed 12/16/22 Page 25 of 59
10/3/2022                                                                                                           25 (97 - 100)
                                               SABRINA S. OVERFIELD
                                                          Page 97                                                              Page 99
 1      A. Yes.                                                      1   was going.
 2      Q. Okay. What else?                                          2       Q. So you observed her crying?
 3      A. He had an AA between -- before Tammy                      3       A. I observed her crying. I observed her
 4   Thomas, his court reporter. Her name was Tasha,                 4   just a basket case.
 5   T A S H A, Thurman.                                             5       Q. And she would tell you things he said?
 6      Q. This is Terri's daughter, correct?                        6       A. Yes.
 7      A. Yes.                                                      7       Q. What did she tell you that he said
 8      Q. Okay. What happened with Tasha?                           8   specifically?
 9      A. Well, that was a daily occurrence.                        9       A. When I would try and teach her things, he
10      Q. What was?                                                10   would tell her the same thing. Don't listen to
11      A. His intimidation, his threatening                        11   her. She doesn't know what she's doing. She's a
12   behavior, his demeanor towards Tasha. I never                  12   terrible employee. She's a terrible court
13   witnessed them personally. I witnessed them --                 13   reporter, the same old gist.
14   the aftermath.                                                 14       Q. So he would tell Tasha not to listen to
15      Q. So you never heard or observed any of                    15   you, Sabrina?
16   these incidents?                                               16       A. Yes.
17      A. I heard, but I couldn't hear word for                    17       Q. Because you were bad at your job?
18   word what was being said.                                      18       A. Yes.
19      Q. What did you hear?                                       19       Q. What else did he tell her?
20      A. Him, Judge Johnson, telling her that she                 20       A. He told her how she should act, not to
21   needed to do a better job, threatening her. She                21   call people sweetie, not to be nice to them, to
22   was also hired as the AA but also to become a                  22   answer the phone in a certain way. Just -- he
23   court reporter, and he was giving a year -- giving             23   wanted her to have direction his way, not my way
24   her a year to finish that program. That's                      24   or the clerk's way, his way.
25   impossible unless you're a genius to finish in a               25       Q. And she was his AA?

                                                          Page 98                                                             Page 100
 1   year a court reporter program. And that put a lot               1      A. His AA.
 2   of stress on her. And he would belittle her in                  2      Q. So she's answering his phone, correct?
 3   the courtroom and torment her and ask her weekly                3      A. Yes.
 4   how are you coming, how are you doing. And it                   4      Q. And he wants her to answer his phone in a
 5   was just added stress because the court reporting               5   certain way?
 6   program is hard enough as it is.                                6      A. Yes.
 7      Q. So there was an agreement at the                          7      Q. And that's belittling?
 8   beginning of her hiring?                                        8      A. The way he told her.
 9      A. Yes.                                                      9      Q. Okay. But this is what is belittling in
10      Q. That she was hired with the understanding                10   your opinion. Is that correct?
11   that she would finish the program within a year?               11      A. Well, he'd write it out and then go in
12      A. Yes.                                                     12   and talk to her and then leave her the sheet of
13      Q. Okay. So she knew that going in,                         13   paper and it --
14   correct?                                                       14      Q. I'm assuming he was doing this because
15      A. I believe so.                                            15   she wasn't doing it his way?
16      Q. Okay. So you heard him tell her she                      16      A. Well, she was doing a good, professional
17   needed to do a better job and you heard him ask                17   job.
18   her where she was within the program?                          18      Q. That might be, but she wasn't doing it
19      A. Yes.                                                     19   the way he wanted her to do it. Is that correct?
20      Q. And you heard him belittle her in the                    20      A. No, it's not correct.
21   courtroom?                                                     21      Q. Okay. So she's doing it just how he
22      A. No, I did not.                                           22   wants her to do it and he's still writing her down
23      Q. You did not hear that?                                   23   and telling her how to do it?
24      A. I saw the aftermath when I'd go into her                 24      A. Yes.
25   office and she'd be crying and I'd ask her what                25      Q. And you observed this?
               Case 5:21-cv-04093-JWB Document 38-11 Filed 12/16/22 Page 26 of 59
10/3/2022                                                                                                        26 (101 - 104)
                                              SABRINA S. OVERFIELD
                                                          Page 101                                                            Page 103
 1       A. I observed the aftermath.                                 1       Q. Okay.
 2       Q. Okay. So this is what she's telling you?                  2          MS. MOCK: Can I have Exhibit 12?
 3       A. Yes.                                                      3          (THEREUPON, Overfield Deposition Exhibit
 4       Q. So she's telling you, no, I'm doing it                    4   No 6 was marked for identification by the
 5   just how he wants me to do it and he keeps                       5   reporter.)
 6   telling me how he wants me to do it?                             6       BY MS. MOCK:
 7       A. She's doing as she's directed.                            7       Q. Have you ever seen Exhibit 6 before?
 8       Q. By him?                                                   8          MR. JOHNSON: Object to form. You mean
 9       A. By him. And then he'd come in and tell                    9   Exhibit 12 -- no, 6.
10   her that's not what I told you to do.                           10          MS. MOCK: No. It's 12 in my notebook.
11       Q. Oh.                                                      11   I'm sorry for that confusion.
12       A. And change the tune on her.                              12       BY MS. MOCK:
13       Q. Okay. So he -- can you give me an                        13       Q. But it's marked Exhibit No. 6. Is that
14   example?                                                        14   correct?
15       A. It had to do with their forms. They                      15       A. Yes.
16   didn't use the same forms we used. He made up                   16       Q. Have you ever seen what's marked Exhibit
17   some of his own. And Tasha would do as directed,                17   6 before?
18   and he didn't like that.                                        18       A. Yes.
19       Q. Any other example?                                       19       Q. What is it?
20       A. I don't know. My memory doesn't serve me                 20       A. Tasha's complaint.
21   really well right now, but there was a time that                21       Q. Okay. So it indicates at the very -- the
22   she had called about a jury trial, an attorney on               22   first page that she was hired in December of '17.
23   her personal cell phone, because she had his                    23   Is that correct?
24   personal cell phone in her phone. And so she was                24       A. Yes.
25   calling about this jury trial, and he wasn't happy              25       Q. All right. And she says she's hired with

                                                          Page 102                                                            Page 104
 1   that she handled it that way.                                    1   zero experience in anything. That's what she says
 2       Q. He was unhappy that she reached out to                    2   in the first paragraph, correct. It says before I
 3   this attorney on her personal cell phone?                        3   begin, I would like to point out I had zero
 4       A. Yes.                                                      4   training in the court system, behavior patterns,
 5       Q. He would have preferred she use the                       5   expectations, et cetera?
 6   court's phone to call the attorney?                              6      A. Correct.
 7       A. I don't know that.                                        7      Q. So I guess would it be -- would it be an
 8       Q. Oh, okay.                                                 8   error for me to assume that there weren't
 9       A. I don't know that.                                        9   qualified applicants or do you have any knowledge
10       Q. You don't know why he was unhappy?                       10   about that?
11       A. Right, I don't, do not know.                             11      A. I don't have any knowledge about that.
12       Q. Okay. Anything else?                                     12      Q. Okay. And I think that -- let's see.
13       A. Not that I can think of at the moment.                   13   She was eventually terminated, correct?
14       Q. And when was Tasha Thurman employed with                 14      A. Correct.
15   the 11th Judicial District?                                     15      Q. And to your knowledge, was terminated in
16       A. It was before Tammy so 2018 or 2019, I                   16   the end of -- in December of 2018 or do you know?
17   believe.                                                        17      A. I can't remember the year or date.
18       Q. And did she ever report a complaint?                     18      Q. Did she work there for a whole year?
19       A. Not at the time she was working there,                   19      A. I believe she did.
20   no.                                                             20      Q. Okay. And during that year, she did not
21       Q. Do you recall when she complained?                       21   finish her court reporter program. Is that
22       A. I believe after I filed my complaint.                    22   correct?
23       Q. So she worked for him sometime in 2018,                  23      A. That's correct.
24   something like that?                                            24      Q. Do you understand that that's the reason
25       A. I'm not quite sure of the year.                          25   why she was terminated?
              Case 5:21-cv-04093-JWB Document 38-11 Filed 12/16/22 Page 27 of 59
10/3/2022                                                                                                        27 (105 - 108)
                                          SABRINA S. OVERFIELD
                                                         Page 105                                                             Page 107
 1      A. I didn't know honestly why she was                        1      A. Yes, I did.
 2   terminated.                                                     2      Q. Who did you talk to?
 3      Q. Okay. Nobody told you?                                    3      A. My husband, my parents, Terri Thurman,
 4      A. Nobody told me.                                           4   Sara Beezley and Sarah Mills.
 5      Q. All right. Okay. So but in any event,                     5      Q. And you talked to them on the phone?
 6   we know that she was employed during 2018 and did               6      A. Yes.
 7   not complain about her interactions with Judge                  7      Q. When did you talk to Sara Beezley?
 8   Johnson until you complained which would have been              8      A. Saturday -- or, excuse me, Friday of the
 9   in May of 2020. Is that when you filed your KHRC                9   incident, of the Friday incident, after that had
10   complaint?                                                     10   happened, Sarah Mills had called me to schedule a
11      A. I believe so.                                            11   case. I had to call her back. So when I
12      Q. And when you filed your KHRC EEOC                        12   finished my phone call up with Mac Young on Friday
13   complaint, did you ask Miss Thurman to write a                 13   the 10th, I called Sarah Mills. I was still
14   complaint?                                                     14   really shook up. Sarah Mills asked me what was
15      A. No, I did not.                                           15   wrong, what had happened. I told her. She told
16      Q. How did her complaint come to you?                       16   Sara Beezley. Sara Beezley called me at home to
17      A. I believe Terri showed me.                               17   check on my Friday evening.
18      Q. Do you know why she decided at that point                18      Q. And did you tell Sara Beezley what you
19   in time to file a complaint or to write out her                19   told me here today?
20   complaints?                                                    20      A. About the incident --
21      A. No, I did not.                                           21      Q. Yes.
22      Q. Do you know if Terri asked her to do so?                 22      A. -- that happened on Friday?
23      A. No, I do not.                                            23      Q. Yes.
24      Q. Any other instances with Judge Johnson                   24      A. I didn't go into detail, no.
25   other than you've explained to me what happened                25      Q. Okay. What did you tell her?

                                                         Page 106                                                             Page 108
 1   with Miss -- to your knowledge what happened to                 1      A. I just told her that Judge Johnson had
 2   Miss -- with Miss Thurman, Tasha, Terri and Darci               2   threatened and bullied me at work and I had left
 3   Wiford, any other instances?                                    3   early and I was very upset.
 4       A. Those are the only ones I'm aware of at                  4      Q. What did Sara Beezley say?
 5   the present time.                                               5      A. She was just concerned for me.
 6       Q. All right. So back to Exhibit 4. Am I                    6      Q. What did she say?
 7   correct that the part that's dated January 10th                 7      A. I do not recall.
 8   you wrote on either January 10th or January 11th.               8      Q. Did she tell you to do anything?
 9   Is that correct?                                                9      A. No.
10       A. That's correct.                                         10      Q. Did you talk to her again that weekend?
11       Q. Did you change or alter it at any time                  11      A. No.
12   after January 11th?                                            12      Q. Was there something else that she said
13       A. No.                                                     13   that you recalled?
14       Q. All right. So then let's go to January                  14      A. She was just concerned for me and making
15   13th. So January 13th, it says you arrived at                  15   sure that I was okay, but she did not tell me to
16   9:30 a.m.?                                                     16   do anything. But I did say I was ready to quit
17       A. Yes.                                                    17   because I didn't want to be treated like that. I
18       Q. Is it typical for you to arrive at 9:30                 18   didn't deserve to be treated like that, and she
19   a.m.?                                                          19   said, Sabrina, you do not want to do that. You
20       A. No.                                                     20   do not want to quit.
21       Q. Why did you arrive at 9:30 a.m.?                        21      Q. Did she say why?
22       A. I was still shook up from what had                      22      A. No.
23   happened the Friday before.                                    23      Q. She didn't explain that statement at all?
24       Q. Did you talk to anybody else over the                   24      A. Just that we all love you at the
25   weekend about what happened?                                   25   courthouse, you're a great court reporter, we
               Case 5:21-cv-04093-JWB Document 38-11 Filed 12/16/22 Page 28 of 59
10/3/2022                                                                                                        28 (109 - 112)
                                              SABRINA S. OVERFIELD
                                                          Page 109                                                             Page 111
 1   don't want you to quit.                                          1      A. No.
 2       Q. Okay. Anything else in that                               2      Q. Did you lock Judge Jack's door?
 3   conversation?                                                    3      A. No.
 4       A. Not that I recall.                                        4      Q. No?
 5       Q. All right. And you say you talked to                      5      A. Not at that time.
 6   your husband and your parents?                                   6      Q. Okay. Did there come a time on Friday
 7       A. Yes.                                                      7   that you locked Judge Jack's door?
 8       Q. Did you talk to anybody else?                             8      A. This was Monday.
 9       A. Terri Thurman.                                            9      Q. Excuse me, Monday?
10       Q. Okay. And when did you talk to Terri?                    10      A. Yes.
11       A. She called me each day to check on me.                   11      Q. When did you lock Judge Jack's door?
12   And I told them like I told Mac on Friday when I                12      A. When I came back from lunch.
13   talked to him, I'm not returning to work because,               13      Q. Okay. I'm going to circle Judge Jack's
14   now, it's a hostile working environment for me.                 14   door. Okay?
15   Something has to be done. I will not return to                  15      A. Okay.
16   work until something is. He told me I'd have to                 16      Q. Did I correctly circle Judge Jack's door?
17   take vacation time if I did that. And I said                    17      A. Yes.
18   this was not vacation. And so I had decided I                   18      Q. All right. So you locked Judge Jack's
19   would take vacation on Monday and just figure it                19   door after you came back from lunch?
20   out later. Because I didn't sleep all weekend.                  20      A. Yes.
21   It just kept going over in my head. And Terri                   21      Q. All right. And it would have been Judge
22   convinced me to come back to work because she                   22   Jack's door that Judge Johnson wanted to get into,
23   said, Sabrina, he's not done any incident like                  23   correct?
24   that with me again. He'll just ignore you. Come                 24      A. That's what he said.
25   back to work on Monday and I'll be there. So                    25      Q. Well, did he knock on your door?

                                                          Page 110                                                             Page 112
 1   that's why I decided to go back on Monday.                       1      A. Yes.
 2      Q. Okay. So you go back but you come in                       2      Q. Okay. What door did he knock on first?
 3   late?                                                            3      A. I believe Judge Jack's.
 4      A. Right.                                                     4      Q. Okay. All right. So you hear him knock
 5      Q. Correct?                                                   5   on -- did you hear him knock an Judge Jack's door?
 6      A. But there's many times I worked late,                      6      A. It was very faint.
 7   too.                                                             7      Q. Okay.
 8      Q. Sure. Sure. And so are you saying you                      8      A. At first I thought I was hearing things.
 9   came in late because of what happened on the 10th?               9      Q. Okay. What happens next?
10      A. Yes, ma'am.                                               10      A. I was on the phone with Sara Beezley.
11      Q. All right. Okay. So you go to your                        11   She had called to set a case.
12   office. And if we look at Exhibit 5, you lock                   12      Q. Okay.
13   doors. What doors did you lock?                                 13      A. And so I was giving her dates. And then
14      A. I locked my door and only my door.                        14   I hear another loud knock. And now I know I'm
15      Q. You locked this door?                                     15   hearing the knock, and it's him knocking on my
16      A. Yes.                                                      16   door, Judge Johnson.
17      Q. Okay. I'm going to circle it. Okay?                       17      Q. All right. So Judge Johnson knocked on
18      A. Okay.                                                     18   your door next?
19      Q. Okay. So I've circled on Exhibit 5 the                    19      A. Yes.
20   door that you locked.                                           20      Q. And then what happened?
21      A. Yes.                                                      21      A. He tells me to unlock this door. Why is
22      Q. Is that correct?                                          22   the door locked? And I said I'm working in here
23      A. Yes.                                                      23   and I'm on the phone. He said get this door
24      Q. Did you lock the door between your office                 24   unlocked right now. I need in Judge Jack's
25   and Judge Jack's office?                                        25   office.
              Case 5:21-cv-04093-JWB Document 38-11 Filed 12/16/22 Page 29 of 59
10/3/2022                                                                                                        29 (113 - 116)
                                            SABRINA S. OVERFIELD
                                                         Page 113                                                             Page 115
 1       Q. So when he's saying this door unlocked is                1   threatening you, I want you to get your stuff and
 2   it the door to your office he wants unlocked or                 2   leave. So Terri hears this from down the hallway
 3   the door to Judge Jack's office that he wants                   3   and she's watching from the clerk's office and she
 4   unlocked?                                                       4   knows -- I call her on our intercom system and
 5       A. I didn't know.                                           5   said he's wanting in here. There's nothing back
 6       Q. You didn't know. It could have been                      6   here. You know there's nothing back there. He
 7   Judge Jack's office?                                            7   just wants to finish what he started. I'm
 8       A. Could have.                                              8   leaving, and she told me you need to and I call
 9       Q. Okay. So have you heard that he wanted                   9   Mac. So I did.
10   in Judge Jack -- I mean at this point in time,                 10       Q. Okay. So you hang up the phone with Sara
11   Judge Jack's office is empty, correct?                         11   and then Terri calls?
12       A. Correct.                                                12       A. No. Terri, I call her on my intercom and
13       Q. And the senior judges that come in and do               13   tell her I'm leaving for I don't know how long.
14   his docket utilize that office. Is that correct?               14       Q. Okay. So you hung up with Sara?
15       A. Correct.                                                15       A. Yes.
16       Q. Okay. So I understand that Judge Jack                   16       Q. Okay. You hung up with Sara and you buzz
17   wanted in -- excuse me, Judge Johnson wanted in                17   Terri and tell Terri I'm leaving?
18   that back office so that he could leave something              18       A. Yes.
19   for a visiting judge. Does that make sense to                  19       Q. Okay. And I think in this statement it
20   you?                                                           20   says something that Judge Johnson says -- he says
21       A. No.                                                     21   unlock this door. I need in Judge Jack's office,
22       Q. Why not?                                                22   correct?
23       A. Because he never knew when a senior judge               23       A. Correct.
24   would be there and when they didn't. I was the                 24       Q. Okay. So by him saying that, does it
25   one who communicated with the senior judge.                    25   make sense to you that he wants in Judge Jack's

                                                         Page 114                                                             Page 116
 1       Q. Okay. But the Friday before, you all had                 1   office, not your office?
 2   had this interaction, correct?                                  2       A. No, it doesn't make sense.
 3       A. Correct.                                                 3       Q. I mean that's what he's telling you,
 4       Q. So it might make sense that he didn't                    4   correct?
 5   want to interact with you, correct?                             5       A. Yes.
 6       A. Correct.                                                 6       Q. He's wanting you to unlock Judge Jack's
 7       Q. Okay. So maybe he just is going to leave                 7   office. Is that correct?
 8   something for the visiting judge. Does that make                8       A. Yes.
 9   sense?                                                          9       Q. Okay. And the door between Judge Jack's
10       A. No.                                                     10   office and your office right here?
11       Q. Why not?                                                11       A. Yes.
12       A. Because he had no communication with any                12       Q. This have a lock?
13   of the visiting senior judges when they were                   13       A. No.
14   there. I communicated with them all, they did the              14       Q. No?
15   work with me, and he did not communicate with                  15       A. No.
16   them.                                                          16       Q. Are you certain?
17       Q. Okay. All right. So he wants you to                     17       A. It doesn't work.
18   unlock the door. You say no?                                   18       Q. Okay. So if I went there and looked and
19       A. Yes.                                                    19   tried it and locked it, you're saying it doesn't
20       Q. Right?                                                  20   work?
21       A. Yes.                                                    21       A. It didn't at the time.
22       Q. Okay. Then what happens?                                22       Q. Okay. All right. All right. So he says
23       A. Sara Beezley says, Sabrina, do not unlock               23   -- I guess, well, you don't unlock -- did you tell
24   that door. After what you've told me that                      24   him no or did you just not talk to him?
25   happened on Friday with him tormenting you and                 25       A. I don't think I told him no.
               Case 5:21-cv-04093-JWB Document 38-11 Filed 12/16/22 Page 30 of 59
10/3/2022                                                                                                           30 (117 - 120)
                                              SABRINA S. OVERFIELD
                                                          Page 117                                                             Page 119
 1       Q. So you just didn't respond?                               1      Q. Okay.
 2       A. Probably not.                                             2      A. So he knew it.
 3       Q. All right. So you didn't answer him and                   3      Q. And did he say anything?
 4   you didn't unlock the door, correct?                             4      A. No.
 5       A. Correct.                                                  5      Q. All right. And so then you come back
 6       Q. And he leaves and says I'll just call                     6   from lunch, the interaction with Judge Jack
 7   Mac?                                                             7   occurs. And to be clear, on Monday the 13th, did
 8       A. Yes.                                                      8   you ever see Judge Jack?
 9       Q. All right. Okay. So and then you leave,                   9      A. Judge Johnson?
10   correct?                                                        10      Q. Judge Johnson.
11       A. Yes.                                                     11      A. No, I stayed clear of the hallway. I
12       Q. And then you call -- and Mac called you.                 12   stayed in my office behind my closed, locked door.
13   Is that correct?                                                13      Q. All right. So you never saw him?
14       A. I called Mac.                                            14      A. No.
15       Q. You called Mac. And what did you say?                    15      Q. And the only interaction you had with him
16       A. I just told him it happened again. First                 16   was him knocking on the door asking to be let into
17   -- okay. I had called him during the noon hour                  17   Judge Jack's office, correct?
18   and told him I was going to file a complaint.                   18      A. Correct.
19   And I had a witness in the car with me as I was                 19      Q. Okay. And then you leave immediately
20   going back inside from lunch, but I called him                  20   after that?
21   outside. And so I'd just recently just talked to                21      A. Yes.
22   him within a 30-minute interval. So when I call                 22      Q. And you call Mac Young?
23   him right back, he goes what now? You know, that                23      A. Yes.
24   was his response to me. What now?                               24      Q. And he answers what now?
25       Q. All right. You said you talked to him at                 25      A. Yes.

                                                          Page 118                                                             Page 120
 1   your noon hour?                                                  1      Q. And what did you say?
 2      A. Yes.                                                       2      A. I told him it happened again with him.
 3      Q. And you had a witness in the car?                          3      Q. Did you have a witness this time?
 4      A. Yes.                                                       4      A. No.
 5      Q. Who was your witness?                                      5      Q. Okay. And I'm assuming you said
 6      A. Tasha Thurman.                                             6   something more than it happened again?
 7      Q. Tasha?                                                     7      A. I said I'm leaving and I'm going to work
 8      A. Yes.                                                       8   from home doing transcripts and I'll work in other
 9      Q. And you needed a witness to call him                       9   districts, but I can't come back here and work in
10   because why?                                                    10   this situation.
11      A. I just felt it necessary.                                 11      Q. And what did he say?
12      Q. And you called him on Monday on your                      12      A. He told me that I needed to unlock my
13   lunch hour to tell him what?                                    13   door. I told him I'm not going back in there. I
14      A. That I'd finished my complaint from                       14   said I told you I'm going home. And he says,
15   Friday. How did he want me to send it to him.                   15   well, you need to unlock your door. I said I'm
16      Q. Okay. And what did he say?                                16   not going back in there and we had that two or
17      A. He told me scan it or e-mail it -- no,                    17   three times. And he says, well, who has a key?
18   better yet, e-mail it. I said I was also filing                 18   And I said Terri might. She probably does, and
19   with OJA.                                                       19   that was that.
20      Q. Okay.                                                     20      Q. So when you left your office, what door
21      A. Silence. And then he's like. Okay, real                   21   did you exit out of?
22   abrupt. And then I said I did come to work                      22      A. My front door.
23   today, so I will not be taking vacation. And I                  23      Q. So and then you locked it behind you?
24   said but I am working behind a locked, closed door              24      A. No.
25   during this conversation.                                       25      Q. So it was unlocked?
               Case 5:21-cv-04093-JWB Document 38-11 Filed 12/16/22 Page 31 of 59
10/3/2022                                                                                                        31 (121 - 124)
                                              SABRINA S. OVERFIELD
                                                          Page 121                                                             Page 123
 1      A. Yes.                                                       1   from home.
 2      Q. Did you unlock Judge Jack's door?                          2      Q. And was that by agreement with Mac?
 3      A. No.                                                        3      A. Yes.
 4      Q. So it remained locked?                                     4      Q. Okay. So how do you transcribe a hearing
 5      A. Yes.                                                       5   from home. Everything is recorded and you just...
 6      Q. After you left the office?                                 6      A. A hearing from home?
 7      A. Yes.                                                       7      Q. Well, I mean so at the time, you're -- I
 8      Q. All right. Did he tell you that you                        8   guess you're without a judge. Is that correct?
 9   needed to go back to work?                                       9      A. Correct.
10      A. No.                                                       10      Q. So you are just doing purely
11      Q. Okay. All right.                                          11   transcription duties?
12         MS. MOCK: Okay. Can we go off the                         12      A. For the first couple of days, yes, and
13   record?                                                         13   then I started working in the district I'm now
14         (THEREUPON, a recess was taken.)                          14   permanently working in, the 14th, covering days
15      BY MS. MOCK:                                                 15   there.
16      Q. All right. So back on the record after                    16      Q. Okay. And when did you start doing that?
17   lunch. Okay. I think we made it through January                 17      A. Probably the following week. I did a
18   10th. And then January 13th you were just                       18   couple of days the following week in Montgomery
19   finishing up, I believe, with your phone call to                19   County, but then I had senior judges coming. I
20   Mac, the second phone call. You told him what                   20   met a senior judge in Oswego. I worked in Oswego
21   happened. You said you weren't coming in to which               21   with him, because at the time, they had not
22   he didn't respond I guess one way or the other,                 22   figured out a schedule, OJA, Allyson Christman and
23   correct?                                                        23   Chief Judge Lynch. This was before they
24      A. Correct.                                                  24   transferred Johnson to Oswego.
25      Q. Okay. So you then go back to Exhibit 4,                   25      Q. All right. So you submit your complaint

                                                          Page 122                                                             Page 124
 1   correct, and you finish and you type up the                      1   on the 14th and then do you -- when's the next
 2   incident that occurred on January 13th. Is that                  2   communication you received from OJA?
 3   correct?                                                         3       A. The 14th.
 4      A. Correct.                                                   4       Q. Okay. So they respond right away?
 5      Q. Did you do that on the eve of January                      5       A. Yes.
 6   13th -- or on the evening?                                       6       Q. And what do they say?
 7      A. Correct.                                                   7       A. Allyson Christman contacted me that day
 8      Q. Okay. And then did you e-mail this to                      8   to schedule a phone interview for the next
 9   Mac?                                                             9   following morning at 8 a.m.
10      A. Yes. And all the district judges as                       10       Q. Okay. And Allyson Christman is -- who do
11   well.                                                           11   you understand her to be?
12      Q. Okay. And when did you do that?                           12       A. The chief personnel of HR for OJA for the
13      A. The next day.                                             13   State of Kansas.
14      Q. On the 14th?                                              14       Q. Okay. So she reaches out to you the day
15      A. Yes.                                                      15   of your complaint to schedule an interview the
16      Q. All right. So and you did not go to work                  16   following morning?
17   on the 14th, correct?                                           17       A. Yes.
18      A. Correct.                                                  18       Q. Did that occur?
19      Q. Okay. When was the next time you went                     19       A. Yes.
20   into the office?                                                20       Q. Okay. Talk to me about that interview.
21      A. I believe I started working from home                     21       A. Well, it lasted for quite sometime. She
22   then. Can I check my notes real quick?                          22   wanted to know what had happened. I believe that
23      Q. Sure.                                                     23   was a -- you know, I gave her a little background
24      A. I have some notes. So on the 14th which                   24   of myself, and it was very emotional for me
25   was Tuesday January 14th of '20, I started working              25   because both incidents have just happened, so I
              Case 5:21-cv-04093-JWB Document 38-11 Filed 12/16/22 Page 32 of 59
10/3/2022                                                                                                       32 (125 - 128)
                                            SABRINA S. OVERFIELD
                                                          Page 125                                                             Page 127
 1   know I cried quite a bit during that conversation.               1       A. And it was worked out.
 2   And I hadn't had much -- not much sleep at all                   2       Q. So the judge, both attorneys and you all
 3   between -- this was Wednesday. From Friday when                  3   went to Oswego for the plea?
 4   the first incident happened to the Wednesday, I                  4       A. Yeah.
 5   hadn't been sleeping or eating. And I'm trying to                5       Q. Per your request so you didn't have to
 6   read my notes real quick and see if that was the                 6   interact with Judge Johnson?
 7   conversation she told me that -- oh, yes, it was,                7       A. Right.
 8   the first conversation when we talked, that the                  8       Q. Okay.
 9   complaint against Judge Johnson would go through                 9       A. Yeah. She had to run it by our
10   someone else. And it was just mainly talking                    10   administrative judge, Judge Lynch, yes. And they
11   about what Mac had or had not done.                             11   kept playing phone call -- phone tag on the phone.
12      Q. Okay. And did you -- did you come to                      12   So she phoned me after five and we talked a little
13   understand the complaint against Judge Johnson and              13   bit, and she said it would be fine we do that. I
14   the different procedure that it had to go through?              14   get it set up. And she asked me again if I still
15      A. Yes.                                                      15   would not come to work with Johnson there, and I
16      Q. What's your understanding?                                16   reiterated to her as long as there was no safety
17      A. That it had to go through a Judicial Qual                 17   plan in place and I was not assured and
18   committee.                                                      18   comfortable he would leave me alone, then, no, I
19      Q. Okay. And you understand Ally made that                   19   was not comfortable coming back to work there.
20   complaint on your behalf, correct?                              20       Q. And that was a communication that you had
21      A. No.                                                       21   on the 15th?
22      Q. Okay.                                                     22       A. 16th.
23      A. She could not clarify that she had sent                   23       Q. 16th. Are these notes that you took
24   that on to them.                                                24   contemporaneous?
25      Q. Oh, she couldn't?                                         25       A. Yes.

                                                          Page 126                                                             Page 128
 1       A. That's what she informed me.                              1          MS. MOCK: Okay. I want a copy of those.
 2       Q. Have you come to know that she did, in                    2          MR. JOHNSON: Sure.
 3   fact, do that?                                                   3          MS. MOCK: Can we do that right now?
 4       A. Not directly from her, no.                                4          MR. JOHNSON: Um-hum.
 5       Q. But you do know that she did it?                          5          THE WITNESS: It's here, here and here,
 6       A. I ended up filing myself --                               6   sir.
 7       Q. Okay.                                                     7          MR. JOHNSON: All right.
 8       A. -- with them as well.                                     8          MS. MOCK: Thank you. Might as well make
 9       Q. Okay. Okay. So Ally calls you on the                      9   three copies.
10   15th. You have a long interview conversation with               10          MR. JOHNSON: Yeah.
11   her, and then what happened next?                               11          THE WITNESS: And I hope you can read my
12       A. And then she said she'd be hearing from                  12   handwriting.
13   -- hearing from her later which the next day,                   13          (THEREUPON, a recess was taken.)
14   though, I called her back because I had had a jury              14      BY MS. MOCK:
15   trial coming up and I was having a senior judge,                15      Q. Okay. Let's keep going. So the
16   Judge Sanders from Wichita, come cover it with me.              16   conversation you had with her on the 16th was in
17   And they had worked out a plea. So I needed to                  17   regard to she asked you again if you would come
18   get that plea taken so we could get that off the                18   back to Parsons and you said no, correct?
19   jury trial calendar. And I called Allyson to see                19      A. Correct.
20   if she couldn't work out the situation for me to                20      Q. Okay. And then what happened after that?
21   where Judge Sanders and myself and the attorneys                21      A. That was the last phone call I ever had
22   and the defendant could go to Oswego rather than                22   from her.
23   Parsons. So I had a conversation with her the                   23      Q. Okay. So and you never spoke to her
24   next day about that.                                            24   again or did you reach out to her?
25       Q. Okay.                                                    25      A. No. Then I received my letter from her
               Case 5:21-cv-04093-JWB Document 38-11 Filed 12/16/22 Page 33 of 59
10/3/2022                                                                                                        33 (129 - 132)
                                              SABRINA S. OVERFIELD
                                                          Page 129                                                             Page 131
 1   about her findings.                                              1   this situation. If Mrs. Overfield believes my
 2          MS. MOCK: Okay. Let's see. Let's find                     2   decision is in error, she may submit additional
 3   that letter.                                                     3   information supporting her claims. The new
 4          (THEREUPON, a discussion was had off the                  4   information should be received by my office no
 5   record; WHEREUPON, Overfield Deposition Exhibit                  5   latter than 5 p.m. on Friday, February 7th, 2020
 6   No 7 was marked for identification by the                        6   and may be submitted via e-mail. Did you do that?
 7   reporter.)                                                       7      A. Did I submit her additional information?
 8       BY MS. MOCK:                                                 8      Q. Yes.
 9       Q. Okay. Exhibit No. 7, is this the letter                   9      A. No.
10   from Ally that you were talking about regarding                 10      Q. Did you disagree with her findings?
11   her findings?                                                   11      A. I did.
12       A. Yes.                                                     12      Q. Okay. But you didn't take any action to
13       Q. Okay. And this is dated February 3rd,                    13   appeal those findings?
14   2020?                                                           14      A. No.
15       A. Yes.                                                     15      Q. And you're not stating here today that
16       Q. And this addressed complaints that you                   16   Mr. Young discriminated against you because of
17   had about how Mr. Young handled the situation. Is               17   your gender or your age, are you?
18   that correct?                                                   18      A. Well, yes, I am.
19       A. Yes.                                                     19      Q. Okay. How did he do that?
20       Q. What were your complaints about how Mac                  20      A. Well, as I stated previously, things have
21   Young handled the situation?                                    21   been really different since he's became the court
22       A. Well, just lack of handling the                          22   administrator.
23   situation.                                                      23      Q. Okay.
24       Q. What did you expect him to do that he did                24      A. Court reporters are a -- in my
25   not do?                                                         25   impression, court reporters are a thorn in his

                                                          Page 130                                                             Page 132
 1       A. He is stationed in Pittsburg. He didn't                   1   side.
 2   come over to Parsons to speak with us. It was                    2      Q. Okay.
 3   all via phone.                                                   3      A. And I can name an example.
 4       Q. At what point in time would he have had                   4      Q. Okay.
 5   opportunity to come to Parsons?                                  5      A. When the reporter, Vickie Barrett, left,
 6       A. Well, that Monday morning --                              6   our county supplied our court reporting machines
 7       Q. Okay.                                                     7   for us and our equipment. Mine was now over ten
 8       A. -- after the Friday incident.                             8   years old. I needed a new machine, but I had --
 9       Q. Okay. So didn't come -- he wasn't in                      9   with Tasha Thurman coming on as a court reporting
10   Parsons on Monday morning?                                      10   student, I told Judge Jack and I believe he
11       A. Correct.                                                 11   relayed to Judge Johnson I would bypass my new
12       Q. Is there anything else that he did or                    12   machine for another year so they could get Tasha
13   didn't do that you found -- or that you had issue               13   on board to become a court reporting student. So
14   with?                                                           14   the next year I was supposed to be receiving a new
15       A. A couple of days later after the fact of                 15   machine and software. That time came around and
16   me leaving work that Monday morning, he had sent                16   Mac says, well, we're not going to do that for
17   me an e-mail that told me that it wasn't                        17   you. We don't do that for anybody. I said,
18   appropriate for me to have my doors locked, that a              18   well, that's not true. Judge Fleming and Judge
19   judge can go anywhere he wants.                                 19   Jack had purchased our equipment previously. And
20       Q. Okay. Okay.                                              20   then when they wouldn't get a new machine, I
21       A. And I didn't feel that was appropriate.                  21   needed my old machine serviced because it had been
22       Q. So in this Exhibit No. 7 on the                          22   awhile. And Vickie's machine was somehow down in
23   conclusion, it states taking all the information I              23   Oswego because Tammy had borrowed that machine
24   have in front of me, I find no failure to take                  24   while she was there for the short year she was
25   appropriate action on the part of Mr. Young in                  25   there. And I kept asking for that back. And Mac
               Case 5:21-cv-04093-JWB Document 38-11 Filed 12/16/22 Page 34 of 59
10/3/2022                                                                                                        34 (133 - 136)
                                              SABRINA S. OVERFIELD
                                                          Page 133                                                             Page 135
 1   said, yes, I need to get that back to you,                       1   money if I would like a new machine and I said,
 2   Sabrina. I need to get that. I just don't know                   2   yes, I would. She says, well, we've done that
 3   where it is. Well, come to find out, Judge                       3   with Shaun Higgins already, so you're entitled to
 4   Johnson's new AA, Myra Freeman, is now in court                  4   one, too. So I thought that had something to do
 5   reporting school, and he had full knowledge that                 5   with, oh, they've already purchased Shaun one but
 6   she was using that machine to go to school but                   6   not myself.
 7   would not tell me, divulge that information to me.               7      Q. And do you know like how long Shaun had
 8      Q. And what about that has to do with your                    8   had the new machine?
 9   gender?                                                          9      A. No, I do not.
10      A. Not necessarily my gender but my age as                   10      Q. Do you know anything about Shaun
11   well, because I feel like he and Judge Johnson                  11   requesting that machine or anything about how it
12   wanted me pushed out.                                           12   came to be that he got a new machine?
13      Q. Did he make any comments to you about                     13      A. No, I do not.
14   your age?                                                       14      Q. Okay. Any other males that you believe
15      A. No.                                                       15   are treated differently or more favorably than
16      Q. Did he make any comments to you about                     16   yourself by Mr. Young?
17   retirement?                                                     17      A. Shaun's our only other male court
18      A. We talked about retirement, yes.                          18   reporter, so, no.
19      Q. You and Mac did?                                          19      Q. Okay. Anybody younger than you that you
20      A. Yes.                                                      20   feel has been treated better, differently than you
21      Q. In what context?                                          21   by Mr. Young?
22      A. Asking me when I would retire or if I had                 22      A. No.
23   any inkling when I would.                                       23          MS. MOCK: All right. I'm going to
24      Q. Okay.                                                     24   double sticker it since I did it wrong.
25      A. And vice versa. I would ask him.                          25          (THEREUPON, Overfield Deposition Exhibit

                                                          Page 134                                                             Page 136
 1       Q. All right. Any other examples of how he                   1   No 8 was marked for identification by the
 2   discriminated against you based upon your age or                 2   reporter.)
 3   gender?                                                          3       BY MS. MOCK:
 4       A. I can't think of anything right now.                      4       Q. All right. I'm going to hand you what's
 5       Q. Did you allege to Ally that you thought                   5   been marked as Exhibit No. 8. Have you ever seen
 6   he had discriminated against you in his handling                 6   this document before?
 7   of this complaint against Judge Johnson based upon               7       A. Actually, I don't recall seeing it, no.
 8   your age or your gender?                                         8       Q. Do you recognize this document for what
 9       A. I did not.                                                9   it is? I mean can you describe it?
10       Q. Do you believe he mishandled this                        10       A. Yes.
11   complaint that you filed because of your age or                 11       Q. What is it?
12   your gender?                                                    12       A. It's a complaint to the Kansas Commission
13       A. I do.                                                    13   of Judicial Conduct.
14       Q. In what way?                                             14       Q. Okay. And the person making the
15       A. I feel like he didn't take it seriously                  15   complaint is?
16   enough.                                                         16       A. Allyson Christman.
17       Q. How do you get to your age or your                       17       Q. And the complaint is made against whom?
18   gender?                                                         18       A. Honorable Frank W. Johnson.
19       A. Well, I'm a woman, and I feel like any                   19       Q. Okay. In the statement of facts, it
20   time I approached him with anything to deal with                20   states on Tuesday January 14th, 2020, the Office
21   my profession, like I said, he bypassed it. Now,                21   of Judicial Administration was copied on a
22   let's go a little further about the machine. When               22   complaint e-mailed to the Honorable Oliver Kent
23   we get a new chief judge right before I resigned                23   Lynch from court reporter Sabrina Overfield,
24   and transferred, I called again to see about a --               24   attached to e-mail submission. The complaint is
25   excuse me, Judge Fleming asked with extra COVID                 25   being forwarded to pursuant to Kansas Court
              Case 5:21-cv-04093-JWB Document 38-11 Filed 12/16/22 Page 35 of 59
10/3/2022                                                                                                        35 (137 - 140)
                                            SABRINA S. OVERFIELD
                                                          Page 137                                                             Page 139
 1   Personnel Rules 9.3.c. the complainant has been                  1       Q. With the appropriate commission form.
 2   notified. The issue has been referred to the                     2   I've always attached documents compiled by the
 3   Commission on Judicial Conduct. Did I read that                  3   district court administrator prior to receiving
 4   correct?                                                         4   the written complaint. One is a statement from
 5       A. Yes.                                                      5   Judge Johnson. One is a statement from the Clerk
 6       Q. Did she notify you that the complaint                     6   of the Court Terri Thurman. Please advise if you
 7   would be referred to the Commission on Judicial                  7   need anything else from me. Okay. Do you see
 8   Conduct?                                                         8   that?
 9       A. No.                                                       9       A. Yes.
10       Q. Did Mac Young do that?                                   10       Q. Okay. So Miss Christman submitted a
11       A. No.                                                      11   complaint herself to the Commission on Judicial
12       Q. But you were aware of how the process was                12   Conduct the day after she received your complaint,
13   handled, correct? I believe in your prior                       13   correct?
14   testimony you said when Ally talked to you on the               14       A. Correct.
15   15th, she let you know that Judicial                            15          (THEREUPON, Overfield Deposition Exhibit
16   Qualifications is who would be investigating Judge              16   No 9 was marked for identification by the
17   -- any complaint against Judge Johnson. Is that                 17   reporter.)
18   correct?                                                        18       BY MS. MOCK:
19       A. Correct. But she said she could not                      19       Q. Okay. Exhibit 9, do you recognize this
20   verify that she forwarded it on.                                20   document?
21       Q. Okay. All right. If you -- if you go --                  21       A. Yes.
22   let's see. Next page it's dated January 15th,                   22       Q. What is this document?
23   2020. Do you see that?                                          23       A. It's an Administrative Order signed by
24       A. Yes.                                                     24   our Chief Judge Kent Lynch.
25       Q. And signed by Ally Christman?                            25       Q. And this orders that Judge Johnson will

                                                          Page 138                                                             Page 140
 1       A. Yes.                                                      1   be sitting in Oswego?
 2       Q. And then if you go to the last page, this                 2       A. Correct.
 3   is a copy of the e-mail submitting the complaint.                3       Q. Beginning January 27th, 2020?
 4   Do you see that?                                                 4       A. Correct.
 5       A. Yes.                                                      5       Q. So within 12 days, 13 days of submitting
 6       Q. Okay. On January 15th, 2020?                              6   your complaint, Judge Johnson's transferred out of
 7       A. Yes.                                                      7   the courthouse in which you worked. Is that
 8       Q. Do you have any reason to believe this                    8   correct?
 9   complaint wasn't submitted as evidenced by Exhibit               9       A. Correct.
10   8?                                                              10       Q. Okay. Do you take issue with this
11       A. Can you say that again?                                  11   action?
12       Q. Yeah. Do you have any reason to believe                  12       A. No.
13   the complaint wasn't admitted as evidenced by                   13       Q. Okay. And so your -- you weren't in the
14   Exhibit No. 8?                                                  14   same building with him?
15       A. No.                                                      15       A. No.
16       Q. Okay. And I think in the e-mail, we                      16       Q. Okay. Did he come to Parsons from time
17   don't have -- I didn't print out all the                        17   to time?
18   attachments, but it does show that there are four               18       A. Yes.
19   different attachments, correct?                                 19       Q. Okay. Were you notified when he would be
20       A. Yes.                                                     20   coming to Parsons?
21       Q. Okay. And I think in the body of the                     21       A. No.
22   e-mail, it says I'm forwarding the complaint,                   22       Q. Not always?
23   which would be Exhibit No. 4 that we've talked                  23       A. Not always.
24   about here today, correct?                                      24       Q. Were you sometimes?
25       A. Correct.                                                 25       A. No.
              Case 5:21-cv-04093-JWB Document 38-11 Filed 12/16/22 Page 36 of 59
10/3/2022                                                                                                        36 (141 - 144)
                                           SABRINA S. OVERFIELD
                                                          Page 141                                                            Page 143
 1      Q. You were never notified?                                   1   from home or go to Oswego, but there was no place
 2      A. No.                                                        2   for us to work in Oswego. We had no office
 3      Q. Okay. How often did he come to Parsons?                    3   there.
 4      A. Seldom.                                                    4      Q. Did you talk about anything else during
 5      Q. Okay. What would happen when he came to                    5   that meeting?
 6   Parsons?                                                         6      A. Not that I can recall.
 7      A. We would find out about it beforehand.                     7      Q. It was a pretty short meeting then?
 8   Somehow we would get word.                                       8      A. It was pretty short.
 9      Q. Oh, so you did know?                                       9      Q. Okay. Do you remember -- did you take
10      A. By a calendar.                                            10   any notes after that meeting?
11      Q. Okay.                                                     11      A. No, I did not.
12      A. Or wind from the jail. Somehow we would                   12      Q. Okay. So when was the first time he came
13   get wind that he would be there, but it wasn't                  13   to Parsons after he was ordered to Oswego?
14   notified by him personally or his AA.                           14      A. I don't recall the exact date.
15      Q. Okay. And his AA is who?                                  15      Q. Months?
16      A. Myra Freeman.                                             16      A. No, it wasn't months. Maybe a week.
17      Q. Who used to be a court clerk then. Is                     17      Q. Okay. And you caught wind of it?
18   that correct?                                                   18      A. Yes.
19      A. Correct.                                                  19      Q. I guess.
20      Q. Okay. All right. And so what would                        20      A. Yes.
21   happen when he came to Parsons?                                 21      Q. And went home?
22      A. Terri and I were instructed to leave the                  22      A. Yes.
23   building and work from home.                                    23      Q. Was there ever a time when you didn't
24      Q. And who instructed you of that?                           24   catch wind of it and were confronted with Judge
25      A. Our chief judge.                                          25   Johnson?

                                                          Page 142                                                            Page 144
 1      Q. Okay. So Judge Lynch talked to you                         1       A. No.
 2   personally?                                                      2       Q. Did you call Judge Lynch and say, listen,
 3      A. Yes.                                                       3   he showed up and nobody told us?
 4      Q. When did this conversation occur?                          4       A. I believe we, Terri and I as in we, sent
 5      A. I don't remember the date.                                 5   an e-mail to Mac and cc'd Judge Lynch on it to
 6      Q. Like before this order took place, after                   6   let him know that that was occurring.
 7   this order took place?                                           7       Q. Okay. Was there a response to that?
 8      A. I believe it was after, but I can't                        8       A. Yes.
 9   remember for sure.                                               9       Q. What was the response?
10      Q. Right around the same time?                               10       A. Mac said he would take care of it and
11      A. Probably.                                                 11   make Judge Johnson aware that he needs to let us
12      Q. Okay. And did he call you?                                12   know either through himself via e-mail or his AA
13      A. I met him in his office.                                  13   contacting us.
14      Q. Okay.                                                     14       Q. Did that happen?
15      A. In Columbus.                                              15       A. Never.
16      Q. Okay. Did he ask you to come and speak                    16       Q. Okay. All right. But in any event, you
17   with him?                                                       17   were able to avoid him?
18      A. Yes, he did.                                              18       A. Yes.
19      Q. Okay. And so you drove over to Columbus?                  19       Q. Correct?
20      A. Yes.                                                      20       A. Correct.
21      Q. And what was discussed at the meeting?                    21       Q. Okay.
22      A. That -- just what we just reiterated,                     22          (THEREUPON, Overfield Deposition Exhibit
23   that he would be sitting in Oswego most of the                  23   No 10 was marked for identification by the
24   time, and Terri and I would be given a heads-up if              24   reporter.)
25   he was to be back in Parsons. And we would work                 25       BY MS. MOCK:
              Case 5:21-cv-04093-JWB Document 38-11 Filed 12/16/22 Page 37 of 59
10/3/2022                                                                                                       37 (145 - 148)
                                            SABRINA S. OVERFIELD
                                                          Page 145                                                             Page 147
 1       Q. Okay. I have handed you what has been                     1      Q. Did anybody that you work with tell you,
 2   marked Exhibit 10. Have you ever seen this                       2   hey, I got a call from Todd Thompson?
 3   document or one like this before?                                3      A. No.
 4       A. Yes.                                                      4      Q. Okay. Did he call you more than one
 5       Q. Was a letter like this sent to you                        5   time?
 6   directly as well?                                                6      A. No.
 7       A. E-mailed.                                                 7      Q. How long did the conversation last?
 8       Q. E-mailed to you?                                          8      A. 30 minutes.
 9       A. Yes.                                                      9      Q. Did you keep any notes of that
10       Q. Okay. I was thinking I saw something in                  10   conversation?
11   your production that indicated you received copies              11      A. No.
12   of these same letters?                                          12      Q. Do you know when that conversation
13       A. Yes.                                                     13   occurred?
14       Q. Did somebody from the Commission on                      14      A. No.
15   Judicial Conduct contact you regarding the                      15      Q. Okay. During that conversation, did he
16   investigation?                                                  16   explain to you the process or anything of that
17       A. Elaborate a little more, please.                         17   nature?
18       Q. Sure. So this -- we can agree there was                  18      A. I don't recall that.
19   a complaint that was submitted to the Commission                19      Q. Okay. In any event, Exhibit 10 tells us
20   on Judicial Conduct, correct?                                   20   that the commission met on April 3rd, 2020 and
21       A. Correct.                                                 21   considered your complaint and concluded that your
22       Q. And according to this e-mail -- or this                  22   complaint contained issues that are personnel
23   letter at least, that complaint was reviewed                    23   matters which should be handled administratively
24   extensively. And I'm wondering if there was an                  24   and did not contains facts establishing reasonable
25   investigator or somebody that reached out to you                25   cause to support a finding that his actions

                                                          Page 146                                                             Page 148
 1   regarding this complaint?                                        1   violated the judicial code. Did I read that
 2       A. Yes.                                                      2   correctly?
 3       Q. Okay. Who reached out to you?                             3      A. You did.
 4       A. A gentleman named Todd Thompson via                       4      Q. Okay. Now, are you aware that Miss
 5   telephone.                                                       5   Christman sought reconsideration of that order?
 6       Q. Okay. So Todd Thompson is an attorney in                  6      A. Not at all.
 7   Lawrence, correct?                                               7      Q. Okay. Did anybody from Judicial
 8       A. Correct.                                                  8   Qualifications ever call you again?
 9       Q. Okay. So he was hired by the Commission                   9      A. No.
10   on Judicial Conduct to conduct an investigation                 10      Q. Okay. All right. So let's see. Let's
11   into the complaint that was filed on your behalf                11   look at 4.
12   by Miss Christman, correct?                                     12         (THEREUPON, Overfield Deposition Exhibit
13       A. Correct.                                                 13   No 11 was marked for identification by the
14       Q. Okay. And he called you via phone?                       14   reporter.)
15       A. Correct.                                                 15      BY MS. MOCK:
16       Q. And did he ask you questions?                            16      Q. All right. I'm going to hand you what's
17       A. Correct.                                                 17   been marked Exhibit No. 11. Have you ever seen
18       Q. Did you tell him your story?                             18   this document before?
19       A. Yes.                                                     19      A. No.
20       Q. Did he -- was he thorough in your                        20      Q. This is a report drafted by Mac Young
21   opinion?                                                        21   regarding a complaint he received by Terri Thurman
22       A. Yes.                                                     22   after your -- after your complaint. Take your
23       Q. Okay. Do you know whether or not he                      23   time to familiarize yourself with this document.
24   talked to other people?                                         24   Did you have a chance to look at this document?
25       A. I don't know.                                            25      A. I did.
               Case 5:21-cv-04093-JWB Document 38-11 Filed 12/16/22 Page 38 of 59
10/3/2022                                                                                                        38 (149 - 152)
                                              SABRINA S. OVERFIELD
                                                          Page 149                                                             Page 151
 1      Q. So this document summarizes interviews                     1   It was just in my mind the days of this occurring,
 2   Mac had with other people in your office. Is that                2   and I'd written like summer of 2020.
 3   correct?                                                         3       Q. They were sent with Todd Thompson?
 4      A. It is.                                                     4       A. The little sheet of paper. I sent the
 5      Q. Okay. This document surprise you?                          5   little sheet of paper that I documented. She took
 6      A. Very much so.                                              6   a two week vacation here and she asked me how to
 7      Q. In this document, Myra Freeman indicates                   7   do the time on her timesheet. And I was thinking
 8   that you would make fun of Tammy and keep notes                  8   how could that be possible because she's taken
 9   about her time and attendance. Is that true?                     9   time before. She should have already knew how to
10      A. No.                                                       10   record it and how she has all this time built up
11      Q. Did you ever keep notes about her time                    11   when she hasn't even been here a year.
12   and attendance?                                                 12       Q. What other information did you send to
13      A. I did keep notes, yes.                                    13   Todd Thompson?
14      Q. Did you keep notes about other people's                   14       A. Not anything really. I didn't document
15   time and attendance?                                            15   anything.
16      A. No.                                                       16       Q. So Todd Thompson is the interviewer from
17      Q. Why did you keep notes about Tammy's time                 17   Judicial Qualifications, right?
18   and attendance?                                                 18       A. Right.
19      A. It wasn't necessarily time and attendance                 19       Q. And you sent him the notes that you took
20   but, yet, she worked for the State of Kansas.                   20   about Terri. Is that what you said?
21   Judge Johnson was letting her go to Oklahoma to                 21       A. Tammy.
22   deliver transcripts on Kansas time. This I know                 22       Q. Tammy?
23   for a fact. She'd only worked there three months                23       A. Tammy. The note you just asked me about
24   and she took a two week vacation, and she wanted                24   here --
25   to know how to document her vacation on her                     25       Q. Yeah.

                                                          Page 150                                                             Page 152
 1   timesheet because she asked me how to do that.                   1      A. -- it was just like on one sheet of
 2   And she didn't have vacation time saved up that                  2   paper.
 3   much for two weeks, so I didn't know why she was                 3      Q. Uh-huh. And you gave that Todd Thompson?
 4   asking me that. And then her station was to be                   4      A. Because he asked for it. He said I heard
 5   in Parsons. One Friday, the phone was ringing off                5   you had a notebook. No, I have no notebook.
 6   the wall and I'm going to get that because someone               6      Q. Okay. Did you keep notes on Judge
 7   needs to answer their phone. And I went up front                 7   Johnson's whereabouts?
 8   and asked the girls where Tammy was, and they                    8      A. No.
 9   said, oh, Judge Johnson let her work in Oswego                   9      Q. Okay. This goes on to state that Myra
10   where it was quiet so she could get transcripts                 10   believes Sabrina can't be trusted. Said that
11   done. My comment was, well, I'd love to have                    11   Sabrina has stated she purposely leaves her
12   quiet time, too, to do my transcripts done but our              12   telephone mailbox full so others can't leave a
13   station's here. So those were the kind of notes                 13   message regarding court business. Is that true?
14   that I would took and when she would leave early                14      A. No, that's not true.
15   and I would still be there working.                             15      Q. Myra believes Terri Thurman has treated
16       Q. You'd note that?                                         16   her harshly at times. She cites finger pointing
17       A. Yes.                                                     17   and describes it as menacing. Have you ever
18       Q. Do you still have those?                                 18   observed Terri finger point at her subordinates?
19       A. No.                                                      19      A. Never.
20       Q. Did you destroy them?                                    20      Q. Have you ever observed her raise her
21       A. They weren't really notes. They were on                  21   voice to her subordinates?
22   one sheet of paper of days that I documented.                   22      A. No.
23       Q. So what happened to them?                                23      Q. Myra feels that she is mistreat at times
24       A. I believe in my move -- they were sent                   24   and that Terri can be intimidating with finger
25   with Todd Thompson because it wasn't a notebook.                25   pointing and banging finger on hand or desk. Have
               Case 5:21-cv-04093-JWB Document 38-11 Filed 12/16/22 Page 39 of 59
10/3/2022                                                                                                        39 (153 - 156)
                                             SABRINA S. OVERFIELD
                                                          Page 153                                                             Page 155
 1   you ever observed that conduct from Terri?                       1   before?
 2       A. No.                                                       2      A. Never.
 3       Q. Myra also said that the incident                          3      Q. I'll give you a chance to look at it.
 4   involving Sabrina was exaggerated and that what                  4   Have you had a chance to review Exhibit No. 12?
 5   she heard and/or witnessed did not involve                       5      A. I did.
 6   pounding on tables or doors. Did you ever talk to                6      Q. Okay. And this is the first time you've
 7   Myra about what happened?                                        7   seen this document. Is that correct?
 8       A. Never.                                                    8      A. It is.
 9       Q. On the second page here, a little over                    9      Q. And what is this document?
10   halfway down, it says my last contact was with                  10      A. Judge Jack -- or, excuse me, Judge
11   Teri Meador. She describes the incidents as                     11   Johnson's, I guess, description of incidents that
12   upsetting, not knowing what's going on when the                 12   happened on January 10th.
13   judicial center was shuttered. Her personal                     13      Q. Okay. All right. And he goes through
14   opinion is that Sabrina didn't get what she wanted              14   and talks about some of the conversations that you
15   when Judge Stockard was selected. She states that               15   guys had I guess that you disagreed about during
16   she remembers hearing Sabrina, quote, screaming,                16   this conversation. Is that correct? And I'm not
17   end quote, and that she could not really hear                   17   asking you if his description of these
18   Judge Johnson's voice when that incident occurred.              18   conversations is correct or not, but I'm wondering
19   And you earlier stated you didn't raise your voice              19   are these the topics that you recall having
20   at all. Is that right?                                          20   discussion about?
21       A. No. I was standing at the doorway which                  21      A. Some of them.
22   goes into the clerk's office, so they can hear me               22      Q. Okay. Is there anything in here that you
23   talking. That wasn't screaming.                                 23   think is just out of left field that wasn't even
24       Q. Okay. But you didn't ever raise your                     24   talked about that day?
25   voice above what we're talking here today?                      25      A. Yes.

                                                          Page 154                                                             Page 156
 1      A. No.                                                        1       Q. Okay. Point me to that.
 2      Q. Teri Meador, which I think we talked                       2       A. I did not tell him to change his docket.
 3   about earlier, is Jinx, right?                                   3   I was making just a statement like trying to
 4      A. Yes.                                                       4   communicate with him about how dockets used to be
 5      Q. Says that when Sabrina is at work she                      5   and how they ran and how easier it was. I did
 6   does very little. She's always in the county                     6   not tell him. I was saying -- I was suggesting
 7   attorney's office socializing, shopping online and               7   to him. Because I'd seen how things ran in the
 8   that she's gone a lot, not a very good work ethic.               8   past and I experienced it. Let's go back to a
 9   Did I read that correctly?                                       9   more controlled setting. I didn't tell him. The
10      A. You did.                                                  10   whole conversation about how Judge Jack had gone
11      Q. Did she ever express that opinion?                        11   down to his office and said I was his court
12      A. I'm sorry?                                                12   reporter and I wasn't going to help with any cases
13      Q. Has she ever expressed that opinion to                    13   never happened.
14   you?                                                            14       Q. Okay.
15      A. No.                                                       15       A. And the part about working in the
16      Q. Teri stated that Sabrina has a nickname                   16   courtroom for two and a half years and I never
17   for most people and referred to Judge Jack as                   17   helped him, that never happened because Tammy was
18   Judge Jackass. Is that correct?                                 18   not there two and a half years. She was there
19      A. I did say that, yes.                                      19   maybe a year. And I never told him -- I never
20         (THEREUPON, Overfield Deposition Exhibit                  20   even talked to him that I had a vested interest in
21   No 12 was marked for identification by the                      21   this. I never said anything to him about it. He
22   reporter.)                                                      22   sat clear on the other side of the room. I was
23      BY MS. MOCK:                                                 23   on the other side of the courtroom. I never
24      Q. I'm handing you what's been marked as                     24   talked to him.
25   Exhibit No. 12. Have you seen this document                     25       Q. You mean his comment about you having a
              Case 5:21-cv-04093-JWB Document 38-11 Filed 12/16/22 Page 40 of 59
10/3/2022                                                                                                        40 (157 - 160)
                                            SABRINA S. OVERFIELD
                                                          Page 157                                                             Page 159
 1   vested interest in who gets the job as judge. Is                 1      Q. Is this something that you did or that
 2   that what you're referencing at the bottom of the                2   your attorney did?
 3   first page?                                                      3      A. I did.
 4       A. Right. I never said that. And how he                      4      Q. So you submitted the complaint with the
 5   could tell me that I couldn't be in there, I never               5   Kansas Human Rights Commission?
 6   had any conversation whatsoever with him about the               6      A. Yes.
 7   whole nominating process. The first conversation                 7      Q. And you responded to their investigative
 8   I had with him about any of that day was when I                  8   questionnaire?
 9   stopped at his door. And this January 8th or 9th,                9      A. Yes.
10   Tammy showing him several messages of phone calls               10      Q. Was Mr. Johnson your attorney at that
11   that I'd taken for her, I did that all the time.                11   time?
12   I don't know what that had to do with any of this               12      A. I can't recall. I believe so, yes. Yes.
13   from January 10th. I did it all the time. And I                 13      Q. And did you file a complaint with the
14   never had a notebook, I mean, of either one of                  14   Commission on Judicial Conduct?
15   them.                                                           15      A. Repeat that, please.
16       Q. Okay. So he says here that he heard from                 16      Q. Did you file a complaint with the
17   several sources who either have heard or observed               17   Commission on Judicial Conduct?
18   Sabrina calling around to the courts to see where               18      A. Did I also file the complaint with
19   Tammy and I are?                                                19   Judicial Conduct?
20       A. I never did that.                                        20      Q. Yes.
21       Q. You never did that?                                      21      A. Yes.
22       A. If I would call down to Oswego, that's                   22      Q. Do we have a copy of that?
23   the only courthouse I would call to see if Tammy                23         MS. MOE: Huh-uh.
24   and Judge Johnson were there because we had no                  24         MS. MOCK: I've never seen it.
25   communications with them. If someone was needing                25         MR. JOHNSON: It should have been in our

                                                          Page 158                                                             Page 160
 1   them to first appear somebody or my judge, Judge                 1   initial disclosures.
 2   Stockard, was needing to talk to him about                       2           MS. MOCK: Well, I'm not saying it
 3   something -- well, this was beforehand he's                      3   wasn't. Let me go off for a second.
 4   assuming. So I would never call down there and                   4           (THEREUPON, a discussion was had off the
 5   ask for them or any other courthouse. I never did                5   record; WHEREUPON, Overfield Deposition Exhibit
 6   that.                                                            6   No 14 was marked for identification by the
 7      Q. After Ally's investigation and after                       7   reporter.)
 8   talking to Todd Thompson -- well, let me just ask                8       BY MS. MOCK:
 9   you this. When was the first time you sought out                 9       Q. Okay. 14. 14 is your complaint to
10   counsel in relation to your employment with                     10   Judicial Qualifications. Is that correct?
11   District 11?                                                    11       A. Correct.
12      A. When I started thinking about it really                   12       Q. And the last page is your signature. Is
13   was when we received the notice on May 4th, 2020                13   that correct?
14   that they were dismissing the complaint.                        14       A. Correct.
15      Q. Okay. It was after that that you first                    15       Q. And the date which was?
16   sought out representation?                                      16       A. 2/3 of '20.
17      A. Seriously thought out.                                    17           MS. MOCK: Okay. And then I'm going to
18      Q. Okay.                                                     18   do two more here.
19          (THEREUPON, Overfield Deposition Exhibit                 19           (THEREUPON, Overfield Deposition Exhibit
20   No 13 was marked for identification by the                      20   No 15 and No 16 were marked for identification by
21   reporter.)                                                      21   the reporter.)
22      BY MS. MOCK:                                                 22       BY MS. MOCK:
23      Q. All right. Exhibit No. 13, do you                         23       Q. Okay. Exhibit 15, now, this is a letter
24   recognize this exhibit?                                         24   from Doug Shima to Ally, right, certifying receipt
25      A. Yes.                                                      25   of her complaint that she filed on your behalf,
              Case 5:21-cv-04093-JWB Document 38-11 Filed 12/16/22 Page 41 of 59
10/3/2022                                                                                                       41 (161 - 164)
                                           SABRINA S. OVERFIELD
                                                         Page 161                                                            Page 163
 1   correct?                                                        1   Do you see that?
 2      A. Correct.                                                  2       A. Yes.
 3      Q. And on -- I think attached to that he has                 3       Q. An it says the Commission met June 5th
 4   kind of a chart of how these investigations and                 4   and considered your reconsideration request. Is
 5   things work. Did you receive a similar letter and               5   that right?
 6   chart from Mr. Shima in response to your                        6       A. Yes.
 7   complaint?                                                      7       Q. And basically decided to reaffirm their
 8      A. I received the letter, but I did not                      8   earlier decision finding no violation of judicial
 9   receive this.                                                   9   conduct. Is that correct?
10      Q. And, you know, I could be wrong and maybe                10       A. Correct.
11   that wasn't part of it. It was just the next                   11          (THEREUPON, Overfield Deposition Exhibit
12   page in that. So I can't verify for certain that               12   No 18 was marked for identification by the
13   that -- but you did receive a letter from Mr.                  13   reporter.)
14   Shima?                                                         14       BY MS. MOCK:
15      A. Yes.                                                     15       Q. All right. Exhibit 18, so this has
16      Q. All right. And then Exhibit -- let's                     16   complaints -- four different complaints against
17   see. What's this one right here. Exhibit 10,                   17   Judge Johnson?
18   now, that is a letter dated -- what's the date on              18       A. Correct.
19   that one?                                                      19       Q. 2205, 2206, 2207 and 2225. And again,
20      A. May 4th.                                                 20   all of these were reviewed, and no finding of
21      Q. Okay. And this is to Ally indicating                     21   violation of the code of judicial conduct,
22   that they basically didn't find a violation of                 22   correct?
23   judicial code in response to your complaint. Is                23       A. Correct.
24   that correct?                                                  24       Q. All right. I want to go back to Exhibit
25      A. Correct.                                                 25   No. 13. On page 5, you state I do know of one

                                                         Page 162                                                            Page 164
 1          (THEREUPON, Overfield Deposition Exhibit                 1   other woman who has been a victim of Judge Fred
 2   No 17 was marked for identification by the                      2   Johnson's violent abusive behavior, but she will
 3   reporter.)                                                      3   not come forward due to retaliation with the
 4       BY MS. MOCK:                                                4   position she holds in the court system. Who are
 5       Q. Okay. And then I'm going to hand you                     5   you referencing there?
 6   Exhibit 17, and that's a letter to you. Is that                 6      A. That's Darci Wiford.
 7   correct?                                                        7      Q. Okay. Who you've already told me about,
 8       A. Correct.                                                 8   correct?
 9       Q. And also dated May 4th?                                  9      A. Correct.
10       A. Correct.                                                10      Q. All right.
11       Q. I'm wondering if these complaint numbers                11         (THEREUPON, Overfield Deposition Exhibit
12   -- are these complaint numbers the same? Let me                12   No 19 was marked for identification by the
13   see here. These two.                                           13   reporter.)
14       A. No.                                                     14      BY MS. MOCK:
15       Q. 22. Okay. All right. Okay. I just                       15      Q. All right. I'm handing you what's been
16   wanted to verify that. So they did treat them as               16   marked Exhibit No. 19. Have you seen this
17   separate complaints, because the letter to you is              17   document before?
18   complaint No. 2225, correct?                                   18      A. Yes.
19       A. Correct.                                                19      Q. And what is this document?
20       Q. And the letter to Ally is complaint 2205?               20      A. It's an administrative order signed by
21       A. Correct.                                                21   Chief Judge Lynch.
22       Q. Okay. All right. And then Exhibit No.                   22      Q. Doing what?
23   16, I don't believe you've seen this letter                    23      A. Rescinding the administrative order of
24   before, but this is a July 2nd letter from the                 24   having Fred Johnson work in Oswego.
25   Commission to Ally regarding complaint No. 2205.               25         MS. MOCK: Here, Alan. I have an extra
              Case 5:21-cv-04093-JWB Document 38-11 Filed 12/16/22 Page 42 of 59
10/3/2022                                                                                                        42 (165 - 168)
                                          SABRINA S. OVERFIELD
                                                        Page 165                                                             Page 167
 1   copy of that one?                                              1       Q. Okay. We all got really good at that,
 2          MR. JOHNSON: 19. Thank you.                             2   didn't we?
 3          MS. MOCK: Yes, 19.                                      3       A. Yes.
 4       BY MS. MOCK:                                               4       Q. All right. And so did this really alter
 5       Q. Did you have conversations with Judge                   5   your working environment at all, this being
 6   Lynch prior to his issuance of this order?                     6   Exhibit 19?
 7       A. Yes.                                                    7       A. It did, yes.
 8       Q. Talk to me about those conversations.                   8       Q. How?
 9       A. I believe it was just one conversation                  9       A. To the point where we weren't sure if he
10   letting Terri and I know that he didn't have                  10   was just going to show up and Terri and I not be
11   authority to do that, to -- the first one he did.             11   aware of that. So it made for a very tense
12   He didn't have authority to do that, so he would              12   situation when we were in the office.
13   be coming back to Parsons.                                    13       Q. Okay. But that never happened?
14       Q. Okay. And this one is dated February                   14       A. No.
15   10th, 2021 beginning March 1, 2021, correct?                  15       Q. All right. And ultimately then in
16       A. Correct.                                               16   December, you elect to transfer over to the 14th
17       Q. Did he tell you how he came to that                    17   Judicial District, correct?
18   conclusion that he didn't have that authority?                18       A. I did.
19       A. No, he did not.                                        19       Q. Did anything happen between February of
20       Q. All right. Did he indicate to you any                  20   2021 and December of 2021 that caused you to seek
21   other steps that would occur or -- with regard to             21   out the other position?
22   you and interacting with Judge Johnson?                       22       A. Constantly.
23       A. That we could still work from home due to              23       Q. What?
24   we were also in a pandemic as well, but we could              24       A. I've mentioned a few with Mac about the
25   work from home when we would know that he would be            25   machine. There were meetings that were being

                                                        Page 166                                                             Page 168
 1   in Parsons.                                                    1   held. They would have staff meetings and Terri
 2       Q. And was that like a set schedule, like he               2   set those up. The first couple were just with
 3   was going to be in Oswego on these days of the                 3   clerks. And then it was the judges were involved,
 4   week and Parsons on these days of the week?                    4   so the AA court reporter and the other AA should
 5       A. Yes.                                                    5   be involved. Judge Johnson started taking upon
 6       Q. Okay. And what was that set schedule?                   6   himself when Terri would not send out the Zoom
 7       A. I don't recall it now, Terelle --                       7   meeting link due to either we weren't going to
 8       Q. Okay.                                                   8   have a staff meeting or she wasn't prepared yet
 9       A. -- off the top of my head.                              9   for one, he would start sending out the Zoom link
10       Q. Did the schedule deviate from that or was              10   and leaving me off the e-mails to where I wasn't
11   it pretty consistent?                                         11   privy to those staff meetings unless Terri told me
12       A. It deviated quite often.                               12   about them.
13       Q. Okay. Was there a time then where you                  13       Q. Which she did every time, right?
14   were forced to interact with Judge Johnson?                   14       A. Every time, yes. But he left me off of
15       A. No.                                                    15   every single situation with the office aspect of
16       Q. You were still made aware somehow some                 16   calendars, of scheduling jury trials. They even
17   way that he was coming and able to leave?                     17   held a meeting, Teri Meador, the county attorney,
18       A. Yes.                                                   18   Judge Stockard, Judge Jack, Myra Freeman, due to
19       Q. All right.                                             19   scheduling.
20       A. Or we were already scheduled to work from              20       Q. Judge Johnson you mean?
21   home.                                                         21       A. Did I say Judge Jack.
22       Q. Or you were already scheduled work from                22       Q. You did.
23   home. There was quite a bit of working from home              23       A. I'm sorry.
24   after March 2020, correct?                                    24       Q. That's okay. I've done it several times
25       A. Correct.                                               25   today.
               Case 5:21-cv-04093-JWB Document 38-11 Filed 12/16/22 Page 43 of 59
10/3/2022                                                                                                        43 (169 - 172)
                                             SABRINA S. OVERFIELD
                                                          Page 169                                                            Page 171
 1       A. So I was left off that meeting and I'm                    1   worked with the court reporter and AAs of the two
 2   the one that does the scheduling with Judge                      2   judges. And I didn't know he had a second phone
 3   Stockard, and I had no information about this                    3   for work.
 4   meeting as even occurring and it was occurring                   4      Q. So you authored this?
 5   with the county attorney's office.                               5      A. Yes.
 6       Q. Sorry.                                                    6      Q. And you're complaining that Judge --
 7       A. So incidents like that, just constant.                    7   Freeman is going behind your back and talking to
 8   And then the last straw was when I asked about the               8   your judge. Is that what this is?
 9   machine. And then they were in the process of                    9      A. No. Myra Freeman, Judge Johnson's AA,
10   getting me a machine and I went in to work one                  10   not that she was going behind my back, just that
11   day -- and there was very little communication                  11   she was going through Judge Stockard rather than
12   with me to the point where I walk in my office                  12   me to set his calendar, and that's not how we had
13   one day and there's a machine sitting there and I               13   done it in the past. And I was confused why that
14   had no idea I was receiving it. And then when I                 14   was happening.
15   did give my resignation for my transfer, my new                 15      Q. Did you give this note to anybody?
16   chief judge purchased my new machine for me from                16      A. No. I documented it for myself.
17   Labette because they would have no use for it, and              17      Q. Okay. So this isn't a complaint you
18   I received a case with it. Well, I hadn't                       18   handed off to Mac Young or anything like that?
19   received the case. And the end of December -- my                19      A. No. No.
20   last day was December 17th. The end of December,                20      Q. All right.
21   I went over to Parsons to have lunch with Terri                 21         (THEREUPON, Overfield Deposition Exhibit
22   Thurman because -- for her retirement, and I'd                  22   No 21 was marked for identification by the
23   asked Teri Meador if she knew of any package that               23   reporter.)
24   had came to me, and she says, yes. Judge Johnson                24      BY MS. MOCK:
25   took it and put it in his office. And there was                 25      Q. Okay. Exhibit No. 21, this is an e-mail

                                                          Page 170                                                            Page 172
 1   a note on it that said do not open per Mac.                      1   string that you provided in response to discovery
 2   Well, it was my property. It was my case to my                   2   requests?
 3   machine and no one had told me, no one conversed                 3      A. Um-hum.
 4   with me they had it.                                             4      Q. And these are just e-mails between you
 5      Q. How did you get it?                                        5   and Terri Thurman, correct?
 6      A. Teri Meador went in and got it from Judge                  6      A. Yes.
 7   Johnson's office.                                                7      Q. Okay. On the second page you write I
 8      Q. Okay. And gave it to you?                                  8   just am getting aggravated at Stockard more and
 9      A. Yes.                                                       9   more. I asked him yesterday for some case notes
10          (THEREUPON, Overfield Deposition Exhibit                 10   on someone he saw Friday and haven't received
11   No 20 was marked for identification by the                      11   them. Went into Odessey just now and there they
12   reporter.)                                                      12   were in the file of the defendant, exclamation
13      BY MS. MOCK:                                                 13   point, exclamation point, exclamation point. His
14      Q. Okay. Exhibit 20. This was in your                        14   communication skills suck, all caps, exclamation
15   production in response to discovery. What is this               15   point, exclamation point, exclamation point,
16   document?                                                       16   exclamation point, exclamation point.
17      A. It was an incident that I had with my new                 17      A. I don't have that.
18   judge where the communication had pretty much                   18      Q. You don't have that?
19   stopped with having any guidance. Because the                   19      A. No.
20   court reporter, the official court reporter, is                 20         MR. JOHNSON: What's the Bates stamp
21   like the right hand to her judge, and Judge                     21   number?
22   Stockard and I, I didn't feel like we were having               22         MS. MOCK: Bates No. 42 and 43.
23   that. And I documented this to where Myra                       23         MS. MOE: Hold on. They're on the
24   Freeman, Judge Johnson's AA, was contacting him                 24   bottom. I'm sorry.
25   directly, and that's not how the communication                  25         MS. MOCK: Wrong order. My apologies.
              Case 5:21-cv-04093-JWB Document 38-11 Filed 12/16/22 Page 44 of 59
10/3/2022                                                                                                        44 (173 - 176)
                                           SABRINA S. OVERFIELD
                                                         Page 173                                                             Page 175
 1   Let me see if I can get it.                                     1   note about Friday and Myra's shenanigans. What
 2       BY MS. MOCK:                                                2   note is that in reference to?
 3       Q. Okay. I'm handing you a new 21. Okay.                    3      A. I have no idea.
 4   Okay. You should have plaintiff Bates Nos. 42, 43               4      Q. You wrote that, correct?
 5   and 44 on the document in front of you. Is that                 5      A. Correct. It is this that I've sent you,
 6   what you have?                                                  6   the March 5th, 2021 when she was communicating --
 7       A. Yes.                                                     7   communicating with Judge Stockard and not myself?
 8       Q. All right. I was reading to you off of                   8      Q. Okay.
 9   43, Bates No. 43.                                               9      A. That's what I meant by her shenanigans.
10       A. Yes.                                                    10      Q. Okay. All right.
11       Q. So you were frustrated with Stockard's                  11         (THEREUPON, Overfield Deposition Exhibit
12   communication skills. That's fair to say?                      12   No 22 was marked for identification by the
13       A. Very.                                                   13   reporter.)
14       Q. And is this something that you attribute                14      BY MS. MOCK:
15   to discrimination based upon your gender and age?              15      Q. Okay. Exhibit 22 is plaintiff Bates No.
16       A. No.                                                     16   45 and 46. All right. So this is a e-mail that
17       Q. Do you feel like he treated you poorly?                 17   you provided in response to discovery, and I'm not
18       A. No.                                                     18   quite sure what it shows. Does it show you not
19       Q. All right. At the top of this e-mail,                   19   being included in something that you should have
20   it's a response from Terri. And it says D03                    20   been included in?
21   didn't come to Parsons today. Unknown about                    21      A. These are the staff meetings that I
22   tomorrow. Ladies are frustrated both in office.                22   wasn't included in but every other staff member
23   Sent one home and told the other to stay home                  23   was, and Terri would forward them on to me.
24   until we get a schedule. What's D03?                           24      Q. Okay. So March 24th, 2021, March 10th,
25       A. That would be Judge Johnson.                            25   2021. Who is Lori Davis?

                                                         Page 174                                                             Page 176
 1      Q. What does that mean?                                      1      A. She was the clerk in Oswego.
 2      A. District Judge No. 3. They're assigned.                   2      Q. Okay.
 3   He was District Judge No. 3 and Stockard was DO                 3          (THEREUPON, Overfield Deposition Exhibit
 4   No. 6.                                                          4   No 23 was marked for identification by the
 5      Q. Is there some reason you referred to him                  5   reporter.)
 6   as D03?                                                         6      BY MS. MOCK:
 7      A. I didn't, Terri did. That's Terri's e-                    7      Q. All right. Exhibit 23. Okay. This is a
 8   mail.                                                           8   communication to -- from you regarding your last
 9      Q. Right. But you use it in the response?                    9   day. Is that correct?
10      A. Not necessarily. We did that even -- D03                 10      A. This is from Mac Young to me.
11   and D06 we wrote on things because sometimes it                11      Q. In response to your resignation letter?
12   was shorter. That's how we knew them.                          12      A. Yes.
13      Q. So your e-mail to her March 9, 2021, you                 13      Q. And then you write at the bottom. Will
14   say I'm so tired of D03 and his games. A little                14   you read what you wrote into the record, please?
15   communication and a schedule is not too much to                15      A. Never in the history of me working for
16   ask. I think we need to let Mac know. What are                 16   the 11th Judicial District had an employee been
17   your thoughts on that, question mark. I made a                 17   treated with this procedure of leaving. Terri
18   note about Friday and Myra's shenanigans?                      18   Thurman and myself were the only ones.
19      A. I don't have that, again, Terelle.                       19      Q. Okay. What procedure are you talking
20      Q. It's the first page in that exhibit?                     20   about?
21      A. 42?                                                      21      A. That he was coming over to check us out
22      Q. Um-hum. It's the middle paragraph in the                 22   to make sure that the building keys, our computers
23   middle of the page.                                            23   and everything were intact.
24      A. Okay. Yes. Now, I see it.                                24      Q. Okay. And so who do you recall leaving
25      Q. So I'm wondering this note. I made a                     25   that didn't have this done?
              Case 5:21-cv-04093-JWB Document 38-11 Filed 12/16/22 Page 45 of 59
10/3/2022                                                                                                         45 (177 - 180)
                                           SABRINA S. OVERFIELD
                                                          Page 177                                                             Page 179
 1       A. Everyone before us --                                     1      A. Yes.
 2       Q. Can you give --                                           2      Q. Okay. And then you say I keep thinking
 3       A. -- and everyone after us.                                 3   about what he's up to while he's there this
 4       Q. Okay. Can you tell me who? Can you give                   4   morning. And you know his little bodyguard is
 5   me some names?                                                   5   right there with him. Who is -- who is the -- is
 6       A. Vickie Barrett, the court reporter, Mary                  6   that Judge Johnson or is that Mac?
 7   Long, a clerk.                                                   7      A. No. That's the actual security guard
 8       Q. I'm going to pause you for a second.                      8   that is Judge Johnson's best friend.
 9   With Vickie Barrett, was Mac Young in his position               9      Q. Okay. So he in this sentence is Judge
10   at that point in time?                                          10   Johnson?
11       A. Yes.                                                     11      A. Yes.
12       Q. Okay. Keep going.                                        12      Q. And his little body guard is who?
13       A. The judges, Judge Jack, Judge Fleming.                   13      A. The security guard for the courthouse is
14   And then shortly after Terri and I left, Terry                  14   Judge Johnson's best friend, one of them.
15   Cizerle in Columbus was not treated like that.                  15      Q. Who is that?
16       Q. Okay. So what -- how were their keys and                 16      A. His name is Tom Bringle.
17   such collected?                                                 17      Q. Tom what?
18       A. He told them to either leave them in                     18      A. Bringle, B R I N G L E.
19   their desk or they gave them to Terri, my clerk.                19      Q. Okay. So this was a time when he came
20   But he never came over and checked their office                 20   into the office, you guys learned he was coming
21   and made sure everything was intact.                            21   and you left. Is that -- is that what happened
22       Q. Okay. So it was his physical presence                    22   or you knew before and you didn't go in that
23   that was different?                                             23   morning?
24       A. Yes.                                                     24      A. It's got to be one of those two, but I
25       Q. Okay.                                                    25   can't really recall which one it was.

                                                          Page 178                                                             Page 180
 1          (THEREUPON, Overfield Deposition Exhibit                  1       Q. Okay. All right.
 2   No 24 was marked for identification by the                       2       A. Sorry.
 3   reporter; WHEREUPON, a recess was taken.)                        3       Q. You say thank heavens we are not. I'm
 4       BY MS. MOCK:                                                 4   assuming you mean thank heavens we're not there?
 5       Q. All right. Exhibit 24. All right. So                      5       A. Yes.
 6   this starts with plaintiffs 34 at the bottom, the                6       Q. I also thought if he is stupid enough to
 7   Bates number, correct?                                           7   schedule things when they are days he is not
 8       A. Yes.                                                      8   supposed to be in Parsons and we are there, just
 9       Q. Okay. I want you to skip to plaintiffs                    9   let him try something. So what are you suggesting
10   37. So this is an e-mail that you -- again, an                  10   here?
11   exchange between you and Terri, and this would be               11       A. He pushed and pushed Terri and I. Like
12   in February of 2021. And I guess I have                         12   there would be days that he was not supposed to be
13   questions. You say after reading this e-mail to                 13   there, and all of a sudden he'd change his mind
14   Mac again, I think it sounds like they all involve              14   and be coming to Parsons. And if he wanted -- I
15   one thing right after the other, but I have found               15   mean it has been instilled in me that he's not
16   with Mac I get a better response if I do a few at               16   going to give up trying retaliation with me and to
17   a time. Pick the most important to you and go                   17   torment me. So I was telling her just let him to
18   from there. But you have worked directly with him               18   keep pushing and I'll just file another complaint.
19   longer and I'm only suggesting for you. Is this                 19   Somebody's going to listen eventually.
20   -- so she's sending you a letter that she -- or                 20       Q. So what did he do that was retaliatory in
21   an e-mail that she intends to send to Mac. Is                   21   nature?
22   that's what's happening here?                                   22       A. Leaving me off e-mails, talking directly
23       A. Yes.                                                     23   about us that we had filed this complaint to other
24       Q. And you're giving her advice on how to                   24   people.
25   best approach Mac?                                              25       Q. Like who is that?
               Case 5:21-cv-04093-JWB Document 38-11 Filed 12/16/22 Page 46 of 59
10/3/2022                                                                                                        46 (181 - 184)
                                              SABRINA S. OVERFIELD
                                                          Page 181                                                             Page 183
 1      A. Shortly after we filed, there was a                        1      BY MS. MOCK:
 2   county commission meeting. Stephen Jones was                     2      Q. Okay. And I think if you go back to we
 3   present for that, the county attorney, and one of                3   were on question 5. Here they were. Way over
 4   county commissioners said if Sabrina and Terri                   4   here. Who knew. Okay. All right. No. 7, it
 5   would just quit, we wouldn't have this problem.                  5   says with respect each incident of alleged
 6   So how would we know -- he know what problem                     6   retaliatory acts by defendant about which you
 7   unless Judge Johnson had not informed them.                      7   complain state the following. Okay. Asks you to
 8      Q. Would that have to do with having to move                  8   describe this. Okay. In here you have yearly job
 9   Judge Johnson to Oswego?                                         9   evaluation was withheld for two full years for
10      A. Yes.                                                      10   2020 and 2021. And then No. 2, after I filed a
11      Q. Could the chief judge have informed them                  11   complaint, I was left off monthly Zoom -- monthly
12   that we're having to do this?                                   12   staff Zoom meetings and numerous meetings
13      A. No.                                                       13   concerning court proceedings and hearings and all
14      Q. No?                                                       14   communications with staff unless through District
15      A. It came out directly that the chief judge                 15   Court Clerk Terri Thurman. And No. 3, after
16   did not tell them why we were moving him.                       16   decision was made regarding my complaint, Allyson
17      Q. So Steve Jones told you that he had heard                 17   Christman, chief HR officer for the State of
18   another county commissioner say that if Sabrina                 18   Kansas, never communicated with me again nor was
19   and Terri would just stop, we wouldn't have to do               19   the hostile working environment ever resolved by
20   this?                                                           20   the state. Did I read those correctly?
21      A. Would just quit.                                          21      A. Yes.
22      Q. Quit. Okay. And from that you conclude                    22      Q. Is that an accurate estimation of your
23   that Judge Johnson told the commissioners that you              23   claim of retaliation?
24   were the reason why he had to move to Oswego?                   24      A. Yes.
25      A. Yes.                                                      25      Q. All right. So as to No. 1, your yearly

                                                          Page 182                                                             Page 184
 1       Q. Okay. And what else?                                      1   job evaluation being withheld, let's look at
 2       A. Attorneys knew as well that were in front                 2   those.
 3   of him.                                                          3          (THEREUPON, Overfield Deposition Exhibit
 4       Q. And how do you conclude that?                             4   No 25 was marked for identification by the
 5       A. Sara Beezley and Sarah Mills were asking                  5   reporter.)
 6   for him to be recused from cases.                                6      BY MS. MOCK:
 7       Q. And they had to provide a basis?                          7      Q. Okay. I'm going to hand you what was
 8       A. Yes.                                                      8   marked as Exhibit 25. Okay. And there's several
 9       Q. So -- and that basis was you?                             9   here, so but let's start at page 1 of 5. And
10       A. Yes.                                                     10   unfortunately, these are not Bates numbered. But
11       Q. So he wasn't telling the other attorneys.                11   the first page has an effective date of July 23rd,
12   Sara Beezley and Sarah Mills were.                              12   2019. Do you see where it says that at the top?
13       A. I can't actually say that they were                      13      A. Yes.
14   telling them, but it was in --                                  14      Q. Left hand corner? And this is for the
15       Q. Well, they had to file a motion?                         15   rating period of 6/23/2018 to 6/23/2019, correct?
16       A. -- motions. It was in motions.                           16      A. Correct.
17       Q. Which they authored?                                     17      Q. So this one's not delayed in any way,
18       A. Yes.                                                     18   correct?
19       Q. What else?                                               19      A. Correct.
20       A. I can't think of anything else.                          20      Q. All right. So let's flip past this one,
21       Q. Can you pull out your Interrogatory                      21   and we'll just stop at No. -- page 4 of 5 here.
22   responses out of that stack? I'm going to -- I'll               22   Your overall performance being beyond
23   give you a number if I can.                                     23   expectations, correct?
24       A. 3?                                                       24      A. Correct.
25          MR. JOHNSON: Yes.                                        25      Q. And then the next page, 5 of 5, your
               Case 5:21-cv-04093-JWB Document 38-11 Filed 12/16/22 Page 47 of 59
10/3/2022                                                                                                        47 (185 - 188)
                                              SABRINA S. OVERFIELD
                                                          Page 185                                                             Page 187
 1   signature on 5/17/19, correct?                                   1   evaluations. I'd like my evaluations. So whoever
 2       A. Correct.                                                  2   needs to do them, I guess do them. And so he did
 3       Q. All right. Okay. The next eval,                           3   this one, and that's why I did not agree with
 4   effective date is 7/23/2020, and the rating period               4   that.
 5   is 6/23/2019 to 6/23/2020. Did I read that                       5      Q. Okay. So did you tell Judge Fleming that
 6   correctly?                                                       6   you didn't agree with Mac's evaluation?
 7       A. Correct.                                                  7      A. I did.
 8       Q. All right. Now, if we go to the last                      8      Q. And then she redid it?
 9   page, page 5 of 5, we see that this was signed by                9      A. Yes.
10   you and received by you on 7/9/21. Did I read                   10      Q. Okay. And if we compare the two, was it
11   that correctly?                                                 11   the -- the overall performance rating for both was
12       A. Correct.                                                 12   beyond expectations, correct?
13       Q. So you effectively received this                         13      A. Not on Mr. Young's it wasn't.
14   evaluation a year after the evaluation period. Is               14      Q. Did he sign two of them?
15   that correct?                                                   15      A. He signs them as the court administrator.
16       A. Correct.                                                 16   So he signs all of them.
17       Q. Is that what you're talking about in your                17      Q. Okay. Okay. So he put successful on
18   claim of retaliation?                                           18   his?
19       A. I believe so. There's an evaluation                      19      A. Correct.
20   missing I believe here.                                         20      Q. And you signed I do not agree, Sabrina
21       Q. Okay. What's missing?                                    21   Overfield. And so they took it back. They did a
22       A. This one that you have here was done by                  22   new one that was done by Fleming which you agreed
23   Chief Judge Fleming, but there should be one that               23   with?
24   Mac did before her that was less than excellent                 24      A. Correct.
25   that was a year late that I did not agree with.                 25      Q. And you also received your evaluation for

                                                          Page 186                                                             Page 188
 1   And so then Judge Fleming reevaluated my                         1   the rating period of 6/23/2020 to 6/23/2021 at
 2   performances. And you don't have the one Mac did                 2   this same time. Is that correct?
 3   attached.                                                        3       A. Correct.
 4          (THEREUPON, Overfield Deposition Exhibit                  4       Q. So there was only one evaluation that was
 5   No 26 was marked for identification by the                       5   a year late. The 2021 one was done at the
 6   reporter.)                                                       6   correct time, right?
 7       BY MS. MOCK:                                                 7       A. Correct.
 8       Q. All right. I'm going to hand you what's                   8       Q. Okay. I just wanted to make that clear.
 9   been marked Exhibit 26. Is this what you're                      9   And then also included in this exhibit is your
10   referencing?                                                    10   current evaluation by the 14th Judicial District,
11       A. It is.                                                   11   correct?
12       Q. All right. So what you provided was                      12       A. Correct.
13   Exhibit 26. What's in your file with the state is               13       Q. And that one was ranked successful and
14   Exhibit 25?                                                     14   you didn't dispute anything about that, correct?
15       A. Correct.                                                 15       A. Judge Gettler and I had a discussion over
16       Q. Okay. So explain to me what Exhibit 26                   16   it, but I did not dispute it.
17   is?                                                             17       Q. Okay.
18       A. After continuously asking Mac Young when                 18       A. No.
19   my evaluation would be completed for two years                  19       Q. So when it says yearly job evaluation was
20   because I had not received one for two years, he                20   withheld for two full years, for 2020 and 2021, it
21   said Chief Judge Lynch would be doing my                        21   would be more accurate to say the yearly job
22   evaluation. Well, that happened for six months.                 22   evaluation for 2020 was withheld for an additional
23   And then finally Mac said, Sabrina, how do you                  23   year, correct?
24   feel about me doing your evaluation. I said,                    24       A. Correct.
25   well, they're two years past due. I need my                     25       Q. Okay. And then if we go back to your
               Case 5:21-cv-04093-JWB Document 38-11 Filed 12/16/22 Page 48 of 59
10/3/2022                                                                                                          48 (189 - 192)
                                             SABRINA S. OVERFIELD
                                                          Page 189                                                            Page 191
 1   Interrogatories, No. 3 says Allyson Christman,                   1      Q. Okay. So he's never called Shaun lazy?
 2   Chief HR Officer for the State of Kansas never                   2      A. Not that I'm aware of. I don't think
 3   communicated with me again, nor was the hostile                  3   he's ever called him -- I don't think he's ever
 4   working environment ever resolved by the state.                  4   said he's not a very good court reporter and that
 5   So him moving to Oswego didn't resolve the hostile               5   he didn't know what he was doing, those were all
 6   work environment?                                                6   directed towards me, and that I was a liar.
 7      A. No.                                                        7      Q. Did he say why he believed you were a
 8      Q. How is that? Explain that to me.                           8   liar?
 9      A. Terri and I were always looking over our                   9      A. No.
10   shoulder whether or not he would show up, when he               10      Q. He didn't --
11   would show up. It never changed. And then all                   11      A. Just what he has written, what I've seen
12   the retaliation acts that he had caused. And Myra               12   him write, that's all that I can go by in his
13   Freeman who was the clerk, he had promised her the              13   statement that happened on January 10th.
14   AA position with him and to go to court reporter                14      Q. So you're not inferring that he's called
15   school. So, of course, she was going to do what                 15   you a liar by those statements. You're saying
16   he said. And Teri Meador is now the clerk since                 16   he's verbally called you a liar, correct?
17   Terri's retired.                                                17      A. Yes. During that interaction with him on
18      Q. And these are retaliation acts against                    18   the 10th --
19   you?                                                            19      Q. Okay.
20      A. They're not retaliation acts, but Myra                    20      A. -- he told me, Sabrina, you're lying.
21   moving into his office, she was there when the                  21   That's not -- you sit right there on that couch.
22   incident happened with Judge Johnson, when mine                 22      Q. Okay.
23   happened on January 10th and the 13th, and so was               23      A. With this incident with Judge Jack that I
24   Teri Meador. And just not communicating with us                 24   have no idea what he's talking about.
25   about court procedures was a big -- it's tough to               25      Q. Oh. So you did talk about that on the

                                                          Page 190                                                            Page 192
 1   run a courthouse without communication with all                  1   10th. Because you testified earlier that that
 2   staff, and we did not receive communication from                 2   interaction didn't happen.
 3   them.                                                            3      A. That conversation I don't remember
 4      Q. Did Judge Johnson ever say anything to                     4   happening. Him saying that, I don't remember
 5   you about your age?                                              5   saying that on the January 10th. I don't remember
 6      A. No.                                                        6   him saying that.
 7      Q. Did he ever say anything to you about                      7      Q. Yes, but you just said -- I'm sorry. I
 8   your gender?                                                     8   thought you just said that was the basis for him
 9      A. I can't recall.                                            9   calling you a liar?
10      Q. Well, this is the only chance I get to                    10      A. Well, what I read, he said I called -- he
11   ask that question. Give it a minute.                            11   called me a liar by what I read.
12      A. In not so many words he would, with Shaun                 12      Q. Did he speak the words out of his mouth
13   being a male court reporter and me being a female,              13   on January 10th, Sabrina, you're a liar?
14   in not so many words he would imply some things.                14      A. No.
15      Q. You have to explain to me what you mean                   15      Q. Okay.
16   by that.                                                        16      A. Sorry.
17      A. Well, I don't think he's ever called                      17      Q. Did he speak the words out of his mouth
18   Shaun lazy.                                                     18   January 10th, Sabrina, you're lying?
19      Q. Has Shaun ever worked in Parsons?                         19      A. Not that I recall, no.
20      A. Yes.                                                      20      Q. Okay. Okay. So you're saying that he's
21      Q. He was stationed there?                                   21   called you a liar because of what you read in the
22      A. No. But he will cover when -- when we                     22   exhibit I provided you here today?
23   needed coverage on jury trials and other hearings,              23      A. Yes, ma'am.
24   he has covered. I'm sure he's covering a lot more               24      Q. Okay. And that's the first time you'd
25   there now.                                                      25   ever seen that document?
              Case 5:21-cv-04093-JWB Document 38-11 Filed 12/16/22 Page 49 of 59
10/3/2022                                                                                                        49 (193 - 196)
                                          SABRINA S. OVERFIELD
                                                         Page 193                                                             Page 195
 1      A. Yes, ma'am.                                               1   not?
 2      Q. Okay. So prior to today, you wouldn't                     2      A. Correct.
 3   have alleged that he called you a liar?                         3      Q. Okay. So, again, this is a comparison
 4      A. Right.                                                    4   between your 2016?
 5      Q. Okay.                                                     5      A. Correct.
 6      A. Correct.                                                  6      Q. And your 2021?
 7      Q. All right. You're alleging damages                        7      A. Correct.
 8   associated with this case, and in your Rule 26                  8      Q. Have you provided your 2017, 2018, 2019,
 9   Disclosures, you say past economic loss of                      9   and 2020 tax statements?
10   $25,000. Where did you come up with that figure?               10      A. No.
11      A. Where are we on this?                                    11         MR. JOHNSON: But we will.
12      Q. Oh, I'm sorry. I'm in Rule 26 and I'll                   12         MS. MOCK: Okay.
13   mark it. It's not a problem.                                   13         (THEREUPON, Overfield Deposition Exhibit
14         MS. MOCK: We're up to 27. I might set a                  14   No 28 was marked for identification by the
15   record.                                                        15   reporter.)
16         (THEREUPON, Overfield Deposition Exhibit                 16      BY MS. MOCK:
17   No 27 was marked for identification by the                     17      Q. Exhibit 28, this is a document that you
18   reporter.)                                                     18   provided in response to our discovery request.
19      BY MS. MOCK:                                                19   What is this document?
20      Q. All right. Exhibit No. 27 are                            20      A. This came out of my employee handbook on
21   Plaintiff's Rule 26 Disclosures. If you look on                21   policy prohibiting sexual and other workplace
22   page 2, Section C, past economic loss, $25,000?                22   harassment.
23      A. That's transcript money.                                 23      Q. Okay. And is this your highlighting
24      Q. How do you come up with that figure?                     24   here?
25      A. By comparing it to before the pandemic,                  25      A. Yes.

                                                         Page 194                                                             Page 196
 1   my tax statement in 2016.                                       1      Q. Okay. So you filed the complaint,
 2      Q. So it's comparing your 2016 --                            2   correct?
 3      A. Yes.                                                      3      A. Correct.
 4      Q. -- tax statement?                                         4      Q. That complaint was investigated, correct?
 5      A. That's when I was working with two                        5      A. Correct.
 6   judges, Judge Fleming and Judge Jack constantly,                6      Q. And you were provided a letter with a
 7   and then 2018 when Judge Fleming retires, Judge                 7   conclusion of that complaint?
 8   Johnson comes on. Well, he gains a court                        8      A. Correct.
 9   reporter, so I didn't lose any money there. But                 9      Q. And you were provided an opportunity to
10   during the pandemic, I did lose money due to the               10   grieve or appeal that complaint, correct?
11   pandemic. But also, now that I'm not working with              11      A. Correct.
12   Judge Johnson come January 2020, I've lost that                12      Q. That you did not take?
13   money, the transcript money.                                   13      A. Correct.
14      Q. And you wouldn't have had that money when                14      Q. So is there anything in this policy that
15   he was working with Terri?                                     15   the state didn't do that they were supposed to do?
16      A. Tammy.                                                   16      A. Yes.
17      Q. Tammy?                                                   17      Q. What?
18      A. Right, I would not, correct.                             18      A. I was still working in a hostile working
19      Q. At any point in time, that position would                19   environment.
20   be filled and you wouldn't have that money,                    20      Q. Okay. And as far as your damages from
21   correct?                                                       21   this, I think you also provided a bill or a
22      A. If the position was filled, no, I would                  22   receipt.
23   not.                                                           23          (THEREUPON, Overfield Deposition Exhibit
24      Q. And obviously, the pandemic cut down on                  24   No 29 was marked for identification by the
25   court cases and transcripts significantly, did it              25   reporter.)
              Case 5:21-cv-04093-JWB Document 38-11 Filed 12/16/22 Page 50 of 59
10/3/2022                                                                                                      50 (197 - 200)
                                           SABRINA S. OVERFIELD
                                                        Page 197                                                             Page 199
 1       BY MS. MOCK:                                               1       Q. What was the schedule?
 2       Q. You were asked to provide documentation                 2       A. I went in three -- two to three days a
 3   regarding out-of-pocket expenses incurred, and                 3   week.
 4   this is a document that you provided in response               4       Q. What were those days, same every week?
 5   to that question. What is this document, Exhibit               5       A. No, it varied. Varied.
 6   No. 29?                                                        6       Q. And how would you determine what days you
 7       A. It's a medical statement, bill.                         7   would go in and what days you would stay home?
 8       Q. For what?                                               8       A. If Judge Stockard needed me, I would go
 9       A. Well, the day after the last incident                   9   in if there were hearings that I needed to cover
10   with Judge Johnson, I went to the doctor due to               10   by Zoom.
11   not sleeping, not eating and visited with my                  11       Q. You would go in?
12   doctor.                                                       12       A. Some days, yes.
13       Q. And your doctor is?                                    13       Q. You could cover those hearings from home,
14       A. Was Kathryn Cornell, a nurse                           14   though, right?
15   practitioner.                                                 15       A. Some of those, yes.
16       Q. Okay. And did you receive any treatment?               16       Q. Did you ever follow up with any
17       A. I did.                                                 17   healthcare professional regarding your sleep or
18       Q. What treatment did you receive?                        18   any type of mental health issue?
19       A. She gave me a prescription and asked me                19       A. No.
20   to stay in contact with her.                                  20       Q. I have another question on your
21       Q. What was the prescription for?                         21   Interrogatories if you wouldn't mind pulling those
22       A. Oh, gosh. I don't recall the name of it,               22   back out. On No. 9 on page 4, it asked you to
23   but it was a sleep sedative.                                  23   describe employment held by you since separation
24       Q. Did you use the prescription?                          24   from employment. And your response here states
25       A. I did.                                                 25   I'm still employed by the State of Kansas, but I

                                                        Page 198                                                             Page 200
 1       Q. Until it was gone?                                      1   was transferred to the 14th Judicial District.
 2       A. Yes.                                                    2   And I think we've established by testimony today
 3       Q. Did you get it refilled?                                3   that you requested that transfer and applied for
 4       A. No, ma'am. COVID hit.                                   4   that transfer?
 5       Q. What does that mean?                                    5      A. Correct.
 6       A. Well, COVID hit and I have elderly                      6      Q. You didn't -- you weren't involuntarily
 7   parents that I take care of, and I dealt with it               7   transferred, correct?
 8   on my own. So I didn't go back to the doctor for               8      A. No.
 9   it. This was the only time I went to the doctor                9      Q. Did that make sense? It didn't, did it?
10   for this situation.                                           10   Were you involuntarily transferred?
11       Q. When COVID hit, the courthouse was closed              11      A. No.
12   for a period of time, correct?                                12      Q. Thank you. Oh, did you record your
13       A. Correct.                                               13   interviews with Ally Christman?
14       Q. How long was that?                                     14      A. I did.
15       A. We still went in but the courthouse was                15      Q. Do you have those recordings?
16   closed?                                                       16      A. Not on me, no. One was only recorded
17       Q. Okay. Did you go in -- I mean was there                17   halfway.
18   -- there was probably a period of time where you              18      Q. Was -- did you record two conversations
19   worked only from home, correct?                               19   with Ally?
20       A. Correct, probably a month.                             20      A. One and a half.
21       Q. Okay. And then you might go in from time               21      Q. All right. And you have those still?
22   to time?                                                      22      A. I believe so, yes.
23       A. Correct.                                               23      Q. Can you provide those to Mr. Johnson for
24       Q. Was there a schedule?                                  24   me?
25       A. Yes.                                                   25      A. I have already, but I will again.
              Case 5:21-cv-04093-JWB Document 38-11 Filed 12/16/22 Page 51 of 59
10/3/2022                                                                                                        51 (201 - 204)
                                            SABRINA S. OVERFIELD
                                                         Page 201                                                            Page 203
 1         MR. JOHNSON: I believe we produced those                  1       Q. So where it says Jim Cook, he was on the
 2   to you.                                                         2   -- he was on the commission. He asked a question
 3         MS. MOCK: My handy dandy associate says                   3   regarding issues with other attorneys?
 4   no.                                                             4       A. Yes.
 5         MR. JOHNSON: Okay. We'll be glad --                       5       Q. Fair? Okay.
 6         MS. MOE: We only got the giant pdf with                   6       A. Fair.
 7   everything Bates together. There was no -- if                   7       Q. All right. Okay. The second page deals
 8   there was an attachment of a recording, it didn't               8   with another applicant?
 9   come threw.                                                     9       A. Yes.
10         MR. JOHNSON: Okay.                                       10       Q. Oh, you indicated this first one Shane...
11         MS. MOE: So sorry about that.                            11       A. Adamson.
12         MR. JOHNSON: Will do.                                    12       Q. Was he the third candidate that the
13         MS. MOE: Thank you.                                      13   nominating commission selected to go up to Judge
14         MR. JOHNSON: That was my fault. You                      14   -- to Governor Kelly?
15   guys want to take a break and visit?                           15       A. Yes.
16         MS. MOCK: No, I don't want to take a                     16       Q. Okay. Thanks. So then the second page
17   break. I want to be done.                                      17   is notes about a Meredith Goodbrick?
18       BY MS. MOCK:                                               18       A. Frederick.
19       Q. Did you ever talk to Ally Christman again               19       Q. Frederick. Okay. And the next one
20   after January 16th?                                            20   Nathan Coleman?
21       A. Not that I'm aware of.                                  21       A. Yes.
22         MS. MOCK: And, Alan, did you get the                     22       Q. The next one Stephen Jones?
23   notes?                                                         23       A. Yes.
24         MR. JOHNSON: Yes.                                        24       Q. Valorie Lablanc?
25         MS. MOCK: Okay. Let's just take a quick                  25       A. Yes.

                                                         Page 202                                                            Page 204
 1   break.                                                          1      Q. Samuel Marsh?
 2          MR. JOHNSON: Let's take a break.                         2      A. Yes.
 3          (THEREUPON, a recess was taken;                          3      Q. You have really written over several
 4   WHEREUPON, Overfield Deposition Exhibit No 30 was               4   times here does he rely on Lori. Yes, and it
 5   marked for identification by the reporter.)                     5   says I do. Is that right?
 6       BY MS. MOCK:                                                6      A. Yes. Lori is his -- he was a magistrate
 7       Q. All right. We've marked here as Exhibit                  7   judge in Columbus. Lori was his AA. So he said,
 8   No. 30 a copy of your notebook that you brought                 8   yes, he relied on her a lot.
 9   here today. And if it's okay with you I'm going                 9      Q. Okay. Is that why you emphasized that
10   to look at the marked exhibit and you can look at              10   word in your notes?
11   your notebook. Okay?                                           11      A. Yes, I do. Yes.
12       A. Okay.                                                   12      Q. Okay. All right. John?
13       Q. All right. So this first page, the                      13      A. Mazurek.
14   corner, does that say Sara? Sara - comfortable                 14      Q. Mazurek. Can you spell that?
15   reaching out to judges - yes, absolutely? What is              15      A. M A Z U R E K.
16   that about?                                                    16      Q. Steve Stockard?
17       A. Okay. You see where Shane Adamson's name                17      A. Yes.
18   is --                                                          18      Q. Okay. What's the next one?
19       Q. Yes.                                                    19      A. I'm going to say it and spell it, Terro,
20       A. -- and then it's underlined really well,                20   T E R R O, I'm just spelling it because I'll
21   this was his interview. And if you see Sara                    21   mispronounce it, T E C C H I O.
22   there, that is the nominating committee who asked              22      Q. Okay. The next page on the top, it's
23   the question and his response?                                 23   kind of cut off at the very top. What does the
24       Q. Okay. I gotcha.                                         24   very top say, up here, above the margin -- in the
25       A. That's what all those are.                              25   margin?
              Case 5:21-cv-04093-JWB Document 38-11 Filed 12/16/22 Page 52 of 59
10/3/2022                                                                                                          52 (205 - 208)
                                           SABRINA S. OVERFIELD
                                                          Page 205                                                             Page 207
 1      A. Where is that?                                             1   helping us, is that out?
 2      Q. Let me see. Did we miss a page?                            2       A. Helping us out, yes.
 3      A. Yes, I think so.                                           3       Q. Seeking guidance and protection. It
 4      Q. Okay. No, this is right?                                   4   wouldn't happen?
 5      A. Is that the same one.                                      5       A. Again and again and again.
 6      Q. Um-hum.                                                    6       Q. T O?
 7      A. Okay. Told about myself.                                   7       A. I don't know why I wrote T O.
 8      Q. Okay.                                                      8       Q. Okay. So this is what you're relaying to
 9      A. And I don't know what this is from.                        9   Ally?
10      Q. Okay. So at the top it says told about                    10       A. This is -- no. This is actually just me
11   myself. 8 o'clock a.m. 9:28 a.m. Mac                            11   what I'm telling myself. Like a little journal.
12   underlined. Friday call?                                        12   I had jotted this down. It's probably something
13      A. Okay. This was more about Allyson's                       13   you really didn't need.
14   conference with her, the first conversation. It                 14       Q. I thought when we started looking at this
15   went from 8 to 9:28, and I started off by telling               15   sheet of paper you had the times up here, 8
16   about myself. And Mac, the Friday call, that he                 16   o'clock to 9:28 a.m.?
17   just listened, not explaining and we will figure                17       A. For my own personal -- we started the
18   this out. Just try to relax. I'm sorry, Sabrina.                18   conversation at 8 o'clock and Ally finished
19   And that was not from Mac. That was from, you                   19   talking with me at 9:28.
20   know, my feelings that I was telling Mac.                       20       Q. And are these notes about what you told
21      Q. Before January 10th, 2020, had Judge                      21   Ally during that time?
22   Johnson or anybody with Mac Young or anybody else               22       A. This possibly, yes. But it's a note that
23   ever come and talk to you guys about trying to get              23   I felt I wanted to write how I felt after these
24   along better in the office?                                     24   conversations.
25      A. Not -- I'm trying to think maybe a month                  25       Q. Not the conversation with Ally but the

                                                          Page 206                                                             Page 208
 1   before that, maybe it was a week, I can't recall                 1   conversations with Mac?
 2   now because this has been three years ago, Mac                   2       A. Right. Right. Exactly.
 3   came into my office one day and asked me how                     3       Q. Who is dthurman2@cox.net?
 4   things were going because I was in transition                    4       A. That was Terri Thurman's personal e-mail.
 5   between Judge Jack and the new judge. And I said                 5       Q. Judicial Conduct. Allyson already
 6   I really hope that when we find another judge that               6   contacted. Not, what does that say, produced?
 7   we can get back to the wonderful communication we                7       A. This was from Mac. Mac told me that --
 8   had before back here. I really want that. And                    8   this was after the fact Mac told me that Allyson
 9   Mac agreed that's what we need for this ship to                  9   contacted, but he couldn't not -- I don't know
10   run a little better. And that was the only time                 10   what that means, not precluded not actual
11   I remember him coming over and talking to me about              11   document. Unable to discuss with others. So Mac
12   it.                                                             12   told me that Allyson had informed him that she had
13       Q. Did Judge Johnson ever say anything to                   13   contacted Judicial, not Allyson herself.
14   you about communication, trying to get along                    14       Q. Mac relayed to you that Allyson had
15   better, anything like that?                                     15   contacted --
16       A. Never.                                                   16       A. Yes.
17       Q. Never had any conversations with him                     17       Q. -- Judicial Qualifications?
18   about your own work performance?                                18       A. Yes.
19       A. No.                                                      19       Q. All right. Okay. The next page. This
20       Q. Okay. And then it says Monday's call.                    20   is home work hours?
21   More frustrated. He was dealing with this                       21       A. Yes.
22   situation to begin with. Who's more frustrated.                 22       Q. So you were hired by the 14th Judicial
23   Is Mac more frustrated or you're more frustrated?               23   District on occasion to cover over there. Is that
24       A. Mac is.                                                  24   correct?
25       Q. Okay. Protecting Judge Johnson more than                 25       A. Not really hired because I worked for
               Case 5:21-cv-04093-JWB Document 38-11 Filed 12/16/22 Page 53 of 59
10/3/2022                                                                                                         53 (209 - 212)
                                             SABRINA S. OVERFIELD
                                                          Page 209                                                             Page 211
 1   the...                                                           1   provide you with a new reporting machine?
 2       Q. State?                                                    2       A. Correct.
 3       A. Yes. So I -- when they needed me, I                       3       Q. And who do you contend was responsible
 4   would work over there, yes. And this was during                  4   for failing to provide you with a new reporting
 5   when they didn't know where Judge Johnson was                    5   machine in a timely manner?
 6   going to be. So I did Tuesday, Wednesday and                     6       A. Mac Young and Judge Johnson keeping me
 7   Thursday work up at that courthouse, but I also                  7   from that.
 8   had to, even if I wasn't covering court, I had to                8           MR. JOHNSON: Let's mark this. What's
 9   work in a state location, not my home.                           9   next?
10       Q. In any of Allyson's communications with                  10           MS. MOCK: Oh.
11   you, did she ever indicate to you or did you ever               11           MR. JOHNSON: I didn't keep track of
12   get the impression she wasn't taking you                        12   them.
13   seriously?                                                      13           MS. MOCK: Oh, sorry.
14       A. No. Our second phone call, though, I                     14           MR. JOHNSON: And that's in our initial
15   felt like she was irritated with me.                            15   -- this document's in our initial disclosures, but
16       Q. Why did you feel that way?                               16   I don't have the Bates stamp number.
17       A. Her tone of voice and what she was                       17           (THEREUPON, Overfield Deposition Exhibit
18   saying.                                                         18   No 31 was marked for identification by the
19       Q. What was she saying?                                     19   reporter.)
20       A. Just that when I told her that I really                  20       BY MR. JOHNSON:
21   wanted to go back to work and feel happy again and              21       Q. So let me hand you what we've marked as
22   to the point -- well, I may have to read it. But                22   Exhibit...
23   I want to be a happy person. I wanted to                        23           THE REPORTER: 31.
24   enjoying being there again and feel happy and                   24       BY MR. JOHNSON:
25   safe, and right now it was way too fresh and new                25       Q. 31. And would you tell us what that --

                                                          Page 210                                                             Page 212
 1   for me. At times during this call, I didn't feel                 1   first of all, did you take that picture or who
 2   Allyson was as sympathetic or compassionate about                2   took that picture?
 3   this situation, and I heard irritation with me in                3       A. Yes, I took this picture.
 4   her tone of voice.                                               4       Q. Okay. And would you explain to us what
 5      Q. Did she do anything else to make you feel                  5   this picture is about and how it relates to your
 6   like that she wasn't taking it seriously?                        6   claim of retaliation in Judge Johnson's failure to
 7      A. Well, after January 16th, '20, I never                     7   provide you with a new reporting machine?
 8   heard from her again so...                                       8       A. This was the machine that I previously
 9      Q. Well, you got the letter providing you a                   9   told Terelle about, the case that went to it. I
10   report on her investigation into your complaint,                10   had had the machine, because Montgomery County
11   correct?                                                        11   purchased the machine for me. Yet, the case was
12      A. Correct.                                                  12   in this box, and Mac and Judge Johnson, I assume,
13      Q. So that was after the 16th, wasn't it?                    13   thought this was the machine and we're keeping it
14      A. Correct.                                                  14   and not getting in contact with me. And when I
15          MS. MOCK: I don't think I have any other                 15   went over there three weeks later, that's when I
16   questions. Thank you for your time.                             16   asked Teri Meador if she had seen a package for me
17          THE WITNESS: Shoot.                                      17   delivered here. And she said, well, I think Judge
18          MR. JOHNSON: But you're not done because                 18   Johnson took it. He found it outside. So...
19   I have a few questions in follow up.                            19       Q. So when did you first request from the
20          THE WITNESS: Okay. Great.                                20   11th Judicial District being provided a new
21      CROSS-EXAMINATION                                            21   reporting machine?
22      BY MR. JOHNSON:                                              22       A. 2018.
23      Q. Miss Overfield, is one of your claims, if                 23       Q. And you didn't receive it actually until
24   I understand your testimony correctly, one of your              24   you moved to the 14th Judicial District. Is that
25   claims of retaliation has to do with a failure to               25   right?
              Case 5:21-cv-04093-JWB Document 38-11 Filed 12/16/22 Page 54 of 59
10/3/2022                                                                                                       54 (213 - 216)
                                           SABRINA S. OVERFIELD
                                                          Page 213                                                             Page 215
 1       A. Correct. Correct.                                         1   the 13th but also the working conditions. Once
 2       Q. So let's start with Mac Young. When did                   2   Terri had the interaction with him, it changed the
 3   you discuss with him date-wise providing you with                3   whole dynamics of our working environment. And
 4   a new reporting machine?                                         4   also, when Tasha came on board, what she suffered
 5       A. 2018. And then when Tasha came on board,                  5   and what I went through with her.
 6   I elected to surpass the machine and let her get                 6      Q. And in the complaint that you filed in
 7   her equipment to be set up. And then I was                       7   this case, if you'll look at paragraph 38, do you
 8   supposed to receive it the next year.                            8   describe or does the complaint describe the basis
 9       Q. And that would have been which year?                      9   for your hostile work environment claim?
10       A. 2020.                                                    10      A. Yes.
11       Q. 2020. Did you have any conversations in                  11      Q. And it references Judge Johnson's
12   2020 with Mac Young about providing -- you being                12   threatening, demeaning conduct towards Tasha
13   provided a new reporting machine?                               13   Thurman and Terri Thurman?
14       A. Yes.                                                     14      A. Correct.
15       Q. And when did that occur?                                 15      Q. And I believe you've told us that you did
16       A. The summer of 2020.                                      16   not yourself observe any of the interactions
17       Q. And tell us about that conversation.                     17   between Judge Johnson and Tasha Thurman. Did I
18       A. And he told me that, Sabrina, we're not                  18   remember that correctly?
19   going to get that started. Because if we do it                  19      A. Correct. It was the after that it
20   for you, we'll have to do it for the others. And                20   happened.
21   I told him that my machine had already been                     21      Q. And let me hand you what you've testified
22   purchased by this county once, and that's why it's              22   about on Exhibit 6 which is the complaint filed by
23   time to get another one because this one is                     23   Tasha Thurman. Is that right?
24   obsolete. They don't even service it any longer.                24      A. Yes.
25       Q. And how did he respond to that comment by                25      Q. And did you discuss with Tasha Thurman

                                                          Page 214                                                             Page 216
 1   you?                                                             1   her perceptions of her interactions with Judge
 2      A. No comment.                                                2   Johnson?
 3      Q. Now, I want to ask you some questions                      3      A. Yes.
 4   about your hostile work environment claim. If I                  4      Q. And did -- are those interactions
 5   understand your testimony correctly, that claim is               5   described in what we've marked as Exhibit 6?
 6   based on -- in part on your interactions with                    6      A. Yes.
 7   Judge Johnson on January 10th and January 13th of                7      Q. And did you believe Tasha Thurman when
 8   2020 that we've -- that you've testified about,                  8   she told you what had occurred in her interactions
 9   correct?                                                         9   with Judge Johnson?
10      A. Correct.                                                  10      A. Most definitely. As I also said, it was
11      Q. Is it also based upon Judge Johnson's                     11   the aftermath. I could always tell as I was
12   interactions with Tasha Thurman?                                12   walking down the back hallway towards the clerk's
13      A. Yes.                                                      13   office when she would be in his office when one of
14         MS. MOCK: Object, misstates prior                         14   those incidents were happening by the look on her
15   testimony.                                                      15   face, by his actions, and I could tell it was not
16      BY MR. JOHNSON:                                              16   a good situation.
17      Q. Is your claim for hostile work                            17      Q. And what was your reaction when you
18   environment -- well, tell us what your claim for                18   observed the aftermath of Tasha Thurman's
19   hostile work environment is based upon?                         19   interactions with Judge Johnson?
20         MS. MOCK: Object to the form of the                       20      A. I wanted to protect her. I wanted to
21   question, asked and answered. We've been over                   21   help her. I wanted her to be successful at a
22   this.                                                           22   career that I love so much.
23      BY MR. JOHNSON:                                              23      Q. How did your perceptions of Tasha Thurman
24      Q. You can go ahead and answer.                              24   affect your own working environment?
25      A. It's based on my claims on the 10th and                   25      A. It was stressful, very stressful and hard
              Case 5:21-cv-04093-JWB Document 38-11 Filed 12/16/22 Page 55 of 59
10/3/2022                                                                                                       55 (217 - 220)
                                           SABRINA S. OVERFIELD
                                                         Page 217                                                             Page 219
 1   to go to work at times knowing what she was                     1       BY MS. MOCK:
 2   suffering and going through and also what her mom               2       Q. Did you ever file a complaint on behalf
 3   had gone through.                                               3   of Tasha Thurman?
 4      Q. And moving to her mother who is Terri                     4       A. Did I?
 5   Thurman, I believe you told us that you -- did you              5       Q. Yeah.
 6   observe yourself any interactions with between                  6       A. No.
 7   Judge Johnson and Terri Thurman that you perceived              7       Q. Did you tell anybody in HR or Mac Young
 8   to be abusive?                                                  8   or anybody else about all this abuse she was
 9      A. He ignored her a lot and treated her like                 9   suffering?
10   she wasn't even there. But then when it came time              10       A. I did tell Mac.
11   for her to talk to him in court situations, he was             11       Q. When did you tell Mac Young?
12   very abrupt, hateful and would turn his back                   12       A. I can't recall the date or the month, but
13   towards her.                                                   13   it was the year she worked there.
14      Q. Did you review Terri Thurman's complaint                 14       Q. Did you send him an e-mail?
15   against Judge Johnson?                                         15       A. No. He had came over in person.
16      A. Yes.                                                     16       Q. Did you follow up with him?
17          MR. JOHNSON: Let's mark that as an                      17       A. No.
18   exhibit. It's in our initial disclosures, but I                18       Q. Your new reporting machine was purchased
19   apologize I don't have the Bates stamp version.                19   -- I thought you said it was purchased by the 11th
20          (THEREUPON, Overfield Deposition Exhibit                20   Judicial District and then the 14th Judicial
21   No 32 was marked for identification by the                     21   District bought it from the 11th Judicial
22   reporter.)                                                     22   District?
23      BY MR. JOHNSON:                                             23       A. Three years after I requested one.
24      Q. Have you previously reviewed Exhibit 32?                 24       Q. Well, that may be well and good, but is
25      A. I have.                                                  25   this true?

                                                         Page 218                                                             Page 220
 1       Q. When would you have reviewed this do you                 1      A. Yes.
 2   think first?                                                    2      Q. Okay. So my statement that the 11th
 3       A. Shortly after she wrote it.                              3   District purchased it, correct?
 4       Q. Do you remember when she wrote it in                     4      A. Correct.
 5   relationship to your own complaint that you filed               5      Q. Do you recall what year and month they
 6   about January 13th, 2020?                                       6   purchased it?
 7       A. It was shortly after that.                               7      A. I don't -- I know the year, 2021.
 8       Q. And had you visited with, talked to Terri                8      Q. Okay. You don't know the month?
 9   Thurman prior to January of 2020 about incidents                9      A. It was in my chair unbenounced to me it
10   that are included in Exhibit 32 that may have                  10   was ordered December 2021.
11   occurred prior to her actually formally filing a               11      Q. The photograph in Exhibit 31, that's of a
12   complaint?                                                     12   case, correct?
13       A. Yes.                                                    13      A. When I opened it, it was the case.
14       Q. And did you believe her descriptions or                 14      Q. So it wasn't the actual machine?
15   at least her perceptions of her interactions with              15      A. For all they knew, it could have been the
16   Judge Johnson?                                                 16   machine.
17       A. Most definitely.                                        17      Q. But was it?
18       Q. And how did that affect -- how did her                  18      A. No.
19   complaint affect your own work environment?                    19      Q. You already had the machine?
20       A. It was very hostile, a very hostile                     20      A. Correct.
21   working relationship with them, not as in Terri                21      Q. At the time that this came, Exhibit 31,
22   and I but with Judge Johnson.                                  22   correct?
23          MR. JOHNSON: Thank you. That's all the                  23      A. Actually, I don't know because that -- I
24   questions I have.                                              24   had the machine, correct, but that box was
25       REDIRECT-EXAMINATION                                       25   missing. It should have came when the machine
              Case 5:21-cv-04093-JWB Document 38-11 Filed 12/16/22 Page 56 of 59
10/3/2022                                                                                                      56 (221 - 224)
                                             SABRINA S. OVERFIELD
                                                         Page 221                                                            Page 223
 1   came, but for some reason it didn't. Because I                  1      A. Correct.
 2   even called UPS, FedEx and they said it had been                2      Q. All right. You and Vickie go to your
 3   delivered the same time as the machine was.                     3   judges and you say we want the county to purchase
 4       Q. And you've made a comment that Mac said                  4   our court reporter machines?
 5   in the summer of 2020 you're not going to get a                 5      A. We would like them to, yes.
 6   new machine because if we do that with one we'll                6      Q. Okay. And they say, yep, we agree with
 7   have to do it with the others. So what was the                  7   that?
 8   procedure with court reporters? Did they have to                8      A. Yes.
 9   purchase their own machines?                                    9      Q. And so -- but they're not going to do two
10       A. When I first started, yes. Every county                 10   in one year I'm assuming?
11   is different.                                                  11      A. Yes, they did.
12       Q. Okay. Every county or every judicial                    12      Q. Oh, they did?
13   district?                                                      13      A. Yes.
14       A. I believe it's every county.                            14      Q. So they bought you two?
15       Q. All right. So when you started at                       15      A. Her machine and myself a machine.
16   Labette County, did you purchase your own?                     16      Q. Okay. And we don't know when this was?
17       A. Yes.                                                    17      A. I can't give you the time, no. I'm
18       Q. Okay. So I guess what led you to                        18   sorry.
19   conclude that they would be purchasing your                    19      Q. Okay. So at some point -- and then in
20   machine in 2018?                                               20   2018, you want your one that the county had
21       A. We had gone -- Vickie Barrett and I had                 21   previously purchased replaced?
22   gone to our judges at the time which was Judge                 22      A. Yes.
23   Fleming and Judge Jack.                                        23      Q. And you go to Mac and you say -- so why
24       Q. Um-hum.                                                 24   did you go to Mac? Why didn't you go to your
25       A. And it's like anything else, a court                    25   judge? I mean if the county purchased it the

                                                         Page 222                                                            Page 224
 1   reporter machine if you're working for somebody,                1   first time, why did you ask Mac Young for it?
 2   they provide the computer. Why could they not                   2       A. He had came to my office and the budget
 3   provide this machine for us as well. Judge                      3   was getting ready to -- and Terri had mentioned
 4   Fleming and Judge Jack thought the same thing.                  4   mention it to Mac that you'd like to get your new
 5   They presented it to the commissioners in the                   5   machine this year, Sabrina, so I did.
 6   budget, and they agreed to it. And every year,                  6       Q. Is this like in December of 2018?
 7   when we needed a new machine, the two judges felt               7       A. No. Because they do the budget like the
 8   that was appropriate.                                           8   summer.
 9       Q. So who -- for who did Labette County                     9       Q. Okay. So it's a physical year thing?
10   purchase a court reporter machine?                             10       A. Right.
11       A. Vickie Barrett and myself.                              11       Q. All right.
12       Q. Anybody else?                                           12       A. Yes.
13       A. No.                                                     13       Q. Okay. So you mention it to Mac in 2018
14       Q. And when did they purchase it for Vickie                14   and he says what?
15   Barrett?                                                       15       A. He says I don't think we're going to get
16       A. I think we received those in 2015.                      16   that started, Sabrina, because if we do it for
17       Q. Did you -- but you hadn't requested a                   17   you, we'll have to do it for everyone.
18   machine at that time or I'm confused?                          18       Q. Okay. So that's what you just testified
19       A. Terelle, it was before then. I can't --                 19   he told you in the summer of 2020?
20   I shouldn't say that date because Vickie retired               20       A. No. It had to have been before then.
21   in 2016, and we had our Diamante court reporting               21       Q. So I think what you testified earlier was
22   machine quite a few years before she retired. And              22   that you -- Tammy?
23   the Diamante machine is obsolete now.                          23       A. Tammy.
24       Q. Okay. So let's go backwards. At some                    24       Q. Was coming on board, and so you agreed to
25   point in time, you and Vickie, right, Vickie?                  25   wait --
               Case 5:21-cv-04093-JWB Document 38-11 Filed 12/16/22 Page 57 of 59
10/3/2022                                                                                                         57 (225 - 228)
                                              SABRINA S. OVERFIELD
                                                          Page 225                                                            Page 227
 1      A. Tasha.                                                     1   budget.
 2      Q. Tasha?                                                     2        Q. So that wasn't a conversation that you
 3      A. Tasha.                                                     3   had with Mac Young?
 4      Q. Tasha was coming on board, so you agreed                   4        A. Yes, I did. I also told Judge Jack that
 5   to wait so that she could get a new machine. Is                  5   I'll skip it and I also told Mac.
 6   that right?                                                      6        Q. Okay. So when Judge Stockard comes on
 7      A. Correct.                                                   7   board in January of 2020, did you ever say
 8      Q. So did she get a new machine?                              8   anything to him?
 9      A. She got the equipment. She needed a                        9        A. I never said -- no. I never said
10   computer and the software. We already had the                   10   anything to him about any machine.
11   going out of expiration machine Diamante she could              11        Q. Why not?
12   use as a student.                                               12        A. He was just coming on board.
13      Q. All right. So you have two Diamantes --                   13        Q. So who ultimately ordered you the
14      A. Correct.                                                  14   machine?
15      Q. -- that were purchased sometime?                          15        A. I believe Lori Fleming did or Mac, one of
16      A. 2005 maybe even.                                          16   the two, because it showed up in my chair. I had
17      Q. Okay.                                                     17   no idea.
18      A. It was a long time ago.                                   18        Q. And so that would have had to have been
19      Q. And so they needed to purchase the                        19   ordered sometime in the fall of '21?
20   software to go along with that machine for her and              20        A. Yes.
21   that's why you agreed to put it off a year?                     21        Q. Correct?
22      A. She was learning another type of software                 22        A. Probably.
23   than I use. I think it was Stenocat, and it was                 23        Q. And you don't know who ordered it?
24   that and the computer software and computer was                 24        A. No, ma'am.
25   $10,000 --                                                      25        Q. Did -- and who was the other court

                                                          Page 226                                                            Page 228
 1       Q. All right.                                                1   reporter -- were you the only one at that time in
 2       A. -- to purchase for her.                                   2   2021 or was there a second one?
 3       Q. So you said, okay, we can skip me for                     3       A. No, I'm the only one.
 4   2018-2019 fiscal year --                                         4       Q. Okay. And do you know whether or not the
 5       A. Right.                                                    5   court reporter in Montgomery County is using the
 6       Q. -- because you need to purchase that for                  6   old machine or a new machine?
 7   her?                                                             7       A. They purchased their court reporters'
 8       A. Correct.                                                  8   machines every three years.
 9       Q. So then fiscal year '19/'20, did you                      9       Q. Who does, Montgomery County?
10   renew your request?                                             10       A. Montgomery County, yes.
11       A. That possibly was the time -- I should                   11       Q. Do you know whether or not the court
12   not have said the date 2020 because it was before               12   reporter in Labette County is utilizing an old
13   -- I'm not quite sure what the date. I don't                    13   machine or a brand new machine?
14   want to give you a date because I had that                      14       A. There isn't a court reporter in Labette
15   conversation with Mac. I should have written it                 15   County. Myra Freeman is going to school, but that
16   down and I didn't, but that was his comment to me,              16   is hearsay. I don't know that for a fact.
17   not to get that started.                                        17       Q. Okay. All right. Did you ever report to
18       Q. So did you ever say anything to Judge                    18   the State of Kansas, OJA or the Judicial
19   Jack about -- before he left about getting a new                19   Qualification that Judge Johnson's interactions
20   machine?                                                        20   with Tasha Thurman were causing you to have a
21       A. Yes.                                                     21   hostile work environment?
22       Q. And what did Judge Jack say?                             22       A. No.
23       A. That was the time Tasha was coming on                    23       Q. Did you ever report to OJA or Judicial
24   board that I said I'll skip my machine this year,               24   Qualification that Judge Johnson's interactions
25   Judge, this year if we put it on next year's                    25   with Terri Thurman were causing you to have a
               Case 5:21-cv-04093-JWB Document 38-11 Filed 12/16/22 Page 58 of 59
10/3/2022                                                                                                      58 (229 - 232)
                                              SABRINA S. OVERFIELD
                                                          Page 229                                                             Page 231
 1   hostile work environment?                                        1                    AFFIDAVIT
 2      A. No.                                                        2   .
 3      Q. Did you ever report to OJA or Judicial                     3   STATE OF ______________________________:
 4   Qualifications that Judge Johnson's interactions                 4   COUNTY/CITY OF _______________________:
 5   with anybody else in the office was creating a                   5   .
 6   hostile work environment?                                        6          Before me, this day, personally appeared,
 7      A. Not until I contacted them about myself.                   7   SABRINA S. OVERFIELD, who, being duly sworn,
 8      Q. Right.                                                     8   states that the foregoing transcript of his/her
 9      A. That was the first time.                                   9   Deposition, taken in the matter, on the date, and
10         MS. MOCK: I don't have any other                          10   at the time and place set out on the title page
11   questions.                                                      11   hereof, constitutes a true and accurate transcript
12         MR. JOHNSON: I have no further                            12   of said deposition, along with the attached Errata
13   questions, and she will read and sign her                       13   Sheet, if changes or corrections were made.
14   deposition and she actually knows what that means.              14   .
15         (THEREUPON, the deposition concluded at                   15             ____________________________
16   4:14 p.m.)                                                      16                SABRINA S. OVERFIELD
17   .                                                               17   .
18   .                                                               18       SUBSCRIBED and SWORN to before me this
19   .                                                               19   __________ day of ___________________, 2022 in the
20   .                                                               20   jurisdiction aforesaid.
21   .                                                               21   .
22   .                                                               22   ___________________             _________________
23   .                                                               23   My Commission Expires           Notary Public
24   .                                                               24   .
25   .                                                               25   .

                                                          Page 230                                                             Page 232
 1                  SIGNATURE                                         1            DEPOSITION ERRATA SHEET
 2   .                                                                2   .
 3          The deposition of SABRINA S. OVERFIELD                    3   RE:      APPINO & BIGGS REPORTING SERVICE, INC.
 4   was taken in the matter, on the date, and at the                 4   .
 5   time and place set out on the title page hereof.                 5   FILE NO.: 67098
 6   .                                                                6   .
 7          It was requested that the deposition be                   7   CASE: SABRINA S. OVERFIELD vs.
 8   taken by the reporter and that same be reduced to                8          STATE OF KANSAS
 9   typewritten form.                                                9   .
10   .                                                               10   DEPONENT: SABRINA S. OVERFIELD
11          It was agreed by and between counsel and                 11   .
12   the parties that the deponent will read and sign                12   DEPOSITION DATE: 10/03/2022
13   the transcript of said deposition.                              13   .
14   .                                                               14   To the Reporter:
15   .                                                               15   I have read the entire transcript of my Deposition
16   .                                                               16   taken in the captioned matter or the same has been
17   .                                                               17   read to me. I request that the following changes
18   .                                                               18   be entered upon the record for the reasons
19   .                                                               19   indicated. I have signed my name to the Errata
20   .                                                               20   Sheet and the appropriate Certificate and
21   .                                                               21   authorize you to attache both to the original
22   .                                                               22   transcript.
23   .                                                               23   .
24   .                                                               24   .
25   .                                                               25   .
               Case 5:21-cv-04093-JWB Document 38-11 Filed 12/16/22 Page 59 of 59
10/3/2022                                                                  59 (233 - 234)
                                                 SABRINA S. OVERFIELD
                                                      Page 233
 1   PAGE:LINE FROM    TO       REASON
 2   .
 3   .
 4   .
 5   .
 6   .
 7   .
 8   .
 9   .
10   .
11   .
12   .
13   .
14   .
15   .
16   .
17   .
18   .
19   .
20   .
21   .
22   .
23   .
24   SIGNATURE:___________________ DATE:__________
25       SABRINA S. OVERFIELD

                                                      Page 234
 1                    CERTIFICATE
 2   STATE OF KANSAS
 3   COUNTY OF SHAWNEE
 4       I, Sandra S. Biggs, a Certified Court
 5   Reporter, Commissioned as such by the
 6   Supreme Court of the State of Kansas,
 7   and authorized to take depositions and
 8   administer oaths within said State
 9   pursuant to K.S.A 60-228, certify that
10   the foregoing was reported by
11   stenographic means, which matter was
12   held on the date, and the time and place
13   set out on the title page hereof and
14   that the foregoing constitutes a true
15   and accurate transcript of the same.
16       I further certify that I am not
17   related to any of the parties, nor am I
18   an employee of or related to any of the
19   attorneys representing the parties, and
20   I have no financial interest in the
21   outcome of this matter.
22       Given under my hand and seal this
23   14th day of October, 2022.
24           ____________________
25           Sandra S. Biggs, C.C.R No. 0716
